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                                                                                                                                              CO-290
  Notice of Appeal Criminal                                                                                                               Rev. 3/88



           United ~tales District Court for the District of Columbia

  UNITED STATES OF AMERICA                                                )
                                                                          )
                               vs.                                        )          Criminal No.              1 :21-cr-00053
                                                                          )
   EDWARDJACOB LANG                                                       )


                                                     NOTICE OF APPEAL


Name and address of appellant:                                           Edward Jacob Lang
                                                                         DC Detention Facility
                                                                         1901 D St SE,
                                                                         Washington, DC 20003


Name and address of appellant's attorney:                                Steven A. Metcalf, 11
                                                                         99 Park Avenue, 6th Floor
                                                                          New York, NY 10016



Offense:    18 U.S C 231(a)(3), 18.111(8)(1) and 2, 18 U.S C 111(8)(1) and (b), 18 USC.   1512(c)(2), 18 USC   1752(8)(2), 18 1512(c)(2), 40 U S.C 5104(e)(2)(D)



Concise statement of judgment or order, giving date, and any sentence:

     Docket Entry 9/20/2021: Motion for Release from Custody as to EDWARDJACOB
     LANG ( 1); DEN IE D for reasons set forth on the record. Motion to modify Conditions;
     DENIED without prejudice. Further Order to be issued by the Court.

Name and institution where now confined, if not on bail:                                   DC Detention Facility


        I, the above named appellant, hereby appeal to the United States Court of Appeals for the
District 0£ Col mbia Circuit from the above-stated judgment.




GOVT. APPEAL, NO FEE             ~
CJA, NO FEE
PAID USDC FEE
PAID USCA FEE
Does counsel wish to appear on appeal?                                                     YES[{]                 NO □
Has counsel ordered transcripts?                                                           YES[{]                 NO □
Is this appeal pursuant to the 1984 Sentencing Reform Act?                                 YES □                  NO[{]
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                                                                                                                                           CATB

                                       U.S. District Court
                            District of Columbia (Washington, DC)
                 CRIMINAL DOCKET FOR CASE#: 1:21-cr-00053-CJN All Defendants


  Case title: USA v. LANG                                                                           Date Filed: 01/29/2021

   Magistrate judge case number: 1:21-mj-00061-GMH


  Assigned to: Judge Carl J. Nichols

  Defendant (1).
  EDWARD JACOB LANG                                                                   represented by Martin Harold Tankleff
                                                                                                     METCALF AND METCALF
                                                                                                     99 Park Avenue
                                                                                                     Suite 2501
                                                                                                     Manhattan, NY 10016
                                                                                                     646-385-4403
                                                                                                     Fax: 646-619-4807
                                                                                                     Email: martytankleff@gmail.com
                                                                                                     LEAD AITORNEY
                                                                                                     AITORNEY TO BE NOTICED
                                                                                                     Designation: Retained

                                                                                                    Steven Alan Metcalf , II
                                                                                                    METCALF & METCALF, P.C.
                                                                                                    99 Park Avenue
                                                                                                    Suite 2501
                                                                                                    New York, NY 10016
                                                                                                    646-253-0514
                                                                                                    Fax: 646-219-2012
                                                                                                    Email: Metcalflawnyc@gmail.com
                                                                                                    LEAD AITORNEY
                                                                                                    AITORNEY TO BE NOTICED
                                                                                                    Designation: Retained

 Pending Counts                                                                                     Disnosition
 18 U.S.C. 23l(a)(3); CIVIL DISORDER;
 Civil Disorder
 (1)
 18:11 l(a)(l) and 2;

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   ASSAULTING/RESISTING/IMPEDING
   OFFICERS/EMPLOYEES; Assaulting,
   Resisting, or Impeding Certain Officers
   and Aiding and Abetting
   (ls-2s)
   18 U.S.C. lll(a)(l);
   ASSAULTING/RESISTING/IMPEDING
   OFFICERS/EMPLOYEES; Assaulting,
   Resisting, or Impeding Certain Officers
   (2)
  18 U.S.C. 231(a)(3); CIVIL DISORDER;
  Civil Disorder
   (3)
  18: 111(a)(l );
  ASSAULTING/RESISTING/IMPEDING
  OFFICERS/EMPLOYEES; Assaulting,
  Resisting, or Impeding Certain Officers
  (3s-4s)
  18 U.S.C. lll(a)(l) and (b);
  ASSAULTING/RESISTING/IMPEDING
  OFFICERS/EMPLOYEES; Assaulting,
  Resisting, or Impeding Certain Officers
  Using a Dangerous Weapon
  (4)
  18 U.S.C. 23l(a)(3); CIVIL DISORDER;
  Civil Disorder
  (5)
  18: 11l(a)(l) and (b);
  ASSAULTING/RESISTING/IMPEDING
  OFFICERS/EMPLOYEES; Assaulting,
  Resisting, or Impeding Certain Officers
  Using a Dangerous Weapon
  (5s-6s)
 18 U.S.C. lll(a)(l) and (b);
 ASSAULTING/RESISTING/IMPEDING
 OFFICERS/EMPLOYEES; Assaulting,
 Resisting, or Impeding Certain Officers
 Using a Dangerous Weapon
 (6)
 18 U.S.C. 1512(c)(2) and 2; TAMPERING
 WITH A WITNESS, VICTIM OR
 INFORMANT;Obstruction of an Official
 Proceeding and Aiding and Abetting
 (7)

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   18:lll(a)(l) and (b);
   ASSAULTING/RESISTING/IMPEDING
   OFFICERS/EMPLOYEES; Assaulting,
   Resisting, or Impeding Certain Officers
   Using a Dangerous Weapon, Inflicting
   Bodily Injury
   (7s)
  18 U.S.C. 1752(a)(2) and (b)(l)(A);
  TEMPORARY RESIDENCE OF THE
  PRESIDENT; Disorderly and Disruptive
  Conduct in a Restricted Building or
  Grounds with a Deadly or Dangerous
  Weapon
  (8)
  18:231(a)(3); CIVIL DISORDER; Civil
  Disorder
  (8s)
  18 U.S.C. 1752(a)(4) and (b)(l)(A);
  TEMPORARY RESIDENCE OF THE
  PRESIDENT; Engaging in Physical
  Violence in a Restricted Building or
  Grounds, with a Deadly or Dangerous
  Weapon
  (9)
  18:1512(c)(2) and 2; TAMPERING WITH
  A WITNESS, VICTIM OR INFORMANT;
  Obstruction of an Official Proceeding and
  Aiding and Abetting
  (9s)
  40 U.S.C. 5104(e)(2)(D); FEDERAL
  STATUTES, OTHER; Disorderly Conduct
  in a Capitol Building
  (10)
 18: 1752(a)(2) and (b)(l)(A);
 TEMPORARY RESIDENCE OF THE
 PRESIDENT; Disorderly and Disruptive
 Conduct in a Restricted Building or
 Grounds, with a Deadly or Dangerous
 Weapon
 (}Os)
 40 U.S.C. 5104(e)(2)(F); FEDERAL
 STATUTES, OTHER; Act of Physical
 Violence in a Capitol Building
 (11)


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   18:1752(a)(4) and (b)(l)(A);
  TEMPORARY RESIDENCE OF THE
  PRESIDENT; Engaging in Physical
  Violence in a Restricted Building or
  Grounds with a Deadly or Dangerous
  Weapon
  (1 ls)
  40:5104(e)(2)(D); VIOLENT ENTRY
  AND DISORDERLY CONDUCT ON
  CAPITOL GROUNDS; Disorderly
  Conduct in a Capitol Building
  (12s)
  40:5104(e)(2)(F); VIOLENT ENTRY
  AND DISORDERLY CONDUCT ON
  CAPITOL GROUNDS; Act of Physical
  Violence in the Capitol Grounds or
  Buildings
  (13s)

  Highest Offense Level (Onening).
  Felony

  Terminated Counts                                                                  Disnosition
  None

 Highest Offense Level (Terminated).
  None

 Comnlaints                                                                          Disnosition
 COMPLAINT in VIOLATION of 18
 U.S.C. § lll(b), 18 U.S.C. § 231(a)(3), 18
 U.S.C. § 1752(a), and 40 U.S.C. § 5104(e)
 (2)



 Plaintiff
 USA                                                                     represented by Melissa Joy Jackson
                                                                                        U.S. ATTORNEY'S OFFICE FOR THE
                                                                                        DISTRICT OF COLUMBIA
                                                                                        555 4th Street, NW
                                                                                        Washington, DC 20530
                                                                                        202-252-7786

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                                                                                  Email: melissa.jackson@usdoj.gov
                                                                                  LEAD AITORNEY
                                                                                  AITORNEY TO BE NOTICED
                                                                                  Designation: Assistant U.S. Attorney


   Date Filed                 #     Docket Text
   01/15/2021                 l     SEALED COMPLAINT as to EDWARD JACOB LANG (1). (Attachments:# l
                                    Affidavit in Support) (zltp) [1:21-mj-00061-GMH] (Entered: 01/15/2021)
   01/15/2021                 :3. MOTION to Seal Case by USA as to EDWARD JACOB LANG. (Attachments:# l
                                    Text of Proposed Order)(zltp) [1:21-mj-00061-GMH] (Entered: 01/15/2021)
   01/15/2021                 4 ORDER granting :3.Motion to Seal Case as to EDWARD JACOB LANG (1). Signed by
                                    Magistrate Judge G. Michael Harvey on 1/15/2021. (zltp) [1:21-mj-00061-GMH]
                                    (Entered: 01/15/2021)
   01/16/2021                       Case unsealed as to EDWARD JACOB LANG (bb) [l:21-mj-00061-GMH] (Entered:
                                    01/21/2021)
   01/16/2021                       Arrest of EDWARD JACOB LANG in New York. (bb) (Entered: 08/10/2021)
   01/22/2021                       Rule 5(c)(3) Documents Received as to EDWARD JACOB LANG from US District
                                    Court Southern District of New York Case Number 21-mj-626 (bb) (Entered:
                                    08/10/2021)
   01/29/2021                 5- INDICTMENT as to EDWARD JACOB LANG (1) count(s) 1, 2, 3, 4, 5, 6, 7, 8, 9, 10,
                                    11. (zltp) (Entered: 02/02/2021)
  02/04/2021                  1 Joint MOTION to Continue Initial Appearance and Detention Hearing by USA as to
                                   EDWARD JACOB LANG. (Jackson, Melissa) (Entered: 02/04/2021)
  02/04/2021                       MINUTE ORDER: Upon consideration of the parties 1 Joint Motion to Continue the
                                   Initial Appearance and Detention Hearing to February 9, 2021, the Court finds good
                                   cause to GRANT this motion. The Initial Appearance and Detention Hearing will take
                                   place in this matter on February 9, 2021 at 1:00 p.m. by videoconference before Judge
                                   Meriweather. Call-in instructions will be provided to counsel prior to the hearing.
                                   Signed by Magistrate Judge Robin M. Meriweather on 2/4/2021. (ztl) (Entered:
                                   02/04/2021)
  02/08/2021                 .8. MEMORANDUM in Support of Pretrial Detention by USA as to EDWARD JACOB
                                   LANG (Jackson, Melissa) (Entered: 02/08/2021)
  02/09/2021                       ORAL MOTION to Appoint Counsel by EDWARD JACOB LANG. (ztl) (Entered:
                                   03/04/2021)
  02/09/2021                       ORAL MOTION to Commit Defendant to Custody of Attorney General by USA as to
                                   EDWARD JACOB LANG. (ztl) (Entered: 03/04/2021)
  02/09/2021                       ORAL MOTION for Speedy Trial by USA as to EDWARD JACOB LANG. (ztl)
                                   (Entered: 03/04/2021)


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    02/09/2021                       Minute Entry for proceedings held before Magistrate Judge Zia M. Faruqui: Initial
                                     Appearance/Arraignment held on 2/9/2021 as to Counts 1,2,3,4,5,6,7 ,8,9,10,11. Plea of
                                     Not Guilty entered as to all counts. Oral Motion to Appoint Counsel by EDWARD
                                     JACOB LANG (l); heard and granted. Oral Motion by the Government to Commit
                                     Defendant to Custody of Attorney General as to EDWARD JACOB LANG (l); heard
                                     and granted. No objection from defense. Oral Motion by the Government for Speedy
                                     Trial as to EDWARD JACOB LANG (l); heard and granted. Speedy Trial Excluded
                                     from 2/9/2021 to 3/30/2021 in the Interest of Justice (XT). Status Hearing set for
                                     3/30/2021 at 10:00 AM by TelephonicNTC before Judge Carl J. Nichols. Bond Status
                                     of Defendant: Defendant Committed/Commitment Issued; Court Reporter: Sara Wick;
                                     Defense Attorney:Steven Metcalf and Marty Tankleff; US Attorney: Melissa Jackson;
                                     Pretrial Officer: John Copes. (ztl) (Entered: 03/04/2021)
   02/10/2021                  2 PRETRIAL SERVICES REPORT as to EDWARD JACOB LANG This document is for
                                     informational purposes only. No action is requested.(Sidbury, Andre) (Entered:
                                     02/10/2021)
   03/15/2021                        Unopposed MOTION for Protective Order by USA as to EDWARD JACOB LANG.
                                     (Attachments:# l Text of Proposed Order)(Jackson, Melissa) (Entered: 03/15/2021)
   03/29/2021                        NOTICE of Filing by USA as to EDWARD JACOB LANG (Attachments:# l Exhibit
                                     Discovery Letter to Defense Counsel dated March 26, 2021)(Jackson, Melissa)
                                     (Entered: 03/29/2021)
   03/29/2021                        MOTION for Protective Order by USA as to EDWARD JACOB LANG. (Attachments:
                                     # l Text of Proposed Order)(Jackson, Melissa) (Entered: 03/29/2021)
   03/29/2021                        MOTION for Disclosure ORDER TO DISCLOSE ITEMS PROTECTED BY FEDERAL
                                     RULE OF CRIMINAL PROCEDURE 6( e) AND SEALED MATERIALS by USA as to
                                     EDWARD JACOB LANG. (Attachments:# l Text of Proposed Order)(Jackson,
                                     Melissa) Modified relief on 3/30/2021 (znmw). (Entered: 03/29/2021)
   03/29/2021                        MOTION to Continue AND TO EXCLUDE TIME UNDER THE SPEEDY TRIAL ACT
                                     by USA as to EDWARD JACOB LANG. (Attachments: # l Text of Proposed Order)
                                     (Jackson, Melissa) (Entered: 03/29/2021)
  03/29/2021                 15 MOTION to Exclude Time by USA as to EDWARD JACOB LANG. (See docket entry
                                  to view document). (zstd) (Entered: 03/30/2021)
  03/30/2021                        Minute Entry for proceedings held before Judge Carl J. Nichols: Telephone Status
                                    Conference as to EDWARD JACOB LANG held on 3/30/2021. Further Order to be
                                    issued by the Court. Status Conference set for 4/29/2021 at 03:00 PM in
                                    TelephonicNTC before Judge Carl J. Nichols. Bond Status of Defendant: Defendant
                                    remains Committed; Court Reporter: Lorraine Herman; Defense Attorney: Steven
                                    Metcalf and Marty Tankleff; US Attorney: Melissa Jackson. (zeal) (Entered:
                                    03/30/2021)
  04/13/2021                        NOTICE OF ATTORNEY APPEARANCE: Martin Harold Tankleff appearing for
                                    EDWARD JACOB LANG from Metcalf & Metcalf(Tankleff, Martin) (Entered:
                                    04/13/2021)


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     04/27/2021                       NOTICE of Filing by USA as to EDWARD JACOB LANG (Attachments: # l Exhibit
                                      Discovery Letter to Defense Counsel dated April 27, 2021 )(Jackson, Melissa) (Entered:
                                      04/27/2021)
    04/29/2021                        PROTECTIVE ORDER. Signed by Judge Carl J. Nichols on April 29, 2021. (lccjnl)
                                      (Entered: 04/29/2021)
    04/29/2021                       NOTICE of Filing by USA as to EDWARD JACOB LANG (Jackson, Melissa)
                                     (Entered: 04/29/2021)
    04/29/2021                       Minute Entry for proceedings held before Judge Carl J. Nichols: Telephone Status
                                     Conference as to EDWARD JACOB LANG held on 4/29/2021. Further Order to be
                                     issued by the Court. Speedy Trial as to EDWARD JACOB LANG is Excluded from
                                     4/29/2021 to 6/15/2021, in the Interest of Justice, XT. Status Conference set for
                                     6/15/2021 at 03:00 PM in TelephonicNTC before Judge Carl J. Nichols. Bond Status of
                                     Defendant: Defendant remains Committed; Court Reporter: Lorraine Herman; Defense
                                     Attorney: Martin Tankleff and Steven Metcalf; US Attorney: Melissa Jackson. (zeal)
                                     (Entered: 04/30/2021)
    05/18/2021                       NOTICE of Filing by USA as to EDWARD JACOB LANG (Attachments: # l Exhibit
                                     Discovery Letter to Defense Counsel dated May 18, 202l)(Jackson, Melissa) (Entered:
                                     05/18/2021)
    06/09/2021               21      ENTERED IN ERROR ..... MOTION for Leave to Appear Notice of Appearance of
                                     Steven Metcalf Attorney: Steven Metcalf. by EDWARD JACOB LANG. (Metcalf,
                                     Steven) Modified on 6/9/2021 (zstd). (Entered: 06/09/2021)
   06/09/2021                        NOTICE OF ATTORNEY APPEARANCE: Steven Alan Metcalf, II appearing for
                                     EDWARD JACOB LANG (Metcalf, Steven) (Entered: 06/09/2021)
   06/09/2021                        NOTICE OF CORRECTED DOCKET ENTRY: as to EDWARD JACOB LANG re
                                     MOTION for Leave to Appear Notice of Appearance of Steven Metcalf Attorney:
                                     Steven Metcalf. was entered in error and counsel refiled said pleading using correct
 -""--"-   -----;------,__
                                     event. (zstd) (Entered: 06/09/2021)
                                      _____________________________                                                           __,
   06/14/2021                        NOTICE of Filing by USA as to EDWARD JACOB LANG (Attachments: # l Exhibit
                                     Discovery Letter to Defense Counsel dated June 14, 2021, # 2 Exhibit Discovery Letter
                                     to Defense Counsel dated June 14, 2021)(Jackson, Melissa) (Entered: 06/14/2021)
   06/15/2021                       MINUTE ORDER. As discussed at the March 30, 2021 status conference, the
                                    government's      Motion for an Order to Disclose Items Protected by Federal Rule of
                                    Criminal Procedure 6(e) and Sealed Materials is GRANTED. It is further ORDERED
                                    that the United States may provide in discovery sealed materials and materials protected
                                    by Federal Rule of Criminal Procedure 6(e). Signed by Judge Carl J. Nichols on June
                                    15, 2021. (lccjnl) (Entered: 06/15/2021)
  06/15/2021                        Minute Entry for proceedings held before Judge Carl J. Nichols: Video Status
                                    Conference as to EDWARD JACOB LANG held on 6/15/2021. Speedy Trial as to
                                    EDWARD JACOB LANG is Excluded from 6/15/2021 to 7/15/2021, in the Interest of
                                    Justice, XT. Status Conference set for 7/15/2021 at 11:00 AM in TelephonicNTC
                                    before Judge Carl J. Nichols. Bond Status of Defendant: Defendant remains

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                                      Committed; Court Reporter: Lorraine Herman; Defense Attorney: Martin Tankleff and
                                      Steven Metcalf, II; US Attorney: Melissa Jackson. (zeal) (Entered: 06/15/2021)
   06/16/2021                        Set/Reset Hearings as to EDWARD JACOB LANG:Status Conference RESET for
                                     7/16/2021 at 11:00 AM in TelephonicNTC before Judge Carl J. Nichols. (zeal)
                                     (Entered: 06/16/2021)
   06/30/2021                24      ENTERED IN ERROR .....NOTICE of Filing by USA as to EDWARD JACOB LANG
                                     (Attachments:# l Exhibit)(Jackson, Melissa) Modified on 6/30/2021 (zstd). (Entered:
                                     06/30/2021)
                                         ""                                        --- ----~---~---   ----   ----··---~---~--------~---                    ""-




   06/30/2021                        NOTICE OF CORRECTED DOCKET ENTRY: as to EDWARD JACOB LANG re
                                     Notice (Other) was entered in error and counsel was instructed to refile said pleading.
                                     The exhibit cannot be filed by itself, a notice of filing needs to be filed as the main
                                     document and the exhibit will be the attachment. (zstd) (Entered: 06/30/2021)
   07/01/2021                        NOTICE of Filing by USA as to EDWARD JACOB LANG (Attachments: # l Exhibit)
                                     (Jackson, Melissa) (Entered: 07/01/2021)
   07/08/2021                        NOTICE of Filing Viewing Letter by USA as to EDWARD JACOB LANG
                                     (Attachments:# l Notice to Counsel/Party)(Jackson, Melissa) (Entered: 07/08/2021)
   07/16/2021                       Minute Entry for proceedings held before Judge Carl J. Nichols: Video Status
                                    Conference as to EDWARD JACOB LANG held on 7/16/2021. Speedy Trial as to
                                    EDWARD JACOB LANG is Excluded from 7/16/2021 to 9/15/2021, in the Interest of
                                    Justice, XT. Status Conference set for 9/15/2021 at 11:00 AM in TelephonicNTC
                                    before Judge Carl J. Nichols. Bond Status of Defendant: Defendant remains
                                    Committed; Court Reporter: Lorraine Herman; Defense Attorney: Martin Tankleff and
                                    Steven Metcalf, II; US Attorney: Melissa Jackson. (zeal) (Entered: 07/16/2021)
   08/12/2021                       NOTICE of Filing of Discovery Letter by USA as to EDWARD JACOB LANG
                                    (Attachments:# l Exhibit Discovery Letter- 8-11-2021)(Jackson, Melissa) (Entered:
                                    08/12/2021)
                                                                                                                                          ---"

  08/23/2021                        First MOTION for Bond by Edward Jacob Lang, First MOTION for Release from
                                    Custody by Edward Jacob Lang by EDWARD JACOB LANG. (Attachments:# l
                                    Exhibit Exhibits A-J in Support of Bond Application)(Tankleff, Martin) (Entered:
                                    08/23/2021)
  08/24/2021                        STATUS REPORT Regarding Status of Discovery by USA as to EDWARD JACOB
                                    LANG (Jackson, Melissa) (Entered: 08/24/2021)
  08/30/2021                        MINUTE ORDER. After review of Defendant's        Motion for Bond, it is hereby
                                    ORDERED that the government shall file a response to the Motion by September 7,
                                    2021. Signed by Judge Carl J. Nichols on August 30, 2021. (lccjnl) (Entered:
                                    08/30/2021 )
  08/30/2021                        Set/Reset Deadlines as to EDWARD JACOB LANG: Response due by 9/7/2021. (zeal)
                                    (Entered: 09/01/2021)
  09/07/2021                       RESPONSE by USA as to EDWARD JACOB LANG re            First MOTION for Bond by
                                   Edward Jacob Lang First MOTION for Release from Custody by Edward Jacob Lang

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                                       (Attachments:# l Certificate of Service)(Jackson, Melissa) (Entered: 09/07/2021)

   09/08/2021                         MINUTE ORDER. After review of USA's Response            to Defendant's Motion for
                                      Bond      , it is hereby ORDERED that Defendant shall file a Reply by September 14,
                                      2021. It is further ORDERED that the Status Conference on September 15th at 11:00
                                      A.M. shall include a hearing on Defendant's Motion for Bond, and Parties should be
                                      prepared to discuss the Motion. Signed by Judge Carl J. Nichols on September 8, 2021.
                                      (lccjnl) (Entered: 09/08/2021)
   09/08/2021                         Set/Reset Deadlines as to EDWARD JACOB LANG: Reply due by 9/14/2021. (zeal)
                                      (Entered: 09/09/2021)
   09/09/2021                         LEAVE TO FILE DENIED- Motion to Proceed as Poor Person, Petition for a writ of
                                      Habeas Corpus, Memorandum of Law as to EDWARD JACOB LANG. This document
                                      is unavailable as the Court denied its filing. Signed by Judge Carl J. Nichols on
                                      9/9/2021. (zltp) (Entered: 09/10/2021)
   09/13/2021                         Set/Reset Hearings as to EDWARD JACOB LANG: Motion Hearing/ Status
                                      Conference RESET for 9/20/2021 at 03: 15 PM in Courtroom 17- In Person before
                                      Judge Carl J. Nichols. (zeal) (Entered: 09/13/2021)
   09/13/2021                         MINUTE ORDER. The Court finds that, in light of the COVID-19 pandemic, the
                                      interest of justice is best served and outweighs the interests of the public and Mr. Lang
                                      in a speedy trial and that the time between September 15, 2021 and the next hearing,
                                      presently scheduled for September 20, 2021, shall be excluded in computing time
                                      within which the trial must commence in this case under the Speedy Trial Act, 18
                                      U.S.C. § 3161. Signed by Judge Carl J. Nichols on September 13, 2021. (lccjnl)
                                      (Entered: 09/13/2021)
   09/14/2021                         Unopposed MOTION for Extension of Time to File Response Reply by EDWARD
                                      JACOB LANG. (Tankleff, Martin) Modified text on 9/14/2021 (zstd). (Entered:
                                      09/14/2021)
   09/14/2021                         RESPONSE by USA as to EDWARD JACOB LANG re                 First MOTION for Bond by
                                      Edward Jacob LangFirst MOTION for Release from Custody by Edward Jacob Lang
                                      (Attachments:# l Certificate of Service)(Jackson, Melissa) (Entered: 09/14/2021)
  09/14/2021                          MINUTE ORDER. Upon consideration of Defendant's         Unopposed Motion for
                                      Extension of Time, that Motion is GRANTED. It is thus ORDERED that Defendant
                                      shall file a Reply to  USA's Response to Defendants Motion for Bond by September
                                      17, 2021. Signed by Judge Carl J. Nichols on September 14, 2021. (lccjnl) (Entered:
                                      09/14/2021)
  09/14/2021                         Set/Reset Deadlines as to EDWARD JACOB LANG: Defendants Reply due by
                                     9/17/2021. (zeal) (Entered: 09/15/2021)
  09/15/2021                         Superseding INDICTMENT as to EDWARD JACOB LANG (1) count(s) ls-2s, 3s-4s,
                                     5s-6s, 7s, 8s, 9s, 10s, lls, 12s, 13s. (zstd) (Main Document 36 replaced on 9/16/2021)
                                     (zstd). (Entered: 09/16/2021)
  09/16/2021                         Second STATUS REPORT Regarding Status of Discovery by USA as to EDWARD

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                                      JACOB LANG (Jackson, Melissa) (Entered: 09/16/2021)

   09/17/2021                 38     REPLY TO OPPOSITION to Motion by EDWARD JACOB LANG re                First
                                     MOTION for Bond by Edward Jacob LangFirst MOTION for Release from Custody by
                                     Edward Jacob Lang Opposition to Government (Tankleff, Martin) (Entered:
                                     09/18/2021)
   09/20/2021                        Minute Entry for proceedings held before Judge Carl J. Nichols: Motion
                                     Hearing/Arraignment as to EDWARD JACOB LANG (1) Count ls-2s,3s-4s,5s-
                                     6s,7s,8s,9s,10s,l ls,12s,13s held on 9/20/2021. Not Guilty as to all counts.  Motion
                                     for Release from Custody as to EDWARD JACOB LANG (1); DENIED for reasons set
                                     forth on the record. Motion to modify Conditions; DENIED without prejudice. Further
                                     Order to be issued by the Court. Speedy Trial as to EDWARD JACOB LANG is
                                     Excluded from 9/20/2021 to 10/20/2021, in the Interest of Justice, XT. Status
                                     Conference set for 10/20/2021 at 02:00 PM in TelephonicNTC before Judge Carl J.
                                     Nichols. Bond Status of Defendant: Defendant Committed/ Commitment Issued; Court
                                     Reporter: Lorraine Herman; Defense Attorney: Martin Tankleff and Steven Metcalf; US
                                     Attorney: Melissa Jackson; Pretrial Services Officer: Andre Sidbury. (zeal) (Entered:
                                     09/20/2021)
   09/22/2021                        NOTICE OF FILING by USA as to EDWARD JACOB LANG (Attachments: # l
                                     Notice to Counsel/Party UNITED STATES MEMORANDUM REGARDING STATUS
                                     OF DISCOVERY)(Jackson, Melissa) (Entered: 09/22/2021)
   09/23/2021                       NOTICE OF FILING by USA as to EDWARD JACOB LANG (Attachments: # l
                                    Notice to Counsel/Party)(Jackson, Melissa) (Entered: 09/23/2021)
   09/27/2021                       NOTICE OF FILING OF DISCOVERY LEITER by USA as to EDWARD JACOB
                                    LANG (Attachments: # l Notice to Counsel/Party)(Jackson, Melissa) (Entered:
                                    09/27/2021)



                                        I                            PACER Service Center
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                                        U.S. District Court
                             District of Columbia (Washington, DC)
                  CRIMINAL DOCKET FOR CASE#: 1:21-cr-00053-CJN All Defendants


   Case title: USA v. LANG                                                                           Date Filed: 01/29/2021

   Magistrate judge case number: 1:21-mj-00061-GMH


  Assigned to: Judge Carl J. Nichols

  Defendant (1).
  EDWARD JACOB LANG                                                                    represented by Martin Harold Tankleff
                                                                                                      METCALF AND METCALF
                                                                                                      99 Park Avenue
                                                                                                      Suite 2501
                                                                                                      Manhattan, NY 10016
                                                                                                      646-385-4403
                                                                                                      Fax: 646-619-4807
                                                                                                      Email: martytankleff@gmail.com
                                                                                                      LEAD ATTORNEY
                                                                                                      ATTORNEY TO BE NOTICED
                                                                                                      Designation: Retained

                                                                                                     Steven Alan Metcalf , II
                                                                                                     METCALF & METCALF, P.C.
                                                                                                     99 Park Avenue
                                                                                                     Suite 2501
                                                                                                     New York, NY 10016
                                                                                                     646-253-0514
                                                                                                     Fax: 646-219-2012
                                                                                                     Email: Metcalflawnyc@gmail.com
                                                                                                     LEAD ATTORNEY
                                                                                                     ATTORNEY TO BE NOTICED
                                                                                                     Designation: Retained

 Pending Counts                                                                                      Disgosition
 18 U.S.C. 231(a)(3); CIVIL DISORDER;
 Civil Disorder
 (1)
  18:lll(a)(l)         and 2;

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   ASSAULTING/RESISTING/IMPEDING
   OFFICERS/EMPLOYEES; Assaulting,
   Resisting, or Impeding Certain Officers
   and Aiding and Abetting
   (ls-2s)
  18 U.S.C. lll(a)(l);
  ASSAULTING/RESISTING/IMPEDING
  OFFICERS/EMPLOYEES; Assaulting,
  Resisting, or Impeding Certain Officers
  (2)
  18 U.S.C. 23l(a)(3); CIVIL DISORDER;
  Civil Disorder
  (3)
  18: 111(a)(l );
  ASSAULTING/RESISTING/IMPEDING
  OFFICERS/EMPLOYEES; Assaulting,
  Resisting, or Impeding Certain Officers
  (3s-4s)
  18 U.S.C. lll(a)(l) and (b);
  ASSAULTING/RESISTING/IMPEDING
  OFFICERS/EMPLOYEES; Assaulting,
  Resisting, or Impeding Certain Officers
  Using a Dangerous Weapon
  (4)
  18 U.S.C. 231(a)(3); CIVIL DISORDER;
  Civil Disorder
  (5)
 18:11l(a)(l) and (b);
 ASSAULTING/RESISTING/IMPEDING
 OFFICERS/EMPLOYEES; Assaulting,
 Resisting, or Impeding Certain Officers
 Using a Dangerous Weapon
 (5s-6s)
 18 U.S.C. lll(a)(l) and (b);
 ASSAULTING/RESISTING/IMPEDING
 OFFICERS/EMPLOYEES; Assaulting,
 Resisting, or Impeding Certain Officers
 Using a Dangerous Weapon
 (6)
 18 U.S.C. 1512(c)(2) and 2; TAMPERING
 WITH A WITNESS, VICTIM OR
 INFORMANT; Obstruction of an Official
 Proceeding and Aiding and Abetting
 (7)

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   18:lll(a)(l) and (b);
   ASSAULTING/RESISTING/IMPEDING
   OFFICERS/EMPLOYEES; Assaulting,
   Resisting, or Impeding Certain Officers
   Using a Dangerous Weapon, Inflicting
   Bodily Injury
   (7s)
   18 U.S.C. 1752(a)(2) and (b)(l)(A);
   TEMPORARY RESIDENCE OF THE
   PRESIDENT; Disorderly and Disruptive
   Conduct in a Restricted Building or
   Grounds with a Deadly or Dangerous
   Weapon
   (8)
  18:231 (a)(3 ); CIVIL DISORDER; Civil
  Disorder
  (8s)
  18 U.S.C. 1752(a)(4) and (b)(l)(A);
  TEMPORARY RESIDENCE OF THE
  PRESIDENT; Engaging in Physical
  Violence in a Restricted Building or
  Grounds, with a Deadly or Dangerous
  Weapon
  (9)
  18:1512(c)(2) and 2; TAMPERING WITH
  A WITNESS, VICTIM OR INFORMANT;
  Obstruction of an Official Proceeding and
  Aiding and Abetting
  (9s)
  40 U.S.C. 5104(e)(2)(D); FEDERAL
  STATUTES, OTHER; Disorderly Conduct
  in a Capitol Building
  (10)
 18:1752(a)(2) and (b)(l)(A);
 TEMPORARY RESIDENCE OF THE
 PRESIDENT; Disorderly and Disruptive
 Conduct in a Restricted Building or
 Grounds, with a Deadly or Dangerous
 Weapon
 (10s)
 40 U.S.C. 5104(e)(2)(F); FEDERAL
 STATUTES, OTHER; Act of Physical
 Violence in a Capitol Building
 (11)


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  18:1752(a)(4) and (b)(l)(A);
  TEMPORARY RESIDENCE OF THE
  PRESIDENT; Engaging in Physical
  Violence in a Restricted Building or
  Grounds with a Deadly or Dangerous
  Weapon
  (11s)
  40:5104(e)(2)(D); VIOLENT ENTRY
  AND DISORDERLY CONDUCT ON
  CAPITOL GROUNDS; Disorderly
  Conduct in a Capitol Building
  (12s)
  40:5104(e)(2)(F); VIOLENT ENTRY
  AND DISORDERLY CONDUCT ON
  CAPITOL GROUNDS; Act of Physical
  Violence in the Capitol Grounds or
  Buildings
  (13s)

  Highest Offense Level (Onening).
  Felony

  Terminated Counts                                                                  Disnosition
  None

  Highest Offense Level (Terminated).
  None

  Comnlaints                                                                         Disnosition
 COMPLAINT in VIOLATION of 18
 U.S.C. § lll(b), 18 U.S.C. § 23l(a)(3), 18
 U.S.C. § 1752(a), and 40 U.S.C. § 5104(e)
 (2)



 Plaintiff
 USA                                                                     represented by Melissa Joy Jackson
                                                                                        U.S. ATTORNEY'S OFFICE FOR THE
                                                                                        DISTRICT OF COLUMBIA
                                                                                        555 4th Street, NW
                                                                                        Washington, DC 20530
                                                                                        202-252- 7786

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                                                                                       Email: melissa.jackson@usdoj.gov
                                                                                       LEAD AITORNEY
                                                                                       AITORNEY TO BE NOTICED
                                                                                       Designation: Assistant U.S. Attorney

  -"
    Date Filed                  #      Docket Text
    01/15/2021                   l     SEALED COMPLAINT as to EDWARD JACOB LANG (1). (Attachments:# l
                                       Affidavit in Support) (zltp) [1:21-mj-00061-GMH] (Entered: 01/15/2021)
   01/15/2021                    1 MOTION to Seal Case by USA as to EDWARD JACOB LANG. (Attachments:# l
                                      Text of Proposed Order)(zltp) [l :21-mj-00061-GMH] (Entered: 01/15/2021)
   01/15/2021                   :± ORDER granting}       Motion to Seal Case as to EDWARD JACOB LANG (1). Signed by
                                      Magistrate Judge G. Michael Harvey on 1/15/2021. (zltp) [l:21-mj-00061-GMH]
                                      (Entered: 01/15/2021)
   01/16/2021                         Case unsealed as to EDWARD JACOB LANG (bb) [1:21-mj-00061-GMH] (Entered:
                                      01/21/2021)
   01/16/2021                         Arrest of EDWARD JACOB LANG in New York. (bb) (Entered: 08/10/2021)
   01/22/2021                         Rule 5(c)(3) Documents Received as to EDWARD JACOB LANG from US District
                                      Court Southern District of New York Case Number 21-mj-626 (bb) (Entered:
                                      08/10/2021)
   01/29/2021                   2 INDICTMENT as to EDWARD JACOB LANG (1) count(s) 1, 2, 3, 4, 5, 6, 7, 8, 9, 10,
                                      11. (zltp) (Entered: 02/02/2021)
   02/04/2021                   1 Joint MOTION to Continue Initial Appearance and Detention Hearing by USA as to
                                      EDWARD JACOB LANG. (Jackson, Melissa) (Entered: 02/04/2021)
   02/04/2021                         MINUTE ORDER: Upon consideration of the parties 1 Joint Motion to Continue the
                                      Initial Appearance and Detention Hearing to February 9, 2021, the Court finds good
                                      cause to GRANT this motion. The Initial Appearance and Detention Hearing will take
                                      place in this matter on February 9, 2021 at 1:00 p.m. by videoconference before Judge
                                      Meriweather. Call-in instructions will be provided to counsel prior to the hearing.
                                      Signed by Magistrate Judge Robin M. Meriweather on 2/4/2021. (ztl) (Entered:
                                      02/04/2021)
  02/08/2021                   .a MEMORANDUM         in Support of Pretrial Detention by USA as to EDWARD JACOB
                                     LANG (Jackson, Melissa) (Entered: 02/08/2021)
  02/09/2021                         ORAL MOTION to Appoint Counsel by EDWARD JACOB LANG. (ztl) (Entered:
                                     03/04/2021)
  02/09/2021                         ORAL MOTION to Commit Defendant to Custody of Attorney General by USA as to
                                     EDWARD JACOB LANG. (ztl) (Entered: 03/04/2021)
  02/09/2021                         ORAL MOTION for Speedy Trial by USA as to EDWARD JACOB LANG. (ztl)
                                     (Entered: 03/04/2021)


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    02/09/2021                        Minute Entry for proceedings held before Magistrate Judge Zia M. Faruqui: Initial
                                      Appearance/Arraignment held on 2/9/2021 as to Counts 1,2,3,4,5,6,7,8,9,10,11. Plea of
                                      Not Guilty entered as to all counts. Oral Motion to Appoint Counsel by EDWARD
                                      JACOB LANG (1 ); heard and granted. Oral Motion by the Government to Commit
                                      Defendant to Custody of Attorney General as to EDWARD JACOB LANG (l); heard
                                      and granted. No objection from defense. Oral Motion by the Government for Speedy
                                      Trial as to EDWARD JACOB LANG (1 ); heard and granted. Speedy Trial Excluded
                                      from 2/9/2021 to 3/30/2021 in the Interest of Justice (XT). Status Hearing set for
                                      3/30/2021 at 10:00 AM by TelephonicNTC before Judge Carl J. Nichols. Bond Status
                                      of Defendant: Defendant Committed/Commitment Issued; Court Reporter: Sara Wick;
                                      Defense Attorney:Steven Metcalf and Marty Tankleff; US Attorney: Melissa Jackson;
                                      Pretrial Officer: John Copes. (ztl) (Entered: 03/04/2021)
   02/10/2021                   2 PRETRIAL SERVICES REPORT as to EDWARD JACOB LANG This document is for
                                     informational purposes only. No action is requested.(Sidbury, Andre) (Entered:
                                     02/10/2021)
   03/15/2021                        Unopposed MOTION for Protective Order by USA as to EDWARD JACOB LANG.
                                     (Attachments:# 1 Text of Proposed Order)(Jackson, Melissa) (Entered: 03/15/2021)
   03/29/2021                        NOTICE of Filing by USA as to EDWARD JACOB LANG (Attachments:# l Exhibit
                                     Discovery Letter to Defense Counsel dated March 26, 2021)(Jackson, Melissa)
                                     (Entered: 03/29/2021)
   03/29/2021                        MOTION for Protective Order by USA as to EDWARD JACOB LANG. (Attachments:
                                     # l Text of Proposed Order)(Jackson, Melissa) (Entered: 03/29/2021)
   03/29/2021                        MOTION for Disclosure ORDER TO DISCLOSE ITEMS PROTECTED BY FEDERAL
                                     RULE OF CRIMINAL PROCEDURE 6( e) AND SEALED MATERIALS by USA as to
                                     EDWARD JACOB LANG. (Attachments:# l Text of Proposed Order)(Jackson,
                                     Melissa) Modified relief on 3/30/2021 (znmw). (Entered: 03/29/2021)
   03/29/2021                        MOTION to Continue AND TO EXCLUDE TIME UNDER THE SPEEDY TRIAL ACT
                                     by USA as to EDWARD JACOB LANG. (Attachments: # l Text of Proposed Order)
                                     (Jackson, Melissa) (Entered: 03/29/2021)
  03/29/2021                 15 MOTION to Exclude Time by USA as to EDWARD JACOB LANG. (See docket entry
                                  to view document). (zstd) (Entered: 03/30/2021)
  03/30/2021                         Minute Entry for proceedings held before Judge Carl J. Nichols: Telephone Status
                                     Conference as to EDWARD JACOB LANG held on 3/30/2021. Further Order to be
                                     issued by the Court. Status Conference set for 4/29/2021 at 03 :00 PM in
                                     Telephonic/VTC before Judge Carl J. Nichols. Bond Status of Defendant: Defendant
                                     remains Committed; Court Reporter: Lorraine Herman; Defense Attorney: Steven
                                     Metcalf and Marty Tankleff; US Attorney: Melissa Jackson. (zeal) (Entered:
                                     03/30/2021)
  04/13/2021                        NOTICE OF ATTORNEY APPEARANCE: Martin Harold Tankleff appearing for
                                    EDWARD JACOB LANG from Metcalf & Metcalf (Tankleff, Martin) (Entered:
                                    04/13/2021)


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   04/27/2021                         NOTICE of Filing by USA as to EDWARD JACOB LANG (Attachments: # l Exhibit
                                      Discovery Letter to Defense Counsel dated April 27, 2021 )(Jackson, Melissa) (Entered:
                                      04/27/2021)
   04/29/2021                         PROTECTIVE ORDER. Signed by Judge Carl J. Nichols on April 29, 2021. (lccjnl)
                                      (Entered: 04/29/2021)
   04/29/2021                       NOTICE of Filing by USA as to EDWARD JACOB LANG (Jackson, Melissa)
                                    (Entered: 04/29/2021)
   04/29/2021                       Minute Entry for proceedings held before Judge Carl J. Nichols: Telephone Status
                                    Conference as to EDWARD JACOB LANG held on 4/29/2021. Further Order to be
                                    issued by the Court. Speedy Trial as to EDWARD JACOB LANG is Excluded from
                                    4/29/2021 to 6/15/2021, in the Interest of Justice, XT. Status Conference set for
                                    6/15/2021 at 03:00 PM in TelephonicNTC before Judge Carl J. Nichols. Bond Status of
                                    Defendant: Defendant remains Committed; Court Reporter: Lorraine Herman; Defense
                                    Attorney: Martin Tankleff and Steven Metcalf; US Attorney: Melissa Jackson. (zeal)
                                    (Entered: 04/30/2021)
   05/18/2021                       NOTICE of Filing by USA as to EDWARD JACOB LANG (Attachments: # 1 Exhibit
                                    Discovery Letter to Defense Counsel dated May 18, 2021)(Jackson, Melissa) (Entered:
                                    05/18/2021)
   06/09/2021                       ENTERED IN ERROR ..... MOTION for Leave to Appear Notice of Appearance of
                                    Steven Metcalf Attorney: Steven Metcalf. by EDWARD JACOB LANG. (Metcalf,
                                    Steven) Modified on 6/9/2021 (zstd). (Entered: 06/09/2021)
   06/09/2021                       NOTICE OF ATTORNEY APPEARANCE: Steven Alan Metcalf, II appearing for
                                    EDWARD JACOB LANG (Metcalf, Steven) (Entered: 06/09/2021)
  06/09/2021                        NOTICE OF CORRECTED DOCKET ENTRY: as to EDWARD JACOB LANG re
                                    MOTION for Leave to Appear Notice of Appearance of Steven Metcalf Attorney:
                                    Steven Metcalf. was entered in error and counsel refiled said pleading using correct
                                    event. (zstd) (Entered: 06/09/2021)
  06/14/2021                        NOTICE of Filing by USA as to EDWARD JACOB LANG (Attachments:# l Exhibit
                                    Discovery Letter to Defense Counsel dated June 14, 2021, # 2 Exhibit Discovery Letter
                                    to Defense Counsel dated June 14, 2021)(Jackson, Melissa) (Entered: 06/14/2021)
  06/15/2021                       MINUTE ORDER. As discussed at the March 30, 2021 status conference, the
                                   government's      Motion for an Order to Disclose Items Protected by Federal Rule of
                                   Criminal Procedure 6(e) and Sealed Materials is GRANTED. It is further ORDERED
                                   that the United States may provide in discovery sealed materials and materials protected
                                   by Federal Rule of Criminal Procedure 6( e). Signed by Judge Carl J. Nichols on June
                                   15, 2021. (lccjnl) (Entered: 06/15/2021)
  06/15/2021                        Minute Entry for proceedings held before Judge Carl J. Nichols: Video Status
                                    Conference as to EDWARD JACOB LANG held on 6/15/2021. Speedy Trial as to
                                    EDWARD JACOB LANG is Excluded from 6/15/2021 to 7/15/2021, in the Interest of
                                    Justice, XT. Status Conference set for 7/15/2021 at 11:00 AM in TelephonicNTC
                                  I before Judge Carl J. Nichols. Bond Status of Defendant: Defendant remains

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                                        Committed; Court Reporter: Lorraine Herman; Defense Attorney: Martin Tankleff and
                                        Steven Metcalf, II; US Attorney: Melissa Jackson. (zeal) (Entered: 06/15/2021)
      06/16/2021                        Set/Reset Hearings as to EDWARD JACOB LANG:Status Conference RESET for
                                        7/16/2021 at 11:00 AM in TelephonicNTC before Judge Carl J. Nichols. (zeal)
                                        (Entered: 06/16/2021)
      06/30/2021                       ENTERED IN ERROR .....NOTICE of Filing by USA as to EDWARD JACOB LANG
                                       (Attachments:# l Exhibit)(Jackson, Melissa) Modified on 6/30/2021 (zstd). (Entered:
                                       06/30/2021)
                                                                                                                      -----~~-·--

      06/30/2021                       NOTICE OF CORRECTED DOCKET ENTRY: as to EDWARD JACOB LANG re
                                       Notice (Other) was entered in error and counsel was instructed to refile said pleading.
                                       The exhibit cannot be filed by itself, a notice of filing needs to be filed as the main
                                       document and the exhibit will be the attachment. (zstd) (Entered: 06/30/2021)
      07/01/2021               25      NOTICE of Filing by USA as to EDWARD JACOB LANG (Attachments: # l Exhibit)
                                       (Jackson, Melissa) (Entered: 07/01/2021)
      07/08/2021                       NOTICE of Filing Viewing Letter by USA as to EDWARD JACOB LANG
                                       (Attachments: # l Notice to Counsel/Party )(Jackson, Melissa) (Entered: 07/08/2021)
      07/16/2021                       Minute Entry for proceedings held before Judge Carl J. Nichols: Video Status
                                       Conference as to EDWARD JACOB LANG held on 7/16/2021. Speedy Trial as to
                                       EDWARD JACOB LANG is Excluded from 7/16/2021 to 9/15/2021, in the Interest of
                                       Justice, XT. Status Conference set for 9/15/2021 at 11:00 AM in TelephonicNTC
                                       before Judge Carl J. Nichols. Bond Status of Defendant: Defendant remains
                                       Committed; Court Reporter: Lorraine Herman; Defense Attorney: Martin Tankleff and
                                       Steven Metcalf, II; US Attorney: Melissa Jackson. (zeal) (Entered: 07/16/2021)
      08/12/2021                       NOTICE of Filing of Discovery Letter by USA as to EDWARD JACOB LANG
                                       (Attachments: # l Exhibit Discovery Letter- 8-11-2021 )(Jackson, Melissa) (Entered:
                                       08/12/2021)
      08/23/2021                       First MOTION for Bond by Edward Jacob Lang, First MOTION for Release from
                                       Custody by Edward Jacob Lang by EDWARD JACOB LANG. (Attachments: # l
                                       Exhibit Exhibits A-Jin Support of Bond Application)(Tankleff, Martin) (Entered:
                                       08/23/2021)
      08/24/2021                      STATUS REPORT Regarding Status of Discovery by USA as to EDWARD JACOB
                                      LANG (Jackson, Melissa) (Entered: 08/24/2021)
      08/30/2021                      MINUTE ORDER. After review of Defendant's        Motion for Bond, it is hereby
                                      ORDERED that the government shall file a response to the Motion by September 7,
                                      2021. Signed by Judge Carl J. Nichols on August 30, 2021. (lccjnl) (Entered:
                                      08/30/2021)
 --

  08/30/2021                          Set/Reset Deadlines as to EDWARD JACOB LANG: Response due by 9/7/2021. (zeal)
                                      (Entered: 09/01/2021)
  09/07/2021                          RESPONSE by USA as to EDWARD JACOB LANG re            First MOTION for Bond by
                                      Edward Jacob Lang First MOTION for Release from Custody by Edward Jacob Lang

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  District of Columbia live database                                                                                  10/4/21, 3:01 PM



                                       (Attachments:# l Certificate of Service)(Jackson, Melissa) (Entered: 09/07/2021)

    09/08/2021                         MINUTE ORDER. After review of USA's Response            to Defendant's Motion for
                                       Bond      , it is hereby ORDERED that Defendant shall file a Reply by September 14,
                                       2021. It is further ORDERED that the Status Conference on September 15th at 11:00
                                       A.M. shall include a hearing on Defendant's Motion for Bond, and Parties should be
                                       prepared to discuss the Motion. Signed by Judge Carl J. Nichols on September 8, 2021.
                                       (lccjnl) (Entered: 09/08/2021)
   09/08/2021                          Set/Reset Deadlines as to EDWARD JACOB LANG: Reply due by 9/14/2021. (zeal)
                                       (Entered: 09/09/2021)
   09/09/2021                        LEAVE TO FILE DENIED- Motion to Proceed as Poor Person, Petition for a writ of
                                     Habeas Corpus, Memorandum of Law as to EDWARD JACOB LANG. This document
                                     is unavailable as the Court denied its filing. Signed by Judge Carl J. Nichols on
                                     9/9/2021. (zltp) (Entered: 09/10/2021)
   09/13/2021                        Set/Reset Hearings as to EDWARD JACOB LANG: Motion Hearing/ Status
                                     Conference RESET for 9/20/2021 at 03: 15 PM in Courtroom 17- In Person before
                                     Judge Carl J. Nichols. (zeal) (Entered: 09/13/2021)
   09/13/2021                        MINUTE ORDER. The Court finds that, in light of the COVID-19 pandemic, the
                                     interest of justice is best served and outweighs the interests of the public and Mr. Lang
                                     in a speedy trial and that the time between September 15, 2021 and the next hearing,
                                     presently scheduled for September 20, 2021, shall be excluded in computing time
                                     within which the trial must commence in this case under the Speedy Trial Act, 18
                                     U.S.C. § 3161. Signed by Judge Carl J. Nichols on September 13, 2021. (lccjnl)
                                     (Entered: 09/13/2021)
   09/14/2021                        Unopposed MOTION for Extension of Time to File Response Reply by EDWARD
                                     JACOB LANG. (Tankleff, Martin) Modified text on 9/14/2021 (zstd). (Entered:
                                     09/14/2021)
   09/14/2021                        RESPONSE by USA as to EDWARD JACOB LANG re                 First MOTION for Bond by
                                     Edward Jacob Lang First MOTION for Release from Custody by Edward Jacob Lang
                                     (Attachments:# l Certificate of Service)(Jackson, Melissa) (Entered: 09/14/2021)
  09/14/2021                         MINUTE ORDER. Upon consideration of Defendant's         Unopposed Motion for
                                     Extension of Time, that Motion is GRANTED. It is thus ORDERED that Defendant
                                     shall file a Reply to  USA's Response to Defendants Motion for Bond by September
                                     17, 2021. Signed by Judge Carl J. Nichols on September 14, 2021. (lccjnl) (Entered:
                                     09/14/2021)
  09/14/2021                        Set/Reset Deadlines as to EDWARD JACOB LANG: Defendants Reply due by
                                    9/17/2021. (zeal) (Entered: 09/15/2021)
  09/15/2021                        Superseding INDICTMENT as to EDWARD JACOB LANG (1) count(s) ls-2s, 3s-4s,
                                    5s-6s, 7s, 8s, 9s, 10s, l ls, 12s, 13s. (zstd) (Main Document 36 replaced on 9/16/2021)
                                    (zstd). (Entered: 09/16/2021)
  09/16/2021                        Second STATUS REPORT Regarding Status of Discovery by USA as to EDWARD

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                                    JACOB LANG (Jackson, Melissa) (Entered: 09/16/2021)

   09/17/2021                       REPLY TO OPPOSITION to Motion by EDWARD JACOB LANG re                First
                                    MOTION for Bond by Edward Jacob LangFirst MOTION for Release from Custody by
                                    Edward Jacob Lang Opposition to Government (Tankleff, Martin) (Entered:
                                    09/18/2021)
   09/20/2021                       Minute Entry for proceedings held before Judge Carl J. Nichols: Motion
                                    Hearing/Arraignment as to EDWARD JACOB LANG (1) Count ls-2s,3s-4s,5s-
                                    6s,7s,8s,9s,10s,11s,12s,13s held on 9/20/2021. Not Guilty as to all counts.   Motion
                                    for Release from Custody as to EDWARD JACOB LANG (1); DENIED for reasons set
                                    forth on the record. Motion to modify Conditions; DENIED without prejudice. Further
                                    Order to be issued by the Court. Speedy Trial as to EDWARD JACOB LANG is
                                    Excluded from 9/20/2021 to 10/20/2021, in the Interest of Justice, XT. Status
                                    Conference set for 10/20/2021 at 02:00 PM in TelephonicNTC before Judge Carl J.
                                    Nichols. Bond Status of Defendant: Defendant Committed/ Commitment Issued; Court
                                    Reporter: Lorraine Herman; Defense Attorney: Martin Tankleff and Steven Metcalf; US
                                    Attorney: Melissa Jackson; Pretrial Services Officer: Andre Sidbury. (zeal) (Entered:
                                    09/20/2021)
   09/22/2021                      NOTICE OF FILING by USA as to EDWARD JACOB LANG (Attachments: # l
                                   Notice to Counsel/Party UNITED STATES MEMORANDUM REGARDING STATUS
                                   OF DISCOVERY)(Jackson, Melissa) (Entered: 09/22/2021)
   09/23/2021                      NOTICE OF FILING by USA as to EDWARD JACOB LANG (Attachments: # l
                                   Notice to Counsel/Party)(Jackson, Melissa) (Entered: 09/23/2021)
   09/27/2021                      NOTICE OF FIUNG OF DISCOVERY LEITER by USA as to EDWARD JACOB
                                   LANG (Attachments: # l Notice to Counsel/Party)(Jackson, Melissa) (Entered:
                                   09/27/2021)



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                   INTHEUNITEDSTATESDISTRICT
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                      FORTHEDISTRICT
                                   OFCOLUMBIA
------------------------------------------------------X

UNITED STATES OF AMERICA,

                   v.
                                                                   No. 1:21-cr-00053
EDWARD JACOB LANG,

                            Defendant.

------------------------------------------------------X

 DEFENDANT LANG'S MOTION FOR BAIL TO PLACE DEFENDANT
        ON CONDITIONAL RELEASE PENDING TRIAL

         Defendant, Edward Jacob Lang, by and through undersigned counsel, Martin H.

Tankleff and Steven Metcalf, respectfully moves this Court, pursuant to the Bail Reform

Act of 1984, 18 U.S.C. 3141, et seq., to release Mr. Lang on personal recognizance.

         Alternatively, if the Court is not amenable to release defendant on personal

recognizance, defendant moves this court to release defendant into the third-party

custody of his parents and commit him to the supervision of a High Intensity

Supervision Program (HISP) with GPS monitoring by local Pretrial Services.




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      If the Court deems that Lang is not entitled to bail, he respectfully moves for a

Court order permitting him to possess in his cell a laptop computer so he can review

all discovery and participate in his own defense.




Dated: August 23, 2021

                                                Respectfully Submitted,

                                                    ~---~
                                                       T:~.
                                                MARTIN H.
                                               Metcalf & Metcalf, P.C.
                                               Attornrysfar Lang
                                               99 Park Avenue, 25 th Floor
                                               New York, NY 10016
                                               Phone646.253.0514
                                               Fax 646.219.2012
                                               mtankktJ@,metcalflawnyc.com

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                                                Metcalf & Metcalf, P .C.
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                          CERTIFICATE OF SERVICE

We hereby certify that, on August 23'd, 2021, the forgoing document was filed via the
Court's electronic filing system, and sent to the AUSA via email, which constitutes
service upon all counsel of record.
                                                 Respectfully Submitted,


                                              ~--
                                              MARTIN
                                                            ~
                                                       H. ~~Q.
                                              Metcalf & Metcalf, P.C.
                                              Attornrysfar Lang
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                 FORTHE.DISTRICTOFCOLUMBIA
------------------------------------------------------X

UNITED STATES OF AMERICA,

              v.
                                                          No. 1:21-cr-00053
EDWARD JACOB LANG,

                        Defendant.

------------------------------------------------------X

         MOTION TO REVIEW DENTENTION WITHOUT BOND

       Edward Jacob Lang (hereinafter "Defendant,"            "Lang" or ''Jake"), by and

through his attorneys, Martin Tankleff and Steven Metcalf, moves to have his detention

without bond status reviewed. Lang moves this Honorable Court to reimpose the

conditions of release that were set at the time of Lang's arraignment. In support thereof,

he states as follows:

                                       PREAMBLE

       As far back as the 5th Century, humanity recognized that, "[w]hoever destroys a

soul, it is considered as if he destroyed an entire world. And whoever saves a life, it is




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 considered as ifhe saved an entire world." Which was written in the Talmud 1. We were

reminded of this core principle in 1993 when Shindler's list came out and a famous line

in the movie stated, ''Whoever saves one life saves the world entire."

        This line, and the concept behind it, is quite simple, one man can make a

difference. In the case before this court,Jake Lang is that one man. He showed Phillip

Anderson humanity, by saving his life, with little to no regard for his own life. Jake's

conduct was selfless, kind and establishes that Jake is a good person, and good people

still exist in this world. As Mr. Anderson has stated, "If it wasn't for Jake, I would have

been killed by the police on January 6. I am alive today because he saved my life." (See

Affidavit of Philip Anderson attached as Exhibit A)2.

        If there is any justice in our society, it is to grant bail to defendant, especially

since in 1988, undersigned counsel, while under indictment for double murder was


1
  The Talmud (11~?11)   is considered an authoritative record of rabbinic discussions on Jewish law,
Jewish ethics, customs, legends and stories. It consists of the Mishnah,a record of oral traditions, and
the Gemara,which comments upon, interprets and applies these oral traditions. A section of the
Mishnah is followed by the Gemara on that section. There are two distinct Gemaras: the Y erushalmi
and the Bavli, and two corresponding Talmuds: Talmud Yerushalmi Qerusalem Talmud) and the
Talmud Bavli (Babylonian Talmud); The word "Talmud", when used without qualification, usually
refers to the Babylonian Talmud. Neither Gemara is complete.

2
  Mr. Anderson has publicly come out as a witness as to what happened on January 6, 2021 (See,
https://news-block.com/the-police-killed-her-three-more-eyewitnesses-who-were-later-arrested-
speak-about-the-police-murder-of-protester-rosanne-boyland-on-january-6/;
https: //www.thegatewaypundit.com/2021 / 07 /philip-anderson-capitol-police-killed-rosanne-
boyland-know-holding-hand-died-audio /;          https: //noqreport.com/2021 / 07 / 18/philip-anderson-
capitol-police-killed-rosanne-boyland-on-jan-6-she-was-holding-my-hand-when-she-died-audio/         Qast
visited on August 20, 2021)

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released on one-million-dollar bail and reduced after several months of freedom. 3 Lang

is not charged with murder, and individuals around this Country, charged with more

serious crimes are granted bail.

       The defendant states the following in support of this request.

                                   I. INTRODUCTION

      1.     Mr. Lang now moves for Bail for the following reasons: (1) his treatment in

             a DC jail has violated his human rights, (2) his right to effective assistance of

             counsel is being deprived on a daily basis because he is unable to speak to

             his attorney's in a confidential setting, and participate in his own defense

             because he cannot adequately review the discovery in this matter; (3) the

             presumption against bail for pretrial detainees.

      2.     The reasons set forth herein highlight how the government is unable to

             prove that Lang is a flight risk by a preponderance of the evidence; and

             instead, this case boils down to dangerousness, and whether the government

             can demonstrate that Lang should be detained pretrial because there are "no


3  Judge Thomas Mallon also ordered that the youth, Martin Tankleff, 17, remain free on $1-
million bail after arraigning him on second-degree murder charges in his father's death. 2 Asst. Das
Barredin Tanklef!Trial, 1988 WLNR 171272; Martin Tankleff has pleaded not guilty and is being held
in the Suffolk County Jail in lieu of $500,000 cash bail or $1 million bond. SrymourTankleff Dies ef
!,!furies,1988 WLNR 158438.




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             condition    or combination        of conditions      will reasonably assure         the

             appearance of the person as required and the safety of any other person and

             the community". 18 U.S.C. § 3142(e)(1). 4

      3.     Lang went unarmed to the Capitol on January 6, 2021. As a United States

             citizen, he went there to stand for liberty, the Constitution, and assert his

             First Amendment Right.          Instead, he ended up saving someone's life,

             watching people being beaten to death by police, being gassed and abused.

            What we have been seeing in the press is not the whole truth. The snippets

             of videos and snapshots do not reveal the truth of what happened on January

             6. Jake's actions, in totality were heroic and lifesaving. If there is any doubt

             about that, just ask Phillip Anderson who also clung to Ms. Boyland as she

             died. (SeeAffidavit of Phillip Anderson attached as Exhibit A).




4 See also UnitedStates v. Munchel,2021 WL 1149196, at 4 (D.C. Cir. Mar. 26, 2021) (quoting18 U.S.C. §
3142(f)(highlighting that "[t]o justify detention on the basis of dangerousness, the government must
prove by 'clear and convincing evidence' that 'no condition or combination of conditions will
reasonably assure the safety of any other person and the community [which requires that defendant]
poses a continued articulable threat to an individual or the community that cannot be sufficiently
mitigated by release conditions.").

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                    10:15<'




            •         makt■mericastoph■te
                          Pl111p
                               Anderson            @TearnS8Vearnerlca •••
                •         1m ·\!•Edited

                Toall the peoPlewho called me a Darwhen I said
                "RosanneBoylandwas holding my hand when she died.
                Weboth were getting crushedto death as capitol Polloo
                pushed and ba•t more peopleon top of ua lnaleedof
                letting us get up."

                Here Is the plcl\lre provingthat I told tho truth. YouWII
                oooTrump-,tem           draggingmy body awayfrom
                RosanneBoyland'&     body on my right.1 nev« lie andI
                don't appreciatebalng caUOd    a liar by peopla who have
                done llteraly nothingfor the oonsen,ativemovement.




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                •   UkedbyfoVcltymklvaand200olhen
                mabarnaricastophate To au the people ~ couldn't btlllw the
                wonts, here's a picture-- more
                Vlewal!18comments
                togeltymkl;e WoJh, no W#/.1 hl..,.n't even heard of thl&. U        Q

                                 Q                                            GP




       4. We request that Jake be released into the third-party custody of his parents.

           Lang's father, Ned, in particular is willing to cosigned and also put up

           collateral consisting of two parcels of land, totaling $100,000.00 in equity as

           collateral.5




5 Ned Lang has informed the undersigned that he is not willing, nor able, to pay for any experts on
behalf of his son Jake. He has informed the undersigned that he can and will pay attorney's fees at a
significantly reduced rate for his son. He has informed us that he would employ his son on a daily
basis.

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                              II.     ARGUMENTS

                          POINT ONE
        DC JAIL: HUMAN RIGHT VIOLATIONS, ON A DAILY BASIS

5.     Lang's physical abuse includes being dragged, shoved, denied regular shower

       access, and getting an entire can of mace in his face, while standing inside of

       cell with photos and a bible in his hand. Lang's other abuses include sleep

       deprivation, verbal abuse, and being denied the right to counsel.          Just

       recently, Lang was taken to "The Hole", where he remained for two straight

       months, without a single disciplinary ticket. After being taken out of "The

       Hole", he received a hero's welcome upon returning to the Patriot Unit.

       Within 14 hours of being back on the Patriot Unit, the guards opened his'

       cell door, and maced him directly in his eyes. When Lang was maced he was

       standing in his cell with a bible in one hand and family photos in the other.

       Overall, Jake has been held in the hole in 24-hour a day solitary confinement

       on three separate occasions, totaling more than three months. While Jake is

       currently back on the Patriot Unit, the unit with other J6 Defendants at the

       DC jail, he has been and will continue to be subject to these abuses at

       anytime. The retaliation and scare tactics most likely will continue within days

       of us even filing this application.



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6.     Jake does not have access to all the discovery in this matter and has no

       guarantee that every time his name comes up in the jail that he will not

       continue to be harassed and used as a scapegoat inmate to raise false

       disciplinary charges against him to throw Jake in the box.

7.     Jake has been moved from regular housing to the hole (aka, the box or special

       housing unit).   Each time this has occurred, there wasn't a reasonable

       penological reason other than as a form of retaliation and/ or harassment.

8.     Obviously, during the last seven months of Lang's incarceration, it has

       become clear that individuals who are housed in the D.C. Jail, who are

       accused of committing crimes on January 6, 2021, at The Capitol are treated

       differently than all other prisoners who are housed in the jail. There is a clear

       deprivation of Equal Protection under the law. Many, including Lang, have

       suffered when the conditions of confinement are exposed publicly.

9.     Additionally, the government      cannot demonstrate that no "reasonable

       condition, or combination of conditions exist that would ensure Jake's return

       to court or the safety of all members of the community."          All necessary

       conditions can be obviated, such as conditions requiring Lang, if released, to

       not be able to possess, legally or illegally a firearm or other weapon, and his

       every movement can be monitored to the extent of house arrest. He also can


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     be precluded from even speaking to all other people besides his family and

     attorneys. An order of conditions can adequately mitigate any concerns.

10. The jail allows prisoners to leave their cells from anywhere from an hour a

     day to a few hours a day. Religious services are not allowed. Dozens of

     prisoners have to share the same fingernail/ toenail cutter, without it being

     disinfected between each use. Exercise, especially outdoor access is limited

     or non-existent for Lang.

11. More disturbing is that Lang has not had had a single haircut or shave since

     he has been arrested on this matter.

12. Lang has not had the opportunity to either visit the law library or gain more

     materials than those being housed in restrictive housing.

13. The caselaw regarding the denial of human rights, especially for those housed

     as a pretrial detain, favor Lang's application for bail. If the conditions have

     only worsened over the past several months, there is no likelihood that they

     will get better, and the longer that Jake is imprisoned, the more serious the

     violations rise to.

14. The D.C. District court has held, "with regard to the everyday administration

     of pretrial detention facilities, the Court is merely concerned with whether a

     "particular condition or restriction of pretrial detention is reasonably related


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     to a legitimate governmental objective"; if so, the detention facilities practice

     does not violate due process and thus should generally not concern the

     court. See Bell, 441 U.S. at 548, 99 S.Ct. 1861 ("[T]he operation of our

     correctional facilities is peculiarly the province of the Legislative and

     Executive Branches of our Government, not the Judicial."). UnitedStates v.

     Medina, 628 F. Supp. 2d 52, 55 (D.D.C. 2009).

15. The Court in Mednia, supports the position that since the issues raised herein

     rise to the level of a Constitutional violation, this Court is empowered to

     grant relief.

16. There is no doubt that the Government will counter that Lang should file a

     grievance to address the human rights issues that are violating his

     Constitutional rights on a daily basis. However, this court is empowered to

     eradicate those violations by granting bail.

                                 POINT TWO

THE CONSTITUTIONAL RIGHT TO ASSISTANT IN ONE'S DEFENSE AND
                 SUPPLEMENT IF NECESSARY.

17. Defendant Lang, hereby through his counsel, respectfully reserves and

     preserves his right to make further submissions on this issue of because of




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              counsel's inability to adequately communicate with Lang in a confidential

              setting.

       18. Jacob Lang currently remains in the D.C. jail, and for five months has literally

              been in his cell for 22 or 23 hours a day. He has very little privileged

              communications with his attorneys and cannot possibly review all of the

              video and audio discovery that in this matter. When the undersigned counsel

              visited Lang, the setup of the visiting area exposed counsel and Lang to have

              every word of their conversation overheard by anyone around. 6

       19. Every Defendant has, at a minimum, the right to counsel.                      Such a right

              includes, but is not limited to, confidential communications with their

              counsel in person, by mail and via phone calls.

      20.     In this case, our client, Defendant Lang's right to communicate with his

              counsel has been severally infringed.

      21.     In McKaskle,the U.S. Supreme Court highlighted:

                Faretta 's holding was based on the long-standing recognition
                of a right of self-representation in federal and most
                state courts, and on the language, structure, and spirit of the
                Sixth Amendment. Under that Amendment, it is the
                accused, not counsel, who must be "informed of the nature

6
 The day that the undersigned visited with Lang, another lawyer was sitting 2 spots down and we
were able to hear everything she was telling her client. Every word the client was saying to the lawyer,
Lang could hear.


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                 and cause of the accusation," who has the right to confront
                 witnesses, and who must be accorded "compulsory process
                 for obtaining witnesses in his favor." The Counsel Clause
                 itself, which permits the accused "to have the Assistance of
                 Counsel for his defense," implies a right in the defendant to
                 conduct his own defense, with assistanceat what, after all, is
                 his, not counsel's trial.

      McKaskle v. Wzggins,465 U.S. 168, 174, 104 S.Ct. 944, 949 (1984).

      22.     The McKaskle principles remain the same to every one of these January 6,

              2021, Defendants.

      23.     However, the pretrial conditions of the DC jail have created an environment

              where these Defendants, especially Defendant Lang are unable to assist in

              their own defense and are thus are not ensured effective assistance of

              counsel.

      24.     It is impossible to have a free-flowing conversation with Defendant Lang.

      25. Attorney-client meetings are in open cages 7 where there is no confidentiality,

              everyone can hear the conversations including prison guards. Undersigned

              counsel experienced this when they visited with Jake at the D.C. Jail.

      26.     Essentially, the Attorney-client privilege is nonexistent, depriving Jake of his

              fundamental constitutional right to counsel.


7
 When visiting Lang, the undersigned was told that Contact legal visits, where a defendant meets with
his lawyer in person at the jail, require the Defendant to then quarantine for 14 days.


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27.   Considering the conditions that Jake is housed in, and the manner in which

      legal visits are conducted, the strong likelihood that the attorney-client

      privilege is sustainably intruded.

28.   Finally, in light of the Supreme Court directives, "that remedies should be

      tailored to the injury suffered. Shillengerv. Haworth, 70 F. 3d 1132 (10th Cir.

      1995); US. v. Solomon,679 F 2d 1246 (WhCir 1982).

29. Lang is in an untenable environment, which the government                 closely

      monitors, whereby we believe there is the likelihood of an intrusion into the

      attorney-client privilege occurs daily and will continue throughout this case

      until there are changes made. How can :wetrust the government if we cannot

      communicate with our own clients at the jail or over the phone in a

      confidential manner? Something must be done here to ensure that we can

      have privileged communications with our client - such as granting of bail.

                                 POINT THREE

              DEFENDANT'S NEED FOR ACCESS TO A LAPTOP
                      AS .ALTERNATIVE RELIEF.

30.   Every defendant has the right to review discovery materials in their own case,

      especially,January 6, 2021, Defendants as the Government has deemed these

      cases part of the largest criminal investigation and prosecution in US history.



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31. Defendant Lang is entitled to review every document, video, audio, and

     anything else that the FBI, Department of Justice, United States Attorney's

     Office, or any other agency obtaining or generating video or audio materials.

     Such a review must not be dictated on whether his attorneys can visit him.

     No such burden should be placed on counsel or corrections, especially

     considering the financial and time-consuming burden it would place if

     undersigned counsel were required to sit with Jake at the jail and review each

     and every video.

32. "[I]n the usual case when production is ordered, a client has the right to see

     and know what has been produced." See, e.g.,Gedersv. UnitedStates, 425 U.S.

     80, 96 S.Ct. 1330, 47 L.Ed.2d 592 (1976); Faretta v. California,422 U.S. 806,

     95 S.Ct. 2525, 45 L.Ed.2d 562 (1975); UnitedStates v. TruongDinh Hung, 667

     F.2d 1105, 1108 (4th Cir. 1981).

33. Failure to review discovery with Jake can rise to the level of ineffective

     assistance of counsel since a "defendant generally has a right to review the

     discovery materials that will be used against him at trial, United States v.

     Hung, 667 F.2d 1105, 1108 (4th Cir.1981)," Johnsonv. UnitedStates, 2:07-CR-

     00924-DCN-3, 2014 WL 295157, at 5 (D.S.C. Jan. 27, 2014).




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34. Applications for accessibility for a laptop for pre-trial detainees is regularly

     granted around the country, and in some jurisdictions, there are specific

     policies in place:

        a. In UnitedStates v. He/brans,7:19cr497 (NSR), a Southern
           District of New York Case, an application was made for
           the defendant to have access to a laptop and internet so
           that the defendant may prepare his defense, which was
           granted (SeeExhibit B);

        b. In United States v. Reid, et al, includingBrandonNieves, a
           Southern District of New York case, an application was
           made for the defendant to have access to a laptop "to
           permit clients to review large amounts of discovery in
           the case. Judge Halpern, granted the application. (See
            Exhibit C);

        c. Attached as Exhibit D, is a sample order by Judge
           Denise Cote of the Southern District of New York,
           granting a defendant the right to have access to a laptop
           computer and email access to communicate with his
           attorneys;

        d. In UnitedStates v. GhislaineMaxwell, 20 Cr. 330 (AJN), a
           Southern District of New York case, an application was
           made to give the defendant access to a laptop computer
           to review the discovery in the case. The Court granted
           the request. In light of the Court order, defendant has
           access to her laptop 13 hours a day, 7 days a week. (See
           Exhibit E);

        e. In United States v. Washington,20 CR 30015, a Central
           District of Illinois case, an application was made for
           access to a laptop was granted. (SeeExhibit F);



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       f.   In the United States District Court for the Northern
            District of California, San Francisco Division, the Court
            has in place a Proposed Order Re Use of Digital Tablet
            in Custody to allow defendants to review discovery in
            their cases. (SeeExhibit G);

       g. The CJA Panel, that represents prisoners housed in the
          Santa Rita County Jail, have issued a memo, "CJA Panel
          - Tablets and accessories to enable clients to access e-
          discovery at Santa Rita Jail." (SeeExhibit H);

       h. The Joint Electronic Technology Working Group issued
          a report Guidance for the Provision of ESI to
          Detainees on October 25, 2016. (See Exhibit I) A
          specific issue raised and addressed by the report was, "[a]
          represented defendant who is detailed pending trial
          must generally have the opportunity to personally review
          some or all of the discovery and disclosure, which is now
          commonly in ESI format." (Report at 2);

      i.    The District of Columbia, Department of Corrections,
            as a policy titled Access to Legal Counsel, attached as
            Exhibit J. Therein, there is a policy whereby prisoners
            are able to review discovery on a laptop, however, the
            policy on it's face has the potential to invade attorney-
            client privilege. Attachment C. Further, the alternative
            policy, identified in Attachment D, punishes prisoners
            who       opt    to participate    in the      alternative
            Surveillance/Voluminous Documents Review Program
            by moving their housing location and putting them in
            restrictive housing; and

      J· In this case, a better alternative to granting Defendant
         with a laptop will be to grant bail. If Bail isn't granted,
            there are concerns that the DC jail will not comply with
            Court orders and will invade the defendant's attorney-
            clients privilege.


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35.   Therefore, alternatively, Mr. Lang should be provided a laptop where he can

      view all the evidence that will be used against him:

        a. All written discovery provided by the Government;

        b. All audio, video and electronic discovery provided by the
           government;

        c. The ability to email and receive emails from his attorneys
           in a confidential manner and not monitored;

        d. The ability to generate notes, documents, and other
           relevant materials to aid in his own defense in a
           confidential matter, that will not be reviewed or
           examined by any Government employee or agent (i.e., a
           corrections employee); and

        e. A guarantee that no one shall access the laptop in an
           effort to gain access to attorney client privileged
           materials. The only people who shall have access to the
           computer shall be undersigned counsel (and their
           employees, agents and experts) and the defendant.


                                POINT FOUR

         THE NATURE AND CIRCUMSTANCES OF THE OFFENSE,
                   UNDER 18 U.S.C. 3142(G)(2).

36.   In analyzing this first of the four Section 3142(g) statutory factors, "The

      Nature and Circumstances of the Defendant" the Klein court applied the

      following six subfactor analysis:



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           These considerations include whether a defendant: (1)
           "has been charged with felony or misdemeanor offenses;"
           (2) "engaged in prior planning before arriving at the
           Capitol;" (3) carried or used a dangerous weapon during
           the riot; (4) "coordinat[ed] with other participants before,
           during, or after the riot;" or (5) "assumed either a formal
           or a de facto leadership role in the assault by encouraging
           other rioters' misconduct;" and (6) the nature of "the
           defendant's words and movements during the riot,"
           including whether he "damaged federal property,"
           "threatened or confronted federal officials or law
           enforcement, or otherwise promoted or celebrated efforts
           to disrupt the certification of the electoral vote count
           during the riot."

UnitedStates v FredericoGuillermoKlein, 2021 WL 1377128 at p. 6.

37.   Here, Lang is not allegedly to have been at the front of the group of people

      at various stages of the approach to the Capitol building.

38.   This Court can mitigate the dangerousness and any future danger posed with

      strict release conditions, such as GPS monitoring and home confinement.

      Lang did not enter Washington D.C. with any weapon. No dangerous

      weapons were recovered from his apartment at the time of his arrest.

39. What continues to be forgotten about this day is that it was chaos and there

      were various points where Officers are seen pushing crowds away and down.

      During Officers pushing the crowds back or down stairs, officers happened

      to drop some of their belongings.



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40. As a result, people who were there would then pick material up off the floor,

      such as shields that the officers dropped on the floor. That behavior is not

      tantamount to or the equivalent to Lang being dangerous or a treat at all in

      the future.

41.   Overall, there is no evidence that Lang is a "flight risk" or a "danger to the

      community," a community he, and his parents have lived in for many years.

      United States of America v. MichaelJosephJqy, 21-CR-00108 (TSC), 2021 WL

      2778559, at p. 2 (D.D.C. July 2, 2021).

                                POINT FIVE

             HISTORY AND CHARACTERISTICS OF MR. LANG,
                     UNDER 18 U.S.C. § 3142(G)(3).

42.   Edward is a twenty-six-years old, with strong ties to his community. He has

      personal relationships with members of the local business community, law

      enforcement, friends, and family. He not on probation or parole, and

      nothing in his past or current history supports the conclusion that he is

      dangerous to anyone, a risk of flight, and/ or incapable of complying with




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             court-imposed restrictions designed to assure his return to court and protect

             the community from future harm. 8

       43.   In applying 18 U.S.C. Section 3142(g)(3) to the above-mentioned facts to

             Edward's life, the only reasonably conclusion is that such factors weigh in

             favor of pretrial release.

       44. A Georgia state woman died right in front of Mr. Lang. He then tried to save

             her, and quickly rushed to the aid of others, and saved another man's life.

      45. The government cannot provide evidence of a specific articulated threat to

             the community, or a risk of danger to any specific person. Edward Lang

             respectfully asks this Court to grant him pretrial release under the above cited

             line of cases in Kleinand Norwood,and other recent precedent out of the D.C.

             Circuit Court and D.C. District Courts, regarding the release of persons

             accused of crimes related to the January 6, 2021, incident at the United States

             Capitol.

      46. The law mandates Edward Lang's release, because the government cannot

             prove by a preponderance of the evidence that Edward Lang poses a risk of

             flight, and the government has not proven by clear and convincing evidence


8
  There is a New York City case, which Lang has retained counsel on where Lang would be statutorily
ROR upon arraignment but has yet to do so because of him being held in this matter. Similarly, there
is another matter in Ohio that can easily be cleared up upon Lang merely appearing in Court.

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      that Mr. Lang poses a danger to the community. Moreover, the offenses

      charged do not qualify for detention. Without question, a combination of

      conditions, including GPS monitoring, will reasonably ensure his appearance

      in court, and the safety of the community.     Because the events that took

      place at the Capitol on January 6, 2021, are unique to that day and not

      indicative of a future event, Edward poses no ongoing fear or threat.

47.   In applying 18 U.S.C. Section 3142(g)(3) to the above-mentioned facts to

      Lang's life, the only reasonably conclusion is that such factors weigh in favor

      of pretrial release.

                                       POINT SIX

      THE GOVERNMENT HAS STATED THAT THEY WILL NOT BE ABLE To
        SATISFY ALL OF THEIR DISCOVERY OBLIGATIONS, SPECIFICALLY,
                   BRADYMATERIAL UNTIL POSSIBLY 2022



48. The government has a duty to disclose all material that is not just exculpatory,

      but favorable to the accused, sufficiently in advance of a trial. Further, the

      Government has an ongoing duty to disclose such materials.

49. The government is further obligated to disclose all material that can be

      considered exculpatory, impeachment,        etc. pursuant to the Rules of

      Evidence and Supreme Court precedent. (See,e.g.,Brac!_y
                                                           v. Maryland,373 U.S.



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     83 (1963); }0;/esv. Whitlry,514 U.S. 419 (1995); Gigliov. UnitedStates,405 U.S.

      150 (1972); UnitedStates v. Agurs, 427 U.S. 97 (1976); United States v. Baglry,

     473 U.S. 667 (1985); Stricklerv. Greene,527 U.S. 263 (1999);Mackabeev. United

     States,29 A.3d 952 (D.C. 2011) and Millerv. UnitedStates, 14 A.3d 1094 (D.C.

     2011))

50. The Government in recent court appearances have publicly acknowledged

     that they most likely will not be able to satisfy all of their discovery

     obligations, especially their obligations to disclose all Brac!Jmaterials. (See,e.g.,

     https://beckernews.com/22-the-doj-admits-it-is-withholding-potentially-

     exculpatory-evidence-in-january-6-criminal-cases-in-legal-filing-40792/:

     https://www.npr.org/2021/07       /27 /1013500073/the-justice-department-is-

     struggling-to-bring-capitol-riot-cases-to-trial-heres-;

     https://www.nytimes.com/2021/08/10/us/politics/jan-6-investigation-

     evidence-speedy-trials.h tml; https: //www.washingtonpost.com/local/legal-

     issues / capital-riot-evidence-cost/2021 / 07 / 16 / d5e81 bdc-e404-11 eb-8aa5-

     5662858b696e story.html (all last visited on 8-19-2021)

51. The defendant should not remain in prison any longer unless the government

     states affirmatively that every single piece of discovery, including information




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           favorable to the accused has been disclosed. If not, the defendant should be

           released on bail.

     52. The Government has publicly stated that materials, such as grand jury

           transcripts, videos, exculpatory material, and other materials may not be fully

           disclosed until 2022. No defendant should remain in prison, especially a

           defendant that is not charged with the death of someone, be denied bail.

                               VII.     CONCLUSION

       WHEREFORE, for the foregoing reasons, and any/ all others which may

appear in our reply brief, at a full in-person hearing on this matter, and any others this

Court deems just and proper, defendant through counsel, respectfully requests that he

be released on personal recognizance.

      FURTHERMORE, if that request is denied, defendant requests as an

alternative, that he be released on Third Party Custody and placed into the High

Intensive Supervision Program of the Pretrial Services Agency conditioned on

reasonable conditions including but not limited to electronic monitoring, work release

and curfew. The additional conditions of release that we propose are:

       (1) $200,000.00 cosigned by 2 financially responsible persons (frp), where both

of Jake's parents are willing to cosign at $100,000.00 for each parent;




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        (2)Jake's father will also put up collateral consisting of two parcels of land, totally

$100,000.00 in equity as collateral;

        (3) Drug testing/ treatment as directed by pre-trial services;

        (4) Home incarceration;

        (5) Electronic monitoring; and

        (6) for Lang not to possess firearm/ destructive device/ other weapon.

These "combination of conditions of release would reasonably assure the safety of the

community." Cf UnitedStatesv. Tanious,No.21-3034 (D. C. Cir., Sept. Term 2020), 1:21-

cr-00222 (fFH) (citingUnitedStates v. Munchel,991 F.3d 1273, 1282 (D.C. Cir. 2021).

        FINALLY, if all forms of pre-trial release are denied, undersigned counsel

requests that this Court issue an order granting defendant Edward Jacob Lang the right

to possess in his cell at the D.C. Jail (or any place where he is incarcerated) a laptop 9

that contains:

                 a. All written discovery provided by the Government;

                 b. All audio, video and electronic discovery provided by the
                    government;

                 c. The ability to email and receive emails from his attorneys
                    in a confidential manner and not monitored;



9 In the alternative to a laptop, another form of an electronic device, such as a tablet whereby Jake can
review all the discovery, including audio/video and documentary evidence, and email his attorneys.

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             d. The ability to generate notes, documents, and other
                relevant materials to aid in his own defense in a
                confidential matter, that will not be reviewed or
                examined by any Government employee or agent (i.e., a
                corrections employee); and

             e. A guarantee that no one shall access the laptop in an
                effort to gain access to attorney client privileged
                materials. The only people who shall have access to the
                computer shall be undersigned counsel (and their
                employees, agents and experts) and the defendant.

Dated: August 23 rd , 2021


                                                ~~~
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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA DISTRICT
----------------------------------------------------------------X
UNITED STATES OF AMERICA,
                                                                              Crim. Doc: 21-CR-53 (CJN)

                     - against -                                              DECLARATION

EDWARD JACOB LANG,

                                            Defendant.
----------------------------------------------------------------X
           Phillip Anderson, affirms under the penalty of perjury, pursuant to 28 U.S.C.

1746, that the following is true and correct and says:

  1.       My name is Phillip Anderson. My contact information is known to defense

           counsel for Edward Jacob Lang.

  2.       On January 6, 2021, I was present on the Capitol grounds.

  3.      The police that were present at The Capitol on January 6, 2021, were using

           excessive force and unnecessary actions against the protestors, myself

           included.

  4.       The police that were present at The Capitol on January 6, 2021, were carrying

           some form of gas that they sprayed at myself and others, which made it

           impossible for me to breathe.

  5.       I do not know what type of gas the officers used, but I know for sure that it

           was not tear gas.

  6.       After the officers sprayed this gas at me, I could not breathe for longer than a



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          few seconds, and I tried to run away as fast as I could. 1 This gas caused me to

          collapse, where the police then proceeded to push others on top of me.

    7.    There were many others who collapsed because of these toxins, as I did. The

          police continued to use excessive force, by hitting me and others. One of the

          people that fell in the crowd was a woman by the name Roseanne Boyland.

    8.    After Roseanne Boyland fell, the weight that continued to gather on top of

          her left unconscious. At first, she reached out and held my hand firmly, and

          shortly thereafter her grip loosened.

    9.    Several people gathered to give her CPR; all while the police officers hit them

          over the head repeatedly. 2

    10. When I fell, I attempted to call out for help at the top of my lungs. I yelled

          "Help" and everyone who tried to help was receiving blows from nearby

          officers.

    11. Not only were the people that were trying to help being hit psychically, but

          police were also spraying mace (or some other type of gas) on everyone who

          was down.


1
 When the police began to release these gases, I attempted to run away, fearing for my life; behind
me was a crowd of people.

2
        Roseanne      Boyland        died       on       January          6,       2021.     (See,    e.g.,
https: //www.nytimes.com/2021 /01 / 15 / us /rosanne-boyland-capitol-riot-death.html;
https://ww'W.usatoday.com/story/news/nation/2021        /01 /09 /rosanne-boyland-trump-supporter-
who-died-followed-qanon-family/ 6608289002/;               https://nypost.com/2021 / 01 /09 /roseanne-
boyland-who-died-in-capitol-quit-drugs-and-fell-to-qanon/      (all last visited on August 18, 2021).


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 12. I was drenched in mace (or whatever the officers were spraying us with) by

      the time I made it out. For example, I was at the bottom of a pile of at least

      30 people, and my clothing was completely drenched to the point where the

      mace poured into my face from my clothing. This was in addition to the gas

      that made me no longer able to breathe, and collapse.

 13. When I was yelling for help, I heard a person, (who I learned was Edward

      Jacob Lang a/k/ a ''Jake") yell out to the police that people were being crushed

      and needed help.

 14. I recall Jake telling the crowd, including officers, "there are people down

      here!".

 15. Jake proceeded to save my life by pulling me out of the pile of people.

 16. If Jake was not present to help me, I would have died on January 6, 2021, and

      it would have been because of the actions that the police took on January 6,

      2021, at The Capitol.

 17. I am voluntarily providing this statement to the attorneys representing Edward

      Jacob Lang. The attorneys have not promised me anything for me providing

      this statement. I am not under the influence of any medications or other

      substances that would affect my ability to understand this statement.

      I, Phillip Anderson, state under penalty of perjury that the foregoing is true

and correct to the best of my knowledge, belief and understanding.



                                         Page 3 of 4

                              ~~e9(QllJ oflfllillil'.J~f!lt!lf?{I Bond
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               Aug 22, 2021
 Executed this __    day of August 2021

                                                Respectfully Submitted,



                                                Phili])Andehon (Aug 22, 2021 10:36 PDT)

                                                PhillipAnderson




                                  Page 4 of 4
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    Declaration Phillip Anderson - Edward Jacob
    Lang
    Final Audit Report                                                                            2021-08-22

      Created:             2021-08-20

      By:                  Martin Tankleff (MARTYTANKLEFF@GMAIL.COM)

      Status:              Signed

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"DeclarationPhillipAnderson- EdwardJacob Lang"History
~      Document created by Martin Tankleff (MARTYTANKLEFF@GMAIL.COM)
       2021-08-20 4:11 :23 PM GMT- IP address: 50.74.20.146


C1. Document emailed to Philip Anderson (panderson3@patriots.uttyler.edu)                    for signature
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~ Document e-signed by Philip Anderson (panderson3@patriots.uttyler.edu)
       Signature Date: 2021-08-22 - 5:36:08 PM GMT - Time Source: server- IP address: 166.216.158.42


•      Agreement completed.
       2021-08-22 - 5:36:08 PM GMT




                                                 Exhibits A - J - Edward Jacob Lang Bond Application EJLBondApp006
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           EXHIBITB
                      Metcalf & Metcalf, P .C.
                            99 Park Avenue, 6th Floor
                              New York, NY 10016
                               646.253.0514 (Phone)
                                646.219.2012 (Fax)
                     Exhibits A - J - EdwardJacob Lang Bond ApplicationEJLBondApp007
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                               Koffsky & Felsen, LLC
                                        1150 Bedford Street
                                    Stamford, Connecticut 06905
                                        Tel. (203) 327-1500
                                       Fax. (203) 327-7660
                                         bkoffsky@snet.net




 Via ECI<'


                                     March 4, 2021




Hon. Judge Nelson S. Roman
United States District Judge
United States Courthouse
300 Quarropas Street
White Plains, N.Y. 10601

Re:     United States v. Helbrans
        7:19cr497 (NSR)

Dear Judge Roman:

        I represent the pro sc defendant, Nachman Hclbrans, in the above referenced matter as
stand-by counsel. Prose defendant NachmanHelbrans has requested that I file the attached Motlon
For Laptop Computer With Relevant Internet Access, A Copier And Printer For Defense
Preparation for the Court's consideration,



                                    Respectfully submitted,

                                    _js/ Bruce D. Koffsky _
                                    Bruce D. Koffsky


BDKJme
cc:    All Counsel of Record




                                         - J - Edward Jacob
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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK

                    ,-------------x
 UNITED ST ATES OF AMERICA,                                    INDICTMENT NO.
                                                               7:19-cr-497 (NSR)

        -against-

                                                               Oral Argument Requested
NACHMAN HELBRANS, ET. AL.
                   Defendants.
-------------·------x
       MOTION BY NACHMAN HELBRANS, Pro Sc, FOR LAPTOP COMPUTER
       WITH RELEVANT INTERNET ACCESS, A COPIER AND PRINTER FOR
                        DEFENSE PREPARATION

        Back on July 8, 2019, Nachman Helbrans asked for self-representation in an open court.

Your Honor told him explicitly that each and every motion he makes, even on the pro se matter,

would have to be in writing. We fully agree with your Honor on this matter; that makes sense.

Indeed, if a motion is not in writing, it could be extensively long, ambiguous, vague and confusing.

Moreover, it does not give sufficient time and opportunity for the other parties to know on what

exactly to respond. Additionally, it deprives the court of the opportunity to make the right decisions

according to what is accurately requested and discussed by the parties. Let alone the famous issue

of "reseived for appeal"; when there is no writing, it would be challenging, and at sometimes

impossible, to determine what exactly was reserved for an appeal or alternatively waived by the

parties. Clarifying unwritten issues by extending the oral arguments may sometimes confuse even

more and complicate the matter even further. All the above are true even when all the arguers are

native and fluent English speakers, let alone in a case, as in ours, where many of the arguers are

nonnative English speakers. As such, we must agree with this court's prior advice and we must

undertake that each and every substantial motion we will be making from now on will be in writing.
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 Oral arguments should be reversed for issues already well discussed in a prior writing, not to begin

with.

         The Fifth Amendment grants that no one shall be "deprived of life, liberty or property

without due process of law." Due process includes a fair trial, that the person should have the

opportunity to respond to the allegations made against him, and be given the opportunity to comply

with his duty to present his answer before the court and jury, pretrial as well during the trial and

post-trial. A fair trial means that both sides, the prosecution and the defense, have fairly the same

chance to present their arguments and counter-arguments before the court. If one party gets an

opportunity that the other party cannot compete with, it is obviously not fair. At this stage, for

reasons self-explained by the essence of this motion, it is impossible for us to present a

comprehensive memorandum of law regarding this matter of fair trial; therefore, we will simply

leave this matter for common sense.

        Now to the relevance to our situation: as we explained to your Honor in our last writing, I

grew up and was educated in the Orthodox Hasidic Jewish community, and my primary language

is Yiddish and Hebrew. Although I understand, read and communicate in English fairly well; still

I cannot hand-write in English to such a level as drafting a substantial letter; however, I have

regularly used a computer as part of my prior work experience, as weII for important private

matters, and as such I am able to write in English when assisted by a computer and relevant

computer programs.

        Furthermore, in today's world and with the current technology, even an educated and

experienced lawyer could not draft and finalize a motion just by his first handwriting. In fact, I

doubt if, in the last decade, any substantial motion prepared by an attorney could have been

completed without a computer.




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        To particularize the matter, in my case, a computer is necessary for my defense for multiple

reasons.

        First, as I am use to computer writing since an early age, I can hardly finalize a substantial

document in handwriting, should it even be in Yiddish or Hebrew, unless the document is finalized

along with my first draft; otherwise, it would only result in a complicated hard-to-read document,

and will probably miss the point. Let alone the fact that for safety reasons, pens provided here at

the jail are special short, soft and small which barely serve to write a short letter to family or a

friend, but by any means are not suitable to write complicated documents, letters or motions.

        Second, since English is not my first language, I heavily rely on the computer to draft, edit

and correct my motions by utilizing editing programs that I have used in the past to form any

substantial document in English. Those computer programs assist, namely in spelling, grammar,

synonyms, suggestions and translations. Generally, those programs require an internet connection

to function properly. To exemplify the first and second reasoning above, I will share my and my

co-defendants' past experience with document preparation in jail. We eagerly tried for over two

years in jail to overcome the hardships and befriend with the poor pen and paper provided here. In

fact, on the first day that we were incarcerated, some of our lawyers told us that we should write

down the facts of our case and our arguments even in Hebrew or Yiddish, and they will arrange

the translations to make use of them. We tried and then again tried, just to be proven that there is

simply no way that any useful document, even six pages long, could be completed in a timely

fashion in this manner.

       I will give one particular example to your Honor. Just after I was denied bail in May 2020,

my lawyer discussed with me the matter and the government's approach; I conclude that the first

step should be to try to inform the government itself of the true story and background. I, together




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with defendant Mayer Rosner, jointly drafted a comprehensive letter to the government. For

convenience reason, it was formally addressed to then-attorney general Mr. Geoffrey Berman;

however, in fact, we intended to present the letter to the entire prosecution team on this case, as

well as to use it as an attachment to some of our motions. The letter explains our view on the case,

what we believe would give the reader enough knowledge of the facts and truth about the

allegations, the Teller children and our community. We were, and we are still convinced that if the

prosecution had been receiving the letter, they would already have taken action to remedy the

situation. However, since we had no computer access, we had no choice but to draft the letter in

Hebrew. Despite working on it day and night, it took us three months to handwrite the letter due

to the prison conditions. Finally, we sent it out for copy typing, but it took another seven months

to typeset it due to the handwritten numerous additions and amendments. The translation will

probably take at least six weeks. Calculating the time from writing to finalizing the translation

should bring us to over a year just for one simple (albeit a relatively long) letter. Suppose we would

need to write substantial motions and affidavits in such a manner.      Inthat case, we will spend
decades before they will be completed, or we will be forced to waive altogether our right to present

any pretrial motions, not because of a strategic move, but rather simply to avoid spending behind

bars ten or fifteen times more than any possible sentence we might get if somehow unjustly found

guilty at trial.

        Third, in this case, the proper knowledge and understanding of the law, both substantive

law and procedural law, are vital for defense preparation. In this regard, district courts of various

circuits, including the Second Circuit, clarified in various rulings that it is the duty of an atmmey

or a prose defendant to study and verify every law he quotes to assure that this law is relevant to

the case, complete and still considered good law and not overruled. In the same token, they




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clarified that it would be against the duty of an attorney or a pro se defendant to quote any rule,

case or law without study and verification of the jurisprudence developed around it.

        Before the computer times, judges and lawyers always needed access to a comprehensive

library of hundreds if not thousands of law books, in addition to a full correspondence of opinions

and analysis by judges, professors and scholars. No lawyer could sit in his bureau (or his basement)

and draft motions without them. This practice was always around since the establishment of US

courts; even in common law times it never functioned differently.

        As happened with most aspects of our life, when technology developed, we got dependent

on it, since the previous pre-technology options disappeared or became extremely rare; and once

so, it became virtually impossible to do the same vital task without the help of technology. One

example, try to make banking, transactions and payments, sales and purchases, all without the use

of technology. The same is true with the law field; since law libraries got computerized, especially

by the two programs WestLaw and LexisNexis, it became almost impossible to draft any legal

motion without using one of those (or similar) programs, especially when it comes to complicated

motions which require so much knowledge in law, to distinguish so many cases in so many

extensive   issues, including   constitutional   issues, federal and state, criminal        and civil,

administrative and family law, international and uniform acts, all related to this trial.

       There cannot be a fair trial if from one side there are the native English speaking

prosecutors who have access to the best computers, desktops and laptops, and the best programs

available, either to read the law and to draft motions, take notes and whatsoever, while on the other

side there are pro se incarcerated defendants, secondary in English, who are not granted even a

normal pen and an ordinary notebook, let alone that they cannot cope with writing even one line




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 in English handwriting without significant spelling and grammar errors, as long they are not

 granted access to a computer and relevant internet resources.

        In the prison there is a so-called "law library", however with all the time-restrictions and

conditions surrounding the library, it cannot be considered as a normal library that could enable

one to prepare legal motions, but rather can be considered some sort of entertainment for inmates.

Take into account the fact that there are just two slow computers for forty inmates who have to

share the one or two hours available. Moreover, only published cases are available there, and for

reading only. Let alone that most of the times when we arrive someone else already occupies or

wants to occupy them, and ifwe got lucky to use it, it is almost useless due to the slowness of the

computer and the system crashing when showing results of a search done, besides the poorness of

the program installed there who does not allow to query a useful search. Moreover, even after

finding some case, we have to copy write it by hand, since we usually have to wait two weeks to

get it printed, and when finally printed, there is no way to cooperate the relevant content them into

the motion.

        The two typewriters available in the "library" are of the same faith. On a good chance they

have ink, but if they do have ink, they lack paper; and then we have to fill out a complete form and

beg around the clock to receive some paper. However, let us not forget that usually, one of them

or both are out of order.

        During the last 12 months, the law library was almost completely shut down; most of the

time, the library was entirely closed. When it is luckily opened, it has so many restrictions that

make it impossible to get some work done there. As of today, the library keeps opening and closing

without too much prior notice.




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        Fourth, the government has produced voluminous discovery. We have much to say

(actually to write) about the content of the discovery we received and much more about the content

of the discovery not received yet. However, the government's conduct or misconduct is out of the

scope of this motion. What is important here, that we have little use from the discovery received.

While most of the days we cannot access the computer designated for discovery review, even we

get to there, most of the files could not be opened due to many essential programs missing there,

let alone the fact that the computer operating system software continually crashes.

        There were extensive efforts from our side and from our counsels to partly solve the issue.

We will not deny that it is possible that the government also tried to solve this problem in

particular. However, to date, the problem remained unsolved. For a short time, we were provided

a relatively new laptop on which many of the previous inaccessible files were accessible. However,

this new laptop went somehow to another jail section and all the previous problems remain

unsolved. In any case, we never had a chance to incorporate the discovery's content into our

motion, nor were we able to type or translate their content in a reliable manner.

       Fifth, we need to contact and have access to many persons and/or institutions in a timely

manner and on a writing basis and receive a reply from them in a timely manner and on a writing

basis. To name a few, we need access in a timely manner to the docket, the court clerk, our standby

counsels, the government, as well as many witnesses and potential witnesses, including various

experts. To contact them all and to receive a timely reply via the prison phone system or the prison

mail system, will render all contacts meaningless and useless in the context of pretrial preparation.

We will not waste the court's time to elaborate on this matter since all our counsels always

complained about that and always suggested a contact on a writing basis, which was never

available to us as mentioned above.




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        Given all the above, we cannot exercise our Fifth Amendment right of due process without

 given reasonable access to computers, a copier, a printer, and relevant internet resources, along

with the most essential office/paper supplies. The computer will be used only for discovery, legal

research, drafting of motions and other legal paperwork, and maintaining contact with those

assisting as in preparing the in 2021, as none of those mentioned above tasks is possible to carry

out without a relevant use of the internet.

        Now in a direct reference to the government: dear prosecutors,            there is no need to

automatically object to each and every request that we put forward. The government is obligated

for truth-seeking, not for overzealous prosecution. Objecting to our legitimate request for vital

means of defense is not in line with the truth-seeking mission the government is obligated for. Let

us say that all our pretrial motions will at the end of the day be resolved in favor of the government,

still, to prevent it from being written in the first place is not what the government is entrusted and

paid for; rather, they are entrusted and paid to secure a fair trial that includes a fair opportunity to

raise any sincere issue of defense, pretrial, during the trial and post-trial.

        In the famous case of Brady v. Maryland, 373 US 83 - Supreme Court 1963, the Supreme

Court reminded the prosecutor and the public of the true mission. In their words: "Society wins

not only when the guilty are convicted but when criminal trials arc fair; our system of the

administration of justice suffers when any accused is treated unfairly. An inscription on the walls

of the Department of Justice states the proposition candidly for the federal domain: "The United

States wins its point whenever justice is done its citizens in the courts"." In footnote 2, the Supreme

Court quoted the strong words of Judge Simon E. Sobeloff: "The Solicitor General is not a neutral,

he is an advocate; but an advocate for a client whose business is not merely to prevail in the instant

case. My client's chief business is not to achieve victory but to establish justice. We are constantly




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 reminded of the now classic words penned by one of my illustrious predecessors, Frederick

 William Lehmann, that the Government wins its point when justice is done in its courts."

        In light of that, we expect the government to fully agree with our legitimate request,

 especially that the computer and the relevant internet resources will be used to establish an honest

communication with the government that will solve many of the future challenges of this case with

minimal wasting of judicial resources.

        We appeal to the government not to fool us around with academic questions if there is an

absolute constitutional right for a computer and internet for incarcerated pro se defendants.

Everyone knows that the constitution was written before the computer and internet ever existed,

so it could not exist a computer-related absolute constitutional right. However, the absolute right

we are talking about is due process and fair trial. The computer and the internet are only means

mandatory to achieve those goals. We further beg the government not to fool the court and us

around with manufactured security concerns, since the computer and the internet and all activities

can and probably be recorded and even monitored, so logically it should not be any security

concern more than the regular prison phone system or ingoing and ongoing mail. In fact, many

federal, state and county jails and prisons already have on some way or another an ingoing and

outgoing email system for the prisoners, although that our request is somehow unique because our

case and situation are unique as well.

        The government shall also take into account that without a computer, we are de facto

prevented from any possibility to take part in a legal discussion about the very same subject, so it

will be unfair practice to begin with.

       Finally, we will cite some cases that we noticed that computers and/or internet were

specially allowed in jail when consideration about self-representation so required. In United States




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v. Buswell, No. l l-CR-198-01 (W.D. La. Januaiy 18, 2013), the court found the defendant's Fifth

Amendment right of due process was not being violated because ''Buswell can utilize a laptop to

read documents that are on DVD/CD, he can keep documents in his cell and internet access is

available on request. There was no evidence to the contrary .... the facility where the defendant is

housed will accommodate him by providing access to a conference room, a laptop computer that

can read CD's (which he may even be allowed to keep in his cell with the permission of the

warden), access to a printer and/or copier and access to his attorneys at all times other than during

lockdown periods when meals are served twice a day ...

        The evidence adduced at the detention hearing is as set forth above-the defendant can have

access to his attorneys at any time other than in two mandatory lockdown periods when meals are

served, he can have access to a conference room to review documents with his attorneys, he can

have access to a computer to review documents on CD/DVD, or he can have the documents

themselves, as well as access to a printer or copier and the internet. He can telephone his attorneys

and those calls, while recorded as part of normal security policy, are not monitored by the

government and there is no evidence to the contrary. The only meaningful difference between this

type of access to counsel compared with that of home incarceration is the location where

conferences take place." Likewise in United States v. Dupree, 833 F. Supp. 2d 241 (E.D.N.Y.

2011) the court rejected Dupree's bail motion that his pretrial release was necessary to prepare his

defense as the court relied on the fact that "MDC will arrange for the following to be provided to

Dupree at MDC so that he can adequately prepare for and participate in his defense with counsel;

(1) access to an attorneys' visiting room with a computer that can read DVDs from 9:00 a.m. to

3:30 p.m., with or without counsel, beginning on November 7, 2011 and until the start of trial on

December 5, 2011; (2) Dupree's access to the aforementioned attorneys' visiting room can be




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extended from 3:30 p.m. to 9:30 p.m., provided Dupree is with counsel during this time and

twenty-four hour notice is given to MDC for each day an extension is requested; (3) access to

counsel and agents of his counsel in an attorneys' visiting room with a computer that can read

DVDs following each trial day until 9:30 p.m., provided that twenty-four hour notice is provided

to MDC for each day such access is requested; and (4) access to a locked storage area for the

storage of documents so that Dupree has additional space other than his detention cell to store

documents ... Dupree will have 12.5 hours of daily access to a computer that can read DVDs and

be used to review documents." Similarly in U.S. v. Hazelwood, Case No.: 1:10 CR 150 (N.D.

Ohio Feb. 16, 2011), "The court determined at a hearing held on January 12, 201 I, that the

Northeast Ohio Corrections Center (''NEOCC") must allow Mr. Hazelwood to use a new computer

which he has been provided to review documents. An employee of the Center confirmed at the

hearing that there are no special IT requirements for his doing so. Further, NEOCC has made

substantial accommodations for Mr. Hazelwood well beyond those accorded most detainees based

on the complex nature of this case. Among other things, he is allowed to possess more boxes of

information than other inmates, and one of five video conferencing rooms is substantially devoted

to his use."

        It is worth noting that all three cases quoted above were not pro se and were represented

by advocate counsel, and the special computer and/or internet access allowance were all related to

a very limited issue of pretrial discovery; our case is much stronger. In the case United States v.

Waddell, 151 F. Supp. 3d 13 I 7 (S.D. Ga. 2015), the prose defendant was allowed up the sixteen

hours of internet connection, aberrantly for a limited discovery issue. The defendant was denied

additional time beyond those sixteen hours only because a sincere defense cause was not provided.




                                Exhibits   - J - Edward Jacob      Bond APiPIIC:ati<)n
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In our case, the cause of motion drafting, legal research, communicating with the government,

verifying the laws and rules etc., all are self-evidently required for the defense.

       Therefore, we see it reasonable and legitimate to ask the Honorable court to order that we

get laptop computers with relevant internet access, a copier and printer. Those should be available

for all-day use, either in our cell or in a designated place where we can reach during all the hours

of the day besides lockdown times. Those computers should not be monitored by the prosecution,

rather they could be monitored by an appointed staff member of the prison with whom we would

have the opportunity to discuss which kind of use of the computers and internet is essential for our

defense. Should we ever use those devices for anything else than preparing our defense, such as

for friendly family letters or videoconferencing or for religious books not related to the case, it

should prompt a proper investigation by the prison personnel as a contempt of court; however,

nothing should be handed over to the prosecution without ordinary electronics search warrant.

       We thank your Honor in advance for taking into consideration to grant us our rights under

the Fifth Amendment so we can adequately prepare our defense for a fair trial to prove our

innocence.




Dated: Valhalla, New York
       November 20, 2020
                                                      Respectfully Submitted,
                                                      Pro Se Defendant
                                                      Nachman Helbrans.




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                                                                      DOCUMENT
                                                                      ELECTRONICALLY FILED
                                                                      DOC#:
 UNITED STATES DISTRICT COURT                                         DATE FILED:
 SOUTHERN DISTRICT OF NEW YORK                                                     J/5/2021

  UNITED STATES OF AMERICA,


          -against-                                                      19 er 497 (01) and (02) (NSR)

 NACHMAN HELBRANS and MA YER ROSNER,

                                   Defendants.
 NELSONS.RO                , United States District Judge:

         Prose Defendants Nachman Helbrans (01) and Mayer Rosner (02) requested approval for

the use of CJA funds to purchase laptops that they can use to prepare their defense while detained

at Westchester County Jail ("the Facility"). (ECF Nos. 202, 203.) In their papers and during a

status conference held on March 4, 2021, Defendants represented that without laptops they will

not be able to write in English, conduct research, review discovery, or otherwise prepare their

defense in an effective and timely manner.

         The application is granted as follows:

     1. Standby Counsel for Defendants Helbrans (01) and Rosner (02) are authorized to procure

with CJA funds, a laptop computer or similar device (hereinafter, "Electronic Device") for each

Defendant so that he may prepare his defense. 1 The Court also authorizes the use ofCJA funds for

necessary external hard drives, software programs, charging cables, or adapters.

    2. Standby Counsel shall coordinate with the Facility to ascertain from the Facility what it

will permit, to ensure that the Electronic Devices procured are acceptable to the Facility, to confirm

who at the Facility will accept delivery of the Electronic Devices, and to confirm when Defendants

will have access to the Electronic Devices and where they will be stored when not in use. Standby


         1 The Court reiterates that each Defendant represents himself and only himself. Each pro se Defendant must

communicate with the Court (whether in writing or orally) on his own behalf and may not purport to represent any
other Defendant.
    Case 1:21-cr-00053-CJN Document 42 Filed 10/04/21 Page 70 of 180
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 Counsel shall also ensure that the Electronic Devices are compatible with any external drives upon

which discovery has been or will be exchanged.

    3. Once Standby Counsel have procured the devices, and prior to sending them to the Facility,

Standby Counsel shall confirm that the wireless and printing capabilities are configured in a

manner acceptable to the Facility and that necessary software is installed and functional for word

processing, HebrewNiddish to English translation, and reviewing discovery materials. If the

Facility indicates that access to the internet is not possible or only possible on a very limited basis,

Standby Counsel shall determine whether an inexpensive translation software program can be

installed on the Electronic Devices that can be used without internet access and, if so, preload the

Electronic Devices with said program. Standby Counsel shall also create a password protected

administrative account on the Electronic Device that is separate from the defendant's password

protected user account to prevent any user from making changes to the Electronic Device. Only

Standby Counsels shall have access to this administrative account.

    4. Before it is sent to the Facility, each Electronic Device shall be clearly marked with the

name, ID number, and Marshal's registration number of the Defendant who has been assigned to

receive that particular Electronic Device.

    5. The Defendants can access and use their respective Electronic Devices on a temporary

basis and at times approved by Facility personnel for the sole purpose of preparing their defense

in this matter. The Electronic Devices may not be used for any other purpose, including, but not

limited to, personal correspondence. Use of the Electronic Devices must take place in the

Defendant's unit or a location where, to the extent possible, a Defendant is not disrupted. After a

Defendant is finished using his Electronic Device for the day, Defendant shall return the Electronic

Device to the designated Officer for safekeeping.



                                                  2


                                 Exhibits A - J - Edward Jacob        Bond Ap1plicaticm
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      Case 1:21-cr-00053-CJN Document 29-1 Filed 08/23/21 Page 23 of 132
        Case 7:19-cr-00497-NSR Document 205 Filed 03/05/21 Page 3 of 3




    6. Because of the volume of discovery and the complexity of this matter, The Court requests

that Defendants be afforded the ability to use the Electronic Devices as much as possible, but no

less than several hours each day, to the extent consistent with the Facility's requirements. The

Court also requests that, especially if they are not able to access the internet on their Electronic

Devices, Defendants continue to have access to legal research tools in the Law Library and that,

as needed, Defendants be pennitted to print from their Electronic Devices directly or by using a

flash drive to transfer documents to a computer from which they can print.

    7. This Court will revisit this Order and any Defendant's access to his respective Electronic

Device if it appears that any Defendant is not abiding by this Order.

    8. No later than the conclusion of the proceedings against Defendants in District Court,

whether through dismissal of the charges or sentencing, Defendants shall return their respective

Electronic Devices to their respective Standby Counsel, who will promptly provide them to the

Administrative Office of the U.S. Courts.

       The Clerk of Court is directed to tenninate the motions at ECF Nos. 202 and 203. Standby

Counsel for Defendants Helbrans (01) and Rosner (02) are directed to send a copy of this order to

their respective Defendants and to file proof of service on the docket.




                       Dated: March 5, 2021
                              White Plains, NY




                                                 3
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           EXHIBITC
                      Metcalf & Metcalf, P .C.
                            99 Park Avenue, 6"' Floor
                              New York, NY 10016
                               646.253.0514 (Phone)
                                646.219.2012 (Fa>-)
                     Exhibits A - J - EdwardJacob Lang Bond ApplicationEJLBondApp025
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 Andrew G. Patel
 Attorney-at-Law
 80 Broad Street, Suite 1900
 New York, New York 10004
 apatel@apatellaw.com                                                           Telephone 212-349-0230



                                                February 25, 2021


 The Honorable Philip M. Halpern
 United States District Judge
 United States Courthouse
 500 Pearl Street
 New York, NY 10007

                                        Re:    U.S. v. Reid, et al, including Brandon Nieves
                                               S3 20 Cr. 626 (PMH)

 Dear Judge Halpern:

         This letter is respectfully submitted on behalf of all appointed counsel seeking an Order
 authorizing counsel to use CJA funds to purchase laptop computers to permit our clients to review
 the large amount of discovery in this case.

          Attached to this letter, please find a proposed Order which details the process by which the
 computers will be prepared, loaded with software and discovery. The Order also details how the
 computers will be delivered to the facility, accessed by the defendants and returned to the
 Administrative Office of the U.S. Courts at the end of the case. We anticipate that the process set
 forth in the proposed Order will serve as a template to permit retained counsel to provide laptops to
 their clients but without the use of public funds.

        This application is the result of a joint effort by the Circuit Budgeting Attorney, the
 Coordinating Discovery Attorney, several members of the U.S. Attorney's Office, a number of my
"co-counsel and the staff of the Westchester County Jail.

        As this is the first time that the Westchester County Jail has agreed to allow defendants to
have access to laptop computers, we are proposing that the first laptop be provided to Brandon
Nieves, who is represented by Daniel Hochheiser, Esq. Mr. Nieves will serve as a test case to see
if any adjustments need to be made to the process before we scale up to include all of the
codefendants who may wish to participate.

        I am confident that I speak for everyone who has been working on this project when I say
that we will make ourselves available to answer any questions that Your Honor may have about
this request at Your Honor's convenience.

                                               Respectfully submitted,


                                                IslAndrew Patel
                                               Andrew G. Patel

cc:     All counsel by ECF
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Case 7-20~S~fl'.'ro!PP6~erWQ~nt                         rtifedifii~tr§~QM~lu~~             of Jl>age1 of 3



     UNITED STATES DISTRICT COURT
     SOUTHERN DISTRICT OF NEW YORK
     -------------------------------------------------X
     UNITED STATES OF AMERICA,

                   -v-                                                           ORDER

     Dwight Reid, et al, including Brandon Nieves,                          S3 20 Cr. 626 (PMH)

                           Defendants.

                     --------------------------------X

 PHILIP M. HALPERN, District Judge:

            Counsel for Brandon Soto, acting on behalf of all Counsel, has requested approval for the

 use of CJ A funds to purchase a laptop for defendant, Brandon Nieves and any codefendant who

 wishes to review discovery materials produced by the Government and therefore needs to have

 access to an electronic device under the tenns ordered below. Defense counsel represents that

 without this laptop the defendant will be unable to review effectively the massive amount of

 discovery material that the Government has provided pursuant to Rule 16 of the Federal Rules of

 Criminal Procedure.


           The application is granted as folJows:


        I. Defense counsel, is authorized to procure with CJA funds, a laptop computer 1 and any

           subsequent external hard drives and headphones that may be required to provide the

           defendant with access to the discovery (collectively, the "Electronic Device") for

           purposes of the discovery review. Counsel shall provide the electronic devise to Ms. de

           Almeida or her staff shall review the Electronic Device and confirm that the wireless and


 1
  Counsel shall consult the CDA, Julie de Almeida, to determine the model of laptop computer that is
acceptable to the facility where their client is housed.




                                   Exhibits   - J - Edward Jacob       Bond
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             Case 7-20~~~AifPP6~enil~~nt                           ~f1edifii~lt~ft/QJ{~/~4            of ~age 2 of 3



                      printing capabilities are disabled in a manner acceptable to the facility in which the given

                     defendant is lodged. Ms. de Almeida or her staff shall load on to the Electronic Device

                     such software as the defendants will need to review and make notes on the discovery.

                     Ms. de Almeida or her staff shall set a password protected administrative account on the

                     Electronic Device that is separate from the defendant's password protected user account

                     to prevent any user from making changes to the Electronic Device.

                  2. Either defense counsel or Ms. de Almeida shall provide the Electronic Device to the

                     Government. Each Electronic Device will be clearly marked with the name and ID

                     number and Marshal's registration number of the defendant who has been assigned to

                     receive that particular Electronic Device.

                  3. The Government shall save the discovery onto the Electronic Device as well as on

                     subsequent external hard drives that may be required to provide the defendant with access

                     to the discovery.

                 4. The Government shall confirm that the discovery is viewable on the Electronic Device

                     (for example, that the audio recordings and video play on the Electronic Device) prior to

                     sending it to the facility where the inmate is housed.

                 5. Within 30 days ofreceipt of the Electronic Device, the Government shall send the

                     Electronic Device to an Officer designated by each facility to receive the electronic

                     device. The designated Officer shall keep the Electronic Device and charging wire in

                     their office.

                 6. The Defendants can access the Electronic Device for review on a temporary basis and at

                     times approved by prison personnel. This review must take place in the defendant's unit

                     or a location where to the extent possible Defendant is not in the presence of any other



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                                              Exhibits A - J - Edward Jacob Lang Bond Application EJLBondApp028

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         inmates. Because of the volume of discovery, Defendants should be afforded the ability

         to review it for several hours each day to the extent consistent with the conduct of the

         facility in which the defendant is lodged.

     7. The Defendants are prohibited from copying any infonnation from the discovery.

     8. After he is finished reviewing the discovery for any given day, the Defendant shall return

        the Electronic Device to the designated Officer.

     9. The Defendants are strictly prohibited from printing, copying, sending, publishing, or

        transferring any of the discovery materials on the Electronic Device. It is the intent of this

        Order that only Defendant assigned to a particular Electronic Device (and his counsel and

        any other members of his legal defense team, including investigators. Paralegals, and

        support staff, as needed to confer with the Defendant) will have access to the discovery

        materials on the Electronic Device.

     10. This Court will revisit this Order and any Defendant's access to the Electronic Device if

        it appears that any Defendant is not abiding by this Order.

    11. IT IS FURTHER ORDERED that no later than the conclusion of the proceedings against

        the defendant in the district court, whether through dismissal of the charges against the

        defendant or the sentencing of the defendant, the defendant shall return the Electronic

        Device to his counsel, who will promptly provide it to the Administrative Office of the

        U.S. Courts if it was purchased with CJA funds.


 Dated: White Plains, New York
        March l, 2021




                                              PHILIP M. HALPERN
                                              United States District Judge

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           EX IBIT D
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                            99 Park Avenue, 6th Floor
                              New York, NY 10016
                               646.253.0514 (Phone)
                                646.219.2012 (Fa.,j
                     Exhibits A - J - EdwardJacob Lang Bond ApplicationEJLBondApp030
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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
 --------------------------------------                                                  X
                                                                                                                 --er--         (DLC)
 UNITED STATES OF AMERICA,
                                                                                                                          ORDER
                                   -v-



                                                          Defendant[s].

 --------------------------------------                                                  X

DENISE COTE, District                                Judge:

           On [date],                 CJA counsel                requested             approval            for      the       use         of

CJA funds              to purchase                   a laptop           for     de=endant            [name]             to    review

discovery             materials                 produced          by the         Government.                     Defense            counsel

represents               that         without           this      laptop         the     defendant                will        be unable

to     review          effectively                the      discovery             material           that          the        Government

is     installing               on the           two drives              defense         counsel            is     providing                   to

the      Government                (the         "Attorney           Drive"         and       the    "Defendant                 Drive").

It    is     hereby

           ORDERED that                   defense          counsel's             request           for      CJA funds                to

purchase            a laptop              for     the      defendant             to     review           discovery             is

granted.

           IT IS FURTHER ORDERED that                                   the     defendant                shall       not       have

access         to material                  installed             on the        Attorney            Drive,           which           is

classified              in      the       parties'             protective             agreement             as     "sensitive

disclosure              materials",                  except        in     the     following               circumstances:
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           1)     in       a meeting                 with         defense            counsel          in which                material              on

the      Attorney                Drive            is reviewed              by the            defendant                 in     the     presence

of      counsel;                or

           2)     in       a video                conference              with        defense             counsel,             who may use

screen-sharing                         to     permit             the    defendant              to    review             the     materials

on the          Attorney                   Drive.

           IT IS FURTHER ORDERED that                                          the     defendant                  shall        not      download

the      "sensitive                    disclosure                 materials"             shown            to     him by his

attorney.

          IT IS FURTHER ORDERED that                                           the     defendant                 may not             use      the

laptop          for        any purpose                     other        than         reviewing                 discovery             materials

produced              in    this            case,          for     communicating                    with         his        CJA counsel,

and      for     other               communications                     relating             to     his         defense             in this

case.

          IT IS FURTHER ORDERED that                                           no later             than         the        conclusion                 of

the     proceedings                        against          the        defendant             in     the         district             court,

whether          through                   dismissal              of the           charges          against            the      defendant

or the          sentencing                   of      the     defendant,                the        defendant                 shall       return

the     laptop             to        his     counsel,              who will            promptly                 provide         it     to        the

Administrative                        Office          of     the        U.S.        Courts.               If     convicted,                the

defendant              may not               retain          this        laptop         during             any       appeal.


Dated:                 New York,                  New York

                                                                               2
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        [MONTHDAY],       2020


                                           DENISE COTE
                                 United   States District    Judge




                                   3
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            EXHIBITE
                      Metcalf & Metcalf, P .C.
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                     Exhibits A - J - EdwardJacob Lang Bond ApplicationEJLBondApp034
       Case 1:21-cr-00053-CJN Document 42 Filed 10/04/21 Page 83 of 180


                                                                                       800 Third Avenue
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                                                                                       ww,;.cohengresser.com


 Christian R. Lverddl
 n (212) 951..,600
 c:e,·erdell@cohcngrcsser.c()m




                                                            January 14, 2021

BYECF

The Honorable Alison J. Nathan
United States District Cowt
Southern District of New York
United States Cowthouse
40 Foley Square
New York, NY 10007


          Re: United States v. Ghislaine Maxwell, 20 Cr. 330 (AJN)

Dear Judge Nathan:

        We write on behalf of our client, Ghislaine Maxwell, to respectfully request that the Cowt
order the Bureau of Prisons to give Ms. Maxwell access to the laptop computer provided by the
government so that she can review discovery on weekends and holidays.

        At the request of defense counseL the government provided Ms. Maxwell with a laptop
computer to review the voluminous discovery, which was produced on a series of external bard
drives. Currently, Ms. Maxwell is given access to the laptop only on weekdays. On weekends
and holidays, Ms. Maxwell must use the prison computer on her floor to review discovery.
However, the prison computer is not equipped with the software necessary to read large portions
of the discovery recently produced by the government. As a result, Ms. Maxwell loses several
days of review time every weekend and every holiday because she does not have access to the
laptop. If Ms. Maxwell is to have any hope of reviewing the millions of documents produced in
discovery so that she can properly prepare her defense by the July 12, 2021 trial date, she must
have access to the laptop every day, including weekends and holidays.

        Defense counsel has raised this issue with the government and it has no objection to Ms.
Maxwell having access to the laptop seven days a week. At the request of defense counsel, the
government has contacted officials at the MDC on several occasions in the past few weeks to
request that they lift this restriction, but without success.

        There is no principled justification for this restriction. Ms. Maxwell was given access to
the laptop every day (including weekends and the Thanksgiving holiday) for the entire 14-day
period that she was quarantined in her isolation cell in November-December 2020 because she had
come into close contact with a member of the MDC staff who had tested positive for COVID. In
addition, the laptop is kept in a locker in the same room where the prison computer is located, so it
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The Honorable Alison J. Nathan
January 14, 2021
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  would not require any change in Ms. Maxwell's movements to give her the requested access.
  Furthermore, on at least three occasions since she was released from quarantine, Ms. Maxwell's
  security team gave her the laptop to review discovery on the weekend.

          There is clearly no actual impediment preventing the MDC staff from providing Ms.
  Maxwell access to the laptop on weekends and holidays. Given the millions of documents that
  Ms. Maxwell must review before trial in order to prepare her defense, it is critical that she be
  given as much time as possible with the laptop to review the discovery. We therefore respectfully
  request that the Court order the BOP to give Ms. Maxwell access to the laptop on weekends and
  holidays during the hours that she is permitted to review discovery.

                                                            Sincerely,


                                                             Isl Christian Everdell
                                                           Christian R. Everdell
                                                           COHEN & GRES SER LLP
                                                           800 Third A venue, 21st Floor
                                                           New York, New York 10022
                                                           (212) 957-7600


  cc:    All Counsel of Record (By ECF)




                                  Exhibits   - J - Edward Jacob      Bond
            Case 1:21-cr-00053-CJN Document 42 Filed 10/04/21 Page 85 of 180


                                                                                              800 Third Avenue
                                                                                              New York, NY 10022
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       Christian R. Everdcll                                                         ELECTRONICALLY FILED
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            (212) 957 7600                                                           DOCt: ______                                         _
       cevcrddl@cohengrt.,;ser.com
                                                                                     DATE flU,D:         1/15/21




                                                                  January 14, 2021

      BYECF

      The Honorable Alison J. Nathan
      United States District Court
      Southern District of New York
      United States Courthouse
      40 Foley Square
      New York, NY I 0007


                Re: United States v. Ghislaine Maxwell, 20 Cr. 330 (AJN)

      Dear Judge Nathan:

--            We write on behalf of our client, Ghislaine Maxwell, to respectfully request that the Court
      order the Bureau of Prisons to give Ms. Maxwell access to the laptop computer provided by the
      government so that she can review discovery on weekends and holidays.

              At the request of defense counsel, the government provided Ms. Maxwell with a laptop
      computer to review the voluminous discovery, which was produced on a series of external hard
      drives. Currently, Ms. Maxwell is given access to the laptop only on weekdays. On weekends
      and holidays, Ms. Maxwell must use the prison computer on her floor to review discovery.
      However, the prison computer is not equipped with the software necessary to read large portions
      of the discovery recently produced by the government. As a result, Ms. Maxwell loses several
      days of review time every weekend and every holiday because she does not have access to the
      laptop. If Ms. Maxwell is to have any hope of reviewing the millions of documents produced in
      discovery so that she can properly prepare her defense by the July 12, 2021 trial date, she must
      have access to the laptop every day, including weekends and holidays.

              Defense counsel has raised this issue with the government and it has no objection to Ms.
      Maxwell having access to the laptop seven days a week. At the request of defense counsel, the
      government has contacted officials at the MDC on several occasions in the past few weeks to
      request that they lift this restriction, but without success.

              There is no principled justification for this restriction. Ms. Maxwell was given access to
      the laptop every day (including weekends and the Thanksgiving holiday) for the entire 14-day
      period that she was quarantined in her isolation cell in November-December 2020 because she had
--.   come into close contact with a member of the MDC staff who had tested positive for COVID. In
      addition, the laptop is kept in a locker in the same room where the prison computer is located, so it




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The Honorable Alison J. Nathan
January 14, 2021
Page 2


  would not require any change in Ms. Maxwell's movements to give her the requested access.
  Furthermore, on at least three occasions since she was released from quarantine, Ms. Maxwell's
  security team gave her the laptop to review discovery on the weekend.

          There is clearly no actual impediment preventing the MDC staff from providing Ms.
  Maxwell access to the laptop on weekends and holidays. Given the millions of documents that
  Ms. Maxwell must review before trial in order to prepare her defense, it is critical that she be
  given as much time as possible with the laptop to review the discovery. We therefore respectfully
  request that the Court order the BOP to give Ms. Maxwell access to the laptop on weekends and
  holidays during the hours that she is permitted to review discovery.

                                                            Sincerely,


                                                              Isl Christian Everdell
                                                            Christian R. Everdell
                                                            COHEN & GRESSER LLP
                                                            800 Third Avenue, 21st Floor
                                                            New York, New York I 0022
                                                            (212) 957-7600


  cc:    All Counsel of Record (By ECF)




                                                                         The unobjected-to request is
                                                                         GRANTED. The Bureau of
                                                                         Prisons is ORDERED to give the
                                                                         Defendant access to the laptop
                                                                         computer on weekends and
                                                                         holidays during the hours that she
                                                                         is permitted to review discovery.
                                                                         SO ORDERED.


                                   ALISON J. NATHAN
                                 United States District Judge




                                  Exhibits   - J - Edward Jacob     Bond Ap1plicaticm
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UNITED STATES DISTRICT COURT                                                  DOC#: __  ~..,,.,.,,..,,....-
SOUTHERN DISTRICT OF NEW YORK                                                 DATEFILED: 1/25/21




  United States of America,

                 -v-
                                                                   20-CR-330 (AJN)
  Ghislaine Maxwell,
                                                                         ORDER
                        Defendant.



ALISON J. NATHAN, District Judge:

        On January 25, 2021, the Court received by email the attached letter from the Bureau of

Prisons ("BOP"). In the letter, the BOP requests that the Court vacate its January 15, 2021

Order, Dkt. No. 116, which directed the BOP to give the Defendant access to her Government-

provided laptop computer on weekends and holidays during the hours that she is pennitted to

review discovery.

       The Defendant and the Government may respond to the BOP's letter within one week of

this Order.

       SO ORDERED.

Dated: January 25, 2021
       New York, New York                                  ALISON J. NATHAN
                                                         United States District Judge




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                                                          U.S. DEPARTMENT OF JUSTICE
                                                          Federal Bureau of Prisons
                                                          Metropolitan Detention Center



                                                           80 19h Street
                                                           Hrook{m .\eu fork I 1232



January 25, 2021


BYECF


The Honorable Alison J.Nathan
United States District Court
Southern District of New York
40 Foley Square
New York, NY 10007


      Re:     UDited States v. Ghislaine M11Xl1Tt!ll,
                                                 20 Cr. 330 (AJN)
              Ghislaine Maxwell. Reg. No. m879aJ9


Dear Judge Nathan:


      This letter is written in response to Order granted on January 15, 2021, concerning Ghislaine
Maxwell, Reg. 02879-509., an inmate currently confined at the Metropolitan Detention Center ('MDC") in
Brooklyn, New York. The MDC Brooklyn respectfully requests that Your Honor vacate the Order given
MDC Brooklyn was not given the opportunity to object to defense counsel's claims, although the objection
had been reiterated to the U.S. Attorney's Office numerous rimes.


      Defense counsel e.'C(>ressedvarious concerns regarding Ms. Maxwell's confinement limiting her
access to discovery. However, Ms. Maxwell has received a significant amount of time to review her
discovery. On November 18, 2020, the Government provided the MDC Brooklyn with a laptop for Ms.
Maxwell to use to review discovery. Ms. Maxwell has been and will continue to be permitted to use that
laptop to review her discovery for thirteen (13) hours per day, five (5) days per week. In addition to the
Government laptop, she has access to the MDC Brooklyn discovery computers. Although defense counsel
has indicated that the MDC Brooklyn discovery computers are not equipped to read all of her electronic
discovery, the computers are capable of reviewing most of the electronic discovery. Despite defense
counsel's claimthat Ms. Maxwell's lacks sufficient rime to fully review her discovery, her consistent use of
Government laptop and MDC Brooklyn's discovery computers undercuts this claim.
      Moreover, Ms. Maxwell continues to have contact with her legal counsel five (5) days per week, three
(3) hours per day via video-teleconference and via telephone; this is far more time than any other MDC
inmate is allotted to communicate with their attorneys.




                                  Exhibits A - J - Edward Jacob          Bond
  Case 1:21-cr-00053-CJN Document 42 Filed 10/04/21 Page 89 of 180




       We respectfully request that Your Honor vacate the order of January 15, 2021, and allow the
institution to reswne the prior schedule of laptop access, Monday through Friday, 7:00 AM - 8:00 PM.




Respectfully submitted,


/s/ SophiaPapapetru
Sophia Papapetru
Staff Attomey
MDC Brooklyn
Federal Bureau of Prisons
     Case 1:21-cr-00053-CJN Document 42 Filed 10/04/21 Page 90 of 180
       Case 1:21-cr-00053-CJN Document 29-1 Filed 08/23/21 Page 42 of 132
         Case 1:20-cr-00330-AJN Document 129 Filed 02/01/21 Page 1 of 2
                                                     U.S. Department of Justice

                                                     United States Attorney
                                                     Southern District of New York
                                                     The Silvio J. Mollo Building
                                                     One Saint Andrew 's Plaza
                                                     New York,New York 10007

                                                     February I, 2021

BYECF

The Honorable Alison J. Nathan
United States District Court
Southern District of New York
United States Courthouse
40 Foley Square
New York, New York 10007

        Re:    United States v. Ghislaine Maxwell, 20 Cr. 330 (AJN)

Dear Judge Nathan:

        The Government respectfully submits this letter in response to the Court's January 25, 2021
order allowing the parties to respond to a letter from legal counsel at the Metropolitan Detention
Center ("MDC") also dated January 25, 2021. (Dkt. No. 117). In particular, MDC legal counsel
asks the Court to vacate its January 15, 2021 order directing the MDC to permit the defendant to
use a laptop to review discovery on weekends and holidays. While the Government has no
objection to the defendant's request for additional laptop access, the Government also generally
defers to the MDC regarding how it manages its inmate population. The Government will continue
to defer to the MDC here, particularly because the defendant has had ample access to discovery
even without laptop access on weekends and holidays.

        Given the volume of discovery in this case, which totals more than two million pages, the
Government and the MDC have both made significant efforts to ensure that the defendant has
extensive access to her discovery materials. Since the Government made its first discovery
production in August 2020, the defendant has had exclusive access to a BOP desktop computer in
the MDC on which to review her discovery. When the defendant complained of technical issues
reviewing portions of her discovery on that desktop computer, the Government produced
reformatted copies of discovery materials and instructions regarding how to open particular files.
Because the defendant continued to complain that she was unable to review certain discovery files.
on the desktop computer, the Government agreed to provide a laptop for the defendant to use in
her review of discovery. On November 18, 2020, the Government hand delivered the laptop to
the MDC for the defendant's exclusive use.

        As the Court is aware, the defendant has received, and continues to receive more time to
review her discovery than any other inmate at the MDC. In particular, the MDC permits the
defendant to review discovery thirteen hours per day, seven days per week. On weekdays, the
MDC permits the defendant to use the laptop during her thirteen hours of daily review time. On
weekends and holidays, the MDC would ordinarily only allow the defendant to use the BOP
desktop computer, which provides access to much of the discovery material. While, as noted
above, the Government has no particular objection to the defendant's request for weekend access



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to the laptop, the Government generally defers to the judgment of the MDC in managing inmat.es
at its facility, and sees no reason to depart from that practice here. In this respect, the Government
notes that the trial date remains approximately six months away, the BOP was already affording
the defendant access to the laptop for some 65 hours a week, and the BOP was further providing
weekend access to a desktop computer should the defendant wish to spend more than 65 hours
each week reviewing discovery.

                                                    Respectfully submitted,

                                                    AUDREY STRAUSS
                                                    United States Attorney


                                              By:       s/
                                                    Maurene Corney / Alison Moe / Lara Pomerantz
                                                    Assistant United States Attorneys
                                                    Southern District of New York
                                                    Tel: (212) 637-2324

Cc: All Counsel of Record (By ECF)
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                                                Exhibits A - J - Edward Jacob Lang Bond Application EJLBondApp044
                    Case 1:21-cr-00053-CJN Document 42 Filed 10/04/21 Page 93 of 180
                       Case 1:21-cr-00053-CJN                                Document 29-1 Filed 08/23/21 Page 45 of 132


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                                                                                                           sciy.




The filing comes in iesponse to recent defense filings questioning Maxwel's conditions at the jail facility Specifically,
her attorneys requested that Maxwell eceive greater access b discovery and be allowed b speak with her atbrneys for
a longer period of time


Federal authorities anested Ghislaine Maxwell, the longtime confdant of Jeffrey Epstein, in July of last ~ar in
connection with the lati:: accused sex trafficker.
Maxwell was chaged on six counts bracts committed between 1994 and 1997 and then allegedly lying:1investigators
in 2016. Four counts aie related to allegedly helping tansport minors for sexual activity and two for perjl.Jf, according
to the criminal complaint



                               FEiii
                               Jeffrey Epstein's Ex-Girlfriend Blames His Death for Her Arrest



                               JAN26

                               Epstein's Ex-Girlfriend Seeks Dismissal of Charges She Faces




Prosecutors say Maxwell, "has as much, if not moe, time as any other MDC inmate                                       o communicate   with her atbrneys"
through video tele-conference calls after a rise in COJID-19 cases led b the suspension of in-person visits at the facility
since December


"In particular, the defendant has V1C calls with her counsel e,,eryweekday for three hours per call", posecutors write
saying , "all of these VlCs and teleprone calls take place in a ,oom where the defendant is alone and whee no MDC
staff can hear her communications                     with counser. They also say Maxwell 'continues to receive more time to review
discovery than any other inmate at the MDC adding that she has access b a laptop computer 13 hours a d~ 7 days a
week and she can send and eceive emails with her atbrneys.


Multiple ~ung women ha,,eaccused Maxwell, 58, the pungest daughter of the late British publishing magnate Robar
Maxwell, of complicity in Epsteirs alleged sex trafficking ring. Thf:¥ say she either recruited them diiectly or provided
logistical support, like scheduling visits b Epstein's home.




    Judge: Maxwell's Sex RelationshipsWith Adults Can Be Secret
                                           A judge says testimony by Jeffrey Epstein's ex-girlfriend about her sexual experiences with
                                           consenting adults can remain secret when a transcript is released next week




                                                                  Exhibits A - J - Edward Jacob                    Bond
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The abuse allegedly happened at 161mBeach, Florida; Santa le, New Mexicq and at Epsteins home on the Upper East
Side of Manhattan, oficials said Thursd~.
Earlier this week NBC News eported that the fund set up 10 compensate women wio were sexually abused         cyJeffrey
Epstein is suspending Pc¥outsbecause of uncertainty around its cash tow.


The Epstein Victims Compensation ltind has received more than 150 claims and paid out moe than $50 million. But
administrator Jordana Feldman said she was foced to pause the piograrn after Epstein's estate informed her
Wednesday that it did not hate sufficient funds ti satisfy the most recent request for replenishment and that it could not
predict when the monfV would becorre available.



This article tagged under:
GHISLAINE MAXWELL • I-TEAM • JEFFREY EPSTEIN




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                                            Exhibits A - J - Edward Jacob       Bond
Case 1:21-cr-00053-CJN Document 42 Filed 10/04/21 Page 95 of 180
 Case 1:21-cr-00053-CJN   Document 29-1 Filed 08/23/21 Page 47 of 132




            EXHIBITF
                      Metcalf & Metcalf, P.C.
                            99 Park Avenue, 6" Floor
                              New York, NY 10016
                               646.253.0514 (Phone)
                                646.219.2012 (Fa:i)
                     Exhibits A- J - EdwardJacob Lang Bond ApplicationEJLBondApp047
           Case 1:21-cr-00053-CJN Document 42 Filed 10/04/21 Page 96 of 180
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                                                        No. 20-cr-30015
            UNITED STATES DISTRICT COURT FOR THE CENTRAL DISTRICT OF ILLINOIS. SPRINGFIELD DMSION


                                       United States v. Washington
                                                      DecidedMar 30. 2020


    No.20-cr-30015                                                 is now ALLOWED. The Court finds good cause
                                                                   to allow Defendant to review pretrial discovery
    03-30-2020
                                                                   electronically while in a correctional facility. ~
    UNITED STATES OF AMERICA, Plaintiff, v.                        Local Rule 16.2(0).
    SHARNELL WASHINGTON, Defendant.
                                                                   Defendant shall be afforded electronic access to
                                                                   pretrial discovery in this cause pursuant to the
    TOM     SCHANZLE-HASK.INS,                     U.S.
                                                                   policies and procedures used at other jails in this
    MAGISTRATE JUDGE
                                                                   District that allow federal defendants to review
   OPJNlON:                                                        electronic copies of discovery. The policies and
                                                                   procedures are set forth in the following
    The Court has received Defendant Sharnell
                                                                   documents used by other jails in the District:
    Washington's Notice Regarding Motion to Possess                Rules Governing Use of Electronic Storage Media
    Electronic Discovery (d/e 10) (Notice). The                    to View Legal Materials, Inmate Discovery
   parties have complied with the Court's Text Order               Receipt, Electronic Discovery Viewing Log,
   entered March 24, 2020 and have ( 1) configured
                                                                   Discovery Material Authorization Form, and
   two laptop computers (Laptops) owned by the
                                                                   Detainee Laptop Issuance Procedures.
   Federal Public Defender in a manner agreed upon
   by the parties to permit Defendant to use the                   Defendant's electronic access to pre-trial discovery
   Laptops to review discovery stored on a disc                    in this cause is expressly conditioned on: (I) the
   provided by the Government and (2) secured the                  ongoing compliance at all times by Defendant
   agreement of the Macon County Jail authorities to               with the policies and procedures established by
   follow protocols (hereinafter referred to as policies           this Court; and (2) the ongoing willingness of the
   and procedures) used at other jails in this District       3    correctional institution to afford Defendant •_;
   that allow federal defendants to review electronic              electronic access to the pre-trial discovery
   copies of discovery. Notice, at l-2. The                        pursuant to the policies and procedures established
   Government has no opposition to providing                       by this Court. Should security concerns arise with
   Defendant Washington with CD or DVD discs                       respect to Defendant's access to pre-trial
   containing electronic copies of discovery under                 discovery, that access can be temporarily
   these conditions. ~ *2 United States' Response                  suspended without leave of Court but with notice
   to Defendant's Motion to Possess Electronic                     to Defendant's counsel. Defendant may seek to
   Discove['Y_Jd/e9).~ 6 ("The United States does not              regain access via petition to the Court.
   object to providing a disc containing the 65 pages
                                                                   This order shall modify only the application of
   of document discovery already tendered to defense
                                                                   Local Rule 16.2(B)(3) and (4) to this cause. All
   counsel, for the defendant's review in the Macon
                                                                   other provisions of Local Rule 16.2 remain
   County Jail . . . ."). Defendant Washington's
                                                                   applicable.
   request to possess electronic discovery, therefore,


-r.!? casetext                                                                                                            1

                                           Exhibits     -   - Edward Jacob          Bond
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                  United States v. Washington     No. 20-cr-30015 (C.D. !II. Mar. 30, 2020)

  THEREFORE, IT IS ORDERED that pursuant to                Isl
  Defendant     Shamell     Washington's Notice
                                                           TOM SCHANZLE-HASKINS
  Regarding    Motion to Possess Electronic
  Discovery (die 10) his Motion to Possess                 UNITED STATESMAGISTRATEnJDGE
  Electronic Discovery is now ALLOWED in full.
  ENTER: March 30, 2020.




4\ casetext




                                                                                                      2

                                    Exhibits A - J - Edward Jacob          Bond
Case 1:21-cr-00053-CJN Document 42 Filed 10/04/21 Page 98 of 180
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           EXHIBITG
                      Metcalf & Metcalf, P .C.
                            99 Park Avenue, 6"' Floor
                              New York, NY 10016
                               646.253,0514 (Phone)
                                646.219.2012 (Fa:-.1
                     Exhibits A - J - EdwardJacob Lang Bond ApplicationEJLBondApp050
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 1

 2
 3

 4                           IN THE UNITED STATES DISTRICT COURT

 5                        FOR THE NORTHERN DISTRICT OF CALIFORNIA

 6                                    SAN FRANCISCO DIVISION

 7

 8         UNITED STATES OF AMERICA,                       CR:

 9                      Plaintiff,                         [PROPOSED] ORDER RE USE OF
                                                           DIGITAL TABLET IN CUSTODY
10               v.

11         DEFENDANT DOE
12                      Defendant.

13
      TO: GREGORY J. AHERN, THE SHERIFF OF ALAMEDA COUNTY, AND TO THE
14        ALAMEDA COUNTY SHERIFF'S OFFICE AT SANTA RITA JAIL:
15          Counsel for the defendant has represented that discovery in this case is voluminous or is in a
16    digital format that can be efficiently reviewed by the defendant only on a digital tablet. The Court
17    therefore orders that defendant DOE be permitted to use a digital tablet for the sole purpose of
18   reviewing discovery and legal materials from the media storage device that relate to his/her criminal
19    case, under the following conditions:
20    1.    The Technical Support Unit of the Alameda County Sheriff's Office ("ACSO") will provide
21   the make, model, and specifications required for the digital tablet. Password-protected software will
22    be installed to lock down the tablet and prevent access to the internet or any and all wireless
23    communication (including but not limited to, WI-FI, LTE, 4G, etc.), games, or entertainment
24   programs of any kind. The digital tablet, and any media storage device provided to be installed into
25   the tablet (such as an SD or micro-SD card) shall contain no image or files other than discovery, case
26    law, and work product relevant to the criminal case.
27   2.     The digital tablet, media storage device, headphones, and charging unit shall be purchased by

28   retained or appointed counsel. The digital tablet, lockdown software, and installation protocol must

     ORD. DIGITAL TABLETCUSTODY
     DOE, CR   -1234                  Exhibits A - J - Edward Jacob
               Case 1:21-cr-00053-CJN Document 42 Filed 10/04/21 Page 100 of 180

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     1
           be that specifically identified by the Office of the Federal Public Defender for the Northern District
 2
          of California and/or the Criminal Justice Act Unit, as approved by the Technical Support Unit of the
 3
          ACSO. Only tablets procured with the assistance of the Federal Public Defender and/or the Criminal
 4
          Justice Act Unit will be pennitted.
 5
          3.     Discovery, case law, and work product relevant to the criminal case will be stored only on the
 6
          media storage device (such as an SD or micro-SD card) and may not be loaded on the digital tablet.
 7
          4.     ACSO staff will provide only the tablet, with the media storage device installed, to the
 8
          defendant. No power cord or any other type of cord will be provided to the defendant.
 9
          5.     Before the digital tablet is provided to the defendant, it will be inspected to ensure that its
10
          internet lockdown software is operating properly and that the tablet is secure.
11
          6.     Counsel for the defendant will provide staff at Santa Rita Jail a digital media device (such as an
12
          SD or micro-SD card) loaded with discovery or case materials. Counsel may request that these cards
13
          be rotated with new cards containing updated discovery and case materials. Updated cards will be
14
          installed in the tablet by ACSO, and the previous cards will be returned to defense counsel for re-
15
          use. Counsel may not load digital media devices (SD cards or micro-SD cards) directly into the
16
          tablet without going through ACSO staff and may not provide digital media directly to the
17
          defendant. Tablets and digital media devices may only be provided through ACSO staff.
18
          7.     ACSO staff are authorized to scan the contents of the digital tablet and media storage devices
19
          provided (such as SD or micro-SD cards) to ensure they do not contain contraband; if the security
20
          measures of the tablet are suspected of being breached, the ACSO will conduct a security assessment
21
          of the tablet, confiscate the tablet, secure the tablet, and notify the United States Marshal's Service
22
          (USMS). The USMS will be responsible for notifying the appropriate law enforcement agency if
23
          criminal activity is suspected.
24
          8.     The digital tablet will be stored in the office of the housing floor or housing unit deputy and/or
25
          in the Inmate Services' office. The tablet will be secured and charged at that location and will be
26
          accessible to defendant DOE in the housing unit at the Sheriffs sole discretion.
27
          9.    Neither the Sheriffs Office nor the County of Alameda will be responsible for any damage to
28
         the digital tablet.
         ORD. DIGITAL TABLET CUSTODY
         DOE, CR   -1234
                                            Exhibits A - J -      Jacob
         Case 1:21-cr-00053-CJN Document 42 Filed 10/04/21 Page 101 of 180
            Case 1:21-cr-00053-CJN          Document 29-1 Filed 08/23/21 Page 53 of 132



 I
      10.      Defendant DOE shall use the digital tablet for the sole purpose ofreviewing discovery and
 2
      legal materials from the media storage device that relate to his/her criminal case. Defendant DOE
 3
      shall not share the digital tablet, the digital storage device, or the materials loaded onto the tablet or
 4
      digital storage device with any other inmate or with any attorney not appointed to this case without
 5
      an order of this Court. Defendant DOE shall not access or attempt to access the internet or any form
 6
      of wireless communication (including but not limited to WI-FI, LTE, 4G, etc.) with the device.
 7
      11. Before defendant DOE is provided with this digital tablet, he/she must execute a waiver (a
 8
      copy of which has been provided to and reviewed by defense counsel).
 9
      12. Any violation of this order by the defendant or any use of the tablet that jeopardizes jail
IO
      security will result in the immediate confiscation of the digital tablet by the ACSO, and the inmate
11
      will not be allowed to use the tablet.
12
      13.      Among other consequences, any violation of the limitations of this order by counsel may result
13
      in the loss of visiting privileges for counsel at Santa Rita Jail.
14

15
                  IT IS SO ORDERED.
16
17
                         Dated                             INSERT
18                                                         United States District Judge

19

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     ORD. DIGITALT ABLET CUSTODY
     DOE, CR     -1234
Case 1:21-cr-00053-CJN Document 42 Filed 10/04/21 Page 102 of 180

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           EXHIBITH
                      Metcalf & Metcalf, P .C.
                            99 Park Avenue, 6"' Floor
                              New York, NY l0016
                               646.253.0514 (Phone)
                                646.219.2012 (Fa:,.7
                     Exhibits A - J - EdwardJacob Lang Bond ApplicationEJLBondApp054
  Case 1:21-cr-00053-CJN Document 42 Filed 10/04/21 Page 103 of 180

     Case 1:21-cr-00053-CJN Document 29-1 Filed 08/23/21 Page 55 of 132




                                    MEMORANDUM
To:    CJA PANEL
From: Diana Weiss
Date: June 28, 2019
Re: CJA Panel Tablets and accessories to enable clients to access e-discovery at Santa Rita Jail
---------------------------------------------------------------------
                                                          ---------------------
This memo compiles information regarding the new tablets and accessories needed for clients
housed at Santa Rita County Jail to access e-discovery. Also included in this memo is
information about the contact person at the jail and the documentation needed so that the Sheriff
will allow the tablet into the jail.

Court Order, Client and Attorney Waivers Required
In order for your client to have access to a tablet, Santa Rita requires I) Court Order, 2)
Attorney Waiver, and 3) Inmate Waiver. The forms for the Attorney and Inmate Waiver are
attached. A word version of a Proposed Order is also attached. You will need to modify the
Proposed Order to reflect the specifics of your case.

Tablet and accessories

The manufacturer/provider of the new tablets is Scott Brissenden. His contact info is:
      Scott Brissenden
      Blue Lock Technology Solutions
      (512) 364-3493
      sales@bluelocktech.com
      www.bluelocktech.com
      Link to tablet: http://bluelocktech.com/product/h1-tablet/
      You will need to put in Coupon cade: CJA2019 to get the reduced price of$300.

The tablet comes with a power cord and a cord to plug into your computer.

Accessories for the tablet:
   • MICRO-SD CARD The tablet will need a Mini-SD Card with a max capacity of 64GB.
       It is suggested that you purchase two SD Cards so that you can have one SD Card in use
       and the other on stand-by (for loading additional discovery). Any brand will work, here
       is a link to the SanDisk card: https://www.amazon.com/Micro-SD-Memory-
       Cards/b?ie=UTF8&node=3015433011
   • Card Reader: While many PCs and laptops come with an SD Card Reader built in, some
      do not. A Reader is necessary to efficiently transfer the files onto the SD Card. The
      following Reader will work: https://www.amazon.com/UGREEN-Reader-Adapter-
       Simultaneously-Windows/dp/BO I ARAH6O0/
   • Case: The Sheriff requires that the tablet have a case. The link to the approved case is:
      https://www.amazon.com/M-Edge-Universal-Multifit-Tablets-
      Nextbook/dp/B07204L9DC/ref=sr           I 3 ?ie=UTF8&gid= l 526066509&sr=8-
      3&keywords=universal+ 11+inch+tablet+cover&dpID=4 InZOkFW gyL&preST= SY300
        OL70 &dpSrc=srch
   • Earbuds (optional): If thee-discovery includes audio/video, you'll need to include a set
      of earbud.s. Per the Sheriff, the earbuds must not have the volume control on the cord;
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   usually the least expensive sets are the ones that are best for the jail.




                                                                                            2
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Contactperson
            at SantaRita
Dep. Sheriff Ryan Bauman #1979
925-551-6873/ rbauman@acgov.org


Documentation needed:

The following documentation is needed:
   • Court Order: A signed order authorizing the use of a digital tablet in custody. A model
       order accompanies this memo. This language has been approved by the Sheriff; the
       language must not be altered.
   • Attorney waiver: The ACSO E-Discovery Tablet Rules And Liability Waiver must
       be executed by counsel. The Waiver form accompanies this memo.
   • Inmate Agreement: The ACSO Inmate Discovery Tablet Agreement must be completed
       and executed by the client. The Agreement form accompanies this memo.

This documentation, along with the tablet with its SD Card, should be provided to Dep. Bauman.
Please email or call before you drop off a tablet. It is best to hand it directly to the deputy.




                                                                                               3

                               Exhibits A - J - Edward Jacob     Bond AOIOl!Caticm
    Case 1:21-cr-00053-CJN Document 42 Filed 10/04/21 Page 106 of 180

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                          Alameda County Sheriff's Office
                                             Santa RitaJail
                              532.SBroder Boulevard,Dublin, CA 94568-3309

                                Gregory      J.Ahern,       Sheriff
                                     Director ofEmeNencv Services
    SANT ARITA JAIL E-DISCOVERY TABLET RULES AND LIABILITY WAIVER


•   TABLET DEVICES: Tablets are defined as a mobile computer with display, circuitry, and
    battery as a single panel unit; with a screen size of7" or larger. For the purposes of e-
    discovery use, the tablet's camera, wireless Wi-Fi, and cellular access must be disabled.
    Accessories such as keyboards, stands and stylus' are not permitted. The only approved
    device for e-discovery use is an Android device manufactured by Blue Lock Technology
    Solutions.
 • Attorneys will communicate with the Office of the Federal Public Defender, Northern
    District of California and/or the Criminal Justice Act Unit to coordinate the purchase of
    approved tablets for use at the Santa Rita Jail.
 • Attorneys must provide a charging device, sleeve (protection cover when available), and
    headphones. No exceptions.
• Attorneys must sign this acknowledgement and waiver prior to tablet use. Any violation of
   this waiver and/or Court Order will result in the loss of privileges for the attorney.
• Once approved. Attorneys will coordinate with the Sheriff's Office Inmate Services Unit for
   proper introduction of the tablet to the inmate. Attorneys are responsible for training their
   clients in the use of the tablet.
• All discovery will be stored on a SD/Micro SD card and forwarded to the Inmate Services
   Unit to deliver to the inmate. Under no circumstances are attorneys to give discovery
   directly to an inmate.
• The purpose of the tablet policy is to allow the inmate to review materials directly related to
   federal charges or sentencing. Appropriate materials that may be provided on the SD / Micro
   SD card include discovery provided by the government, materials secured by the defense that
   are directly related to the charges or sentencing of the defendant, and legal research.
   Inappropriate materials include, but are not limited to, music or other audio files, video files,
   or image files that are entertainment or are personal in nature and that have no relation to the
   defense of the case. Even if provided by the government in discovery, sexually explicit
   images are expressly prohibited under this policy and must be redacted before discovery is
   loaded onto the SD / Micro SD card. Violators of this policy will lose their privileges and
   may be referred to the District Attorney's Office and/or U.S. Attorney's Office.
• Any violation of these rules may result in the termination of e-discovery tablet use, as well as
   revocation of site clearance.


By signing below, I acknowledge that I have read and agree to the terms stated herein.


Name: _____________                         _         CA State Bar Number:
                                                                             --------
Signature: ____________                      _        Date: ____________                        _




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                              Alameda County Sheriff's Office
                                                  Santa RitaJail
                                   5325 Broder Boulevard,Dublin, CA 94568-3309

                                    Gregory       J.Ahern,          Sheriff
                                          Director ofEmeri.?encv Services

                   INMATE DISCOVERYTABLETAGREEMENT
                              Make
                              Model
                          FCCIdentifier
                          Serial Number

I. TABLETPROCEEDURE:
          A.)  The computer tablet and SD card will be issued by the housing floor deputy at the
                request of the inmate between the hours of 0600 and 2300.
          B.)  At 2300 hours, inmates are required to return the computer tablet and SD card to the
                housing floor deputy to be charged overnight.
          C.)  Inmates assigned to general population are not allowed to bring the computer tablet
               out of their cell during recreation time when other inmates are out. Tablets are not to
                be shared or used by other inmates.
          D.)  Inmates are not permitted to bring their tablet with them to court, visitations, or
               internal/external appointments. Inmates are permitted to bring their tablet to
               contact/non-contact interviews with their attorney of record.
          E.)  Inmates who abuse, damage or violate the rules associated with the computer tablet
               will lose the privilege of the computer tablet.
          F.)  Santa Rita Jail staff are authorized to scan the contents of the computer tablet and
               media storage devices provided (SDcard/ micro SD card) at any time to ensure they
               do not contain contraband or the tablet is being misused.
          G.)  The Alameda County Sheriff's Office is not responsible for any damage to the tablet. If
               the tablet becomes broken or inoperable, a deputy must immediately be notified.

II. TABLETCHARGINGPROCEEDURE:
           A.)  When the computer tablet requires charging, the inmate shall notify a housing floor
                deputy. The deputy will take possession of the computer tablet and secure it in the
                deputy office to be charged.


    ___________                     agree with the terms of the computer tablet and electronic discovery
   and agree to adhere to the rules set forth. Any violation of the rules established will result in loss of
   the computer tablet.

                                   Signature: _____________                           _
                                   PFN:______________                             _
                                   Date:_______________                               _



   *A copy of this signed agreement will be retained by inmate services and a copy provided to the
   inmate being issued the computer tablet. *
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  METCALF & METCALF, P.C.
ATTOANEYS•AT•LAW




                            Metcalf & Metcalf, P.C.
                                 99 Park Avenue, 2S•hFloor
                                   New York, NY 10016
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Guidance for the Provision
   of ESI to Detainees

               Joint Electronic Technology Working Group
                             October 25, 2016




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                                              Guidance

I. An Approach to Providing e-Discovery to Federal Pretrial Detainees
After the publication of the 2012 JETWG Recommendations for ESI Discovery in Federal
Criminal Cases, the Joint Electronic Technology Working Group turned to specific challenges
regarding the delivery of discovery in digital format ("e-discovery" or "ESl"-electronically
stored information) to indigent pretrial detainees. 1 Most information is now created, stored, and
processed electronically, and most discovery in federal criminal cases is now in digital fonnat. But
most facilities that house federal pretrial detainees remain structured to enable detainees to review
paper discovery, not digital discovery. With proper safeguards, we believe that the provision of e-
discovery to pretrial detainees-inevitable in any event-will also result in greater efficiency,
reduced delay, and cost savings for the entire criminal justice system. We believe that facilities
must necessarily transition to enabling pretrial detainees to review e-discovery, but we also
recognize systemic institutional reasons, often influenced by limited resources, why this evolution
from paper-based review to e-discovery review will take time to implement. In the meantime, we
have developed some practical guidance for jurisdictions to address the specific challenges in
delivering e-discovery in digital format. This Guidance reflects the observations of Government
and defense attorneys, litigation support experts, Bureau of Prisons and U.S. Marshal officials, and
United States Magistrate Judges, who participated in the project. 2 As with the JETWG
Recommendations, this Guidance is intended to be practical, and is not intended to create or define
any legal rights. Baseline understandings for the provision of ESI in criminal discovery remain the
2012 JETWG Recommendations. Comments and developments from the field relating to this
Guidance may be freely sent to the national points of contact listed later.

1
  While this project was initiated with concern for the provision ofESI to indigent detainees, much
of what is said here will also be applicable to detainees with retained counsel, because the main
limitations on provision of ESI to detainees are not likely to derive from the cost of equipment,
but rather from constraints within the facility on the management and use of equipment. At the
opposite end of the spectrum, detained defendants who have refused counsel will present
additional issues we have not attempted to address in this first edition of this Guidance. That being
stated, all stakeholders must recognize their obligations to provide to all pretrial detainees access
to their criminal electronic discovery.
2
 Members of the JETWG subcommittee addressing the provision of ES I to detainees include U.S.
Magistrate Judges Laurel Beeler (N.D. Cal.) and Jonathan W. Feldman (W.D.N.Y.);
Administrative Office of the U.S. Courts, Defender Services Office, National Litigation Support
Administrator Sean Broderick; Federal Defender Donna Elm, (M.D.Fla.); Bureau of Prisons
Assistant General Counsels Corinne Nastro and Monya Phillip; U.S. Marshals Service Prisoner
Operations Division Assistant Chief Heather Lowry; Associate Deputy Attorney General and
National Criminal Discovery Coordinator Andrew Goldsmith, Assistant U.S. Attorneys John
Haried, Criminal eDiscovery Coordinator at the Executive Office for U.S. Attorneys; John
McEnany (S.D.N.Y.); Fred Sheppard (S.D. Cal.); David Joyce (D.Me.); and U.S. Attorney's
Office Litigation Support Manager Craig Bowman (W.D.N.Y.).


                                                 1


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The U.S. Marshals Service ("USMS") has general responsibility for the custody of federal pretrial
detainees. The USMS safeguards approximately 10,000 detainees in Federal Bureau of Prisons
("BOP") facilities; another 10,000 detainees in private facilities under contract to the USMS; and
more than 31,000 detainees in approximately 1,800 state and local facilities under USMS contract. 3
Discovery review computers with a standardized configuration are available in most BOP
facilities, but there is currently no single standard for ESI review equipment in the state, local and
private USMS contract facilities. We do not now foresee development of a single protocol for the
provision of ESI to pretrial detainees, given the multitude of facilities; the variety in file format
and volume of ESI; the equipment available within, or acceptable to, a given facility; inventory
control and technical support staffing within the facility; and other considerations, such as prisoner
separations and protective orders. On the other hand, growing experience shows that as long as
due regard is given at the local level to the accommodations needed to introduce ESI into a given
facility, workable procedures can be developed to handle the common run of e-discovery. This
Guidance is intended to aid those necessary accommodations by identifying the specific concerns
of each of the various stakeholders, as well as the areas where each stakeholder may need to accept
specific responsibilities, to ensure that detained defendants get adequate access to e-discovery in
a workable and collaborative manner. This Guidance will also introduce some of the technical
aspects of providing ESI to detainees, for example, how, with commonly available software, and
some expertise, a PC 4 laptop can be configured to permit review of the most common types of
criminal e-discovery.

II.    Special Concerns in the Delivery of ESI to Detainees

In preparing this Guidance, we identified the following special concerns in the delivery of ESI to
detainees:

      A. Defense Concerns

To mount an effective defense, a represented defendant who is detained pending trial must
generally have the opportunity to personally review some or all of the discovery and disclosure,
which is now commonly in ESI format. The defendant may need to review it in discussion with
his counsel or expert as well. But defense counsel may not have the equipment or personnel to do



3
 See United States Marshals Service Fact Sheet, Prisoner Operations 2016 and Facts & Figures
2016, available at https://www.usmarshals.gov/duties/factsheets. (Note that the Department of
Justice is phasing out the use of private facilities. See
https://assets.documentcloud.org/documents/3027877/Justice-Department-memo-announcing-
announcing.pdf.)
4
  Because the Department of Justice (including the Bureau of Prisons), like most other government
agencies, uses PC machines with Windows operating systems, defense teams are encouraged to
use PC devices to manage e-discovery. PC devices are typically less expensive than Apple devices;
conversion and compatibility issues will be lessened; and problems will be easier to troubleshoot
if all parties use PC/Windows devices.

                                                 2


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so, and the client who can afford counsel may not be able to additionally pay counsel to bring
discovery for him or her to review.

    B. CJA and FDO Budgeting Concerns

Criminal Justice Act ("CJA") administrators, including the Court, which administers the CJA
panel in many jurisdictions, and Federal Defender Organizations ("FDOs") (including both
Federal Public Defender Organizations and Community Defender Organizations that provide
indigent defense representation services), have an interest in avoiding the expenses incurred when
an attorney or other member of the defense team must travel to lengthy legal visits merely to permit
a detained client to review ESI on a defense team device. Subject to facility concerns discussed
below, an investment in devices for use within a facility can result in substantial savings in this
regard.

    C. Court Concerns

The Court has an overriding interest in the delivery of e-discovery to detainees, among other
reasons to avoid delays in cases resulting from the inability of detainees to access and review
discovery necessary to participate in their defense. The Court also has an interest in minimizing
discovery costs and discovery litigation and in avoiding collateral issues, such as motions for new
counsel by detainees complaining about delays in reviewing discovery.

   D. Facility Concerns

Constraints on detention facilities-the original bricks-and-mortar institutions-will       probably
pose the greatest challenges. These include most notably:

   Personnel. The management of inmate movement, separation, and monitoring is personnel
   intensive and subject to strict scheduling. Maintaining and tracking devices and media; loading
   (and updating) discovery data; re-charging portable devices, etc., make intensive demands on
   IT personnel. But facilities may have little or no flexibility with available personnel.

   Security. Weaponization of optical disk shards and other equipment, is a concern. Also,
   writable media may be used to pass messages to another inmate. Wireless and Internet
   capabilities have to be removed from devices used by detainees. (The BOP has a national
   policy against Internet and Wifi access for inmates.) Counsel (principally the Government)
   will need to screen ESI for disruptive contraband, such as pornography.

   Sudden Change. Facilities' procedures can be changed to meet new needs. But attempts to
   suddenly impose new procedures to handle special circwnstances may result in unintended
   breaches of standard security procedures, to potential great risk.

   Space. It is optimal to allow inmates time and space to view their electronic discovery, and
   facilities should designate an area for discovery review. Consistent with the need to maintain
   security in a facility (to include, where appropriate, visual monitoring), efforts should be made
   to enable detainees to review their electronic discovery individually.


                                                 3


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    E. U.S. Marshals Service Concerns

At the national level, the USMS contracts with facilities to house pretrial detainees. At the local
level, the USMS transports and safekeeps detainees. Transportation may be to and from court, or
involve transferring a detainee from one facility to another. An occasionally used alternative to in-
institution review of ESI is transporting inmates to locations that can accommodate discovery
review. But that option has significant drawbacks of concern to the USMS. Specifically, given
personnel and other restrictions, the Marshal has little capacity to transport detainees to, and
safeguard detainees at, special facilities for the review of ES I. (In some jurisdictions, transportation
time to and from the facility will render that impossible in any event.) Further, a detainee may not
be placed in a facility that has superior ESI review resources if that facility does not fit the security
designation of the detainee. For the USMS, providing a means of reviewing e-discovery within the
detaining facility is optimal.

    F. Government Concerns

The provision of e-discovery to detainees, although well under way in many districts, remains a
process in development nationally. The Government's main concern is that the provision of c-
discovery to detainees, which involves both technical challenges and new security challenges
including unauthorized dissemination of discovery materials within and outside of the institution,
should not be viewed as something the Government can make happen by pushing a digital button.
Instead, these Guidelines reflect the multiple considerations that must be taken into account in
preparing and providing ESI to detention facilities. In addition-it scarcely bears noting--different
United States Attorney's Offices ("USAOs") have at this time varying capabilities to process and
troubleshoot the production of e-discovery.

III. Practical Steps

    A. Government, Defense, Facility and Judicial Points of Contact/\Vorking Group

Points of Contact ("POCs") and a Working Group. Identifying PO Cs at the institutions listed below
is our most important recommendation. Through informal meetings and direct dealings on
individual cases POCs will develop an understanding of what devices are most readily acceptable
to or available at a facility, what file formats are most readily reviewable by a detainee, and what
particular obstacles may need to be addressed. The court should establish a Working Group,
consisting at the least of judicial, CJA, FDO, DOJ, BOP, and U.S. Marshal representatives, to
stimulate that process and to provide a forum for periodic reporting on developments and issuing
useful local guidance.

USAO and facility POCs, as representatives of two government entities, will likely have the most
frequent and direct communication. Ideally the contacts should include senior IT or litigation
support specialists directly involved in the preparation and delivery, and receipt and mounting, of
ESI for detainees. Within facilities, an appropriate POC may be someone involved in making the
ESJ available to inmates, such as unit managers or correctional counselors. There should also be
USAO and facility POCs at the management level who can address policy issues and requests for
exceptions (e.g., wardens, associate wardens, agency counsel).


                                                   4
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A USMS POC can be helpful in arranging for POCs to be designated in contract facilities and in
suggesting other methods for the delivery of ESI.

Public Defenders and their IT or litigation support specialists, and knowledgeable CJA attorneys,
are likely to be productive POCs who can help other defense counsel in their jurisdiction. Defense
POCs will be especially knowledgeable about exactly what electronic media the defense team may
bring to a given facility for client review, the practical issues attendant thereto, and detainee
experiences with the process.

Within the judiciary, CJA Supervisory Attorneys or other CJA administrators may have an
overview of how discovery ESI has been handled, and can be cognizant of measures, such as the
provision of laptops for a given case, that may engender substantial savings. Even more
significantly, a judicial POC will be helpful in convening project status meetings, evaluating local
CJA issues, and serving as a conduit for the expression of concerns to and from the court. As noted
above, we specifically recommend that the court convene a Working Group to share issues,
developments and solutions in the area.

On a national level, the following POCs may help with unique questions, or just getting an inmate
e-discovery review program started: the Department of Justice's National Criminal Discovery
Coordinator,      Associate       Deputy     Attorney      General      Andrew         Goldsmith
(Andrew.Goldsmith@usdoj.gov);         Criminal   eDiscovery     Coordinator      John      Haried
(John.Haried@usdoj.gov);        Associate   U.S.    Attorney    (SONY)        John      McEnany
(John.McEnany@usdoj.gov); Administrative Office of the U.S. Courts National Litigation
Support Administrator Sean Broderick (sean_broderick@fd.org); Federal Public Defender
(Tampa, Florida) Donna Lee Elm (donna_elm@fd.org); Bureau of Prisons Assistant General
Counsels Corinne Nastro (cnastro@bop.gov) and Monya Phillip (maphillip@bop.gov); U.S.
Marshals Service Prisoner Operations Division's Heather Lowry (Heather.Lowry@usdoj.gov).

   B. Identify Facility e-Discovery Capabilities

Recognizing that any inventory will be imperfect and subject to unexpected change, a working
compilation by the POCs of the following information can be very useful:

   a. How facilities allow detainees to review discovery: how do they determine who needs to
      review discovery; how much time do they typically provide detainees to review discovery;
      where do they allow detainees to review discovery (cell, law library, etc.); do detainees
      review discovery alone or in a group; if devices are used, do detainees share devices?
   b. Facility devices: inventory facility equipment, broken out by pertinent inmate housing unit.
      This would include specifications of devices available; specification of installed software
      (including version); location of devices; number of devices; management of inmate access
      to devices; and hours of availability.
   c. Facility Internet access, WiFi coverage, and policies, applicable both to detainees and to
      attorney visits.
   d. Facility device limitations: e.g., hardware or other limits on installing specialized
      reviewing software; inability of facility devices to handle hardware-encrypted drives or

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        software-encrypted media; read/write restrictions (affecting not only a detainee's ability to
        tag items, but also a device's ability to handle viewing software that requires write-access
        to function).
    e. Inmate-permitted media and devices: identify devices and media that the facility will
       generally accept for an inmate to use in a given case: e.g., CDs, DVDs, thumb drives, hard
       drives, .mp3 players, laptops.
            (i) Identify facility restrictions on devices for inmates: e.g., software restrictions (no
                games); hardware restrictions (no wireless); no built-in camera; no built-in
                microphone; no capability of connecting to an Ethernet network connection.
            (ii) See the comment on laptops under Special Responsibilities of Facilities.
    f. The method that the facility uses to secure and inventory devices and storage media: the
       manner of storage, checkout, and checkin of storage media; and which personnel are
       trained and available to handle these tasks.
    g. The methodology (if any) the facility can follow to update discovery provided on a rolling
       basis. For example, is the facility able and willing to use USAfx (a secure Dropbox-like
       file sharing platform) to accept ESI for inmates? (Note that supplementing, updating, or
       replacing storage media in a case where ESI has already been made available to a detainee
       may be difficult.)
    h. Attorney devices: identify devices and media the facility will generally permit defense
       teams to bring for client visit, and practicalities attendant thereto.

    C. Starting Up

Districts that are just beginning to consider provision of ESI to detainees may profitably begin
considering: first, the types of ESI that are most voluminous and yet come in the most easily
readable formats (such as wiretap intercepts in common audio formats and .pdfs of documents);
second, the devices that the facilities have or will accept for review of that ESI; third, if devices
need to be procured, how that will be done (e.g., by CJA funds for a given detainee in a given
case); fourth, how procured devices will be configured for security and viewing; and fifth, how
the devices will be loaded with ESI.

IV. Special Responsibilities of Participants

As noted above, this Guidance is not intended to create or define any legal rights. This section is
intended only to articulate what we see as the practical division oflabor in the collaborative venture
of providing ESI to pretrial detainees.

   A. Special Responsibilities of the Government

Early ESI Case Assessment. As an investigation begins and develops, an AUSA will have an
increasingly refined idea of what types of ESI will be gathered, what platforms will be used to
manage, review and produce the ESI; and which defendants may be detained in which facilities.
Using available information and consulting with POCs as appropriate, the Government should
identify anticipated e-discovery issues and prepare-even before arrest-a plan for speedy and

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efficient provision of e-discovery to anticipated detainees. This will include ESI expected to be
gathered at the time of arrest, such as cellphone data and other search warrant material. The
Government will then be in a position to make a considered proposal to the defense and the court
regarding provision of e-discovery. (For such planning purposes, we note again that rolling
discovery may be difficult for facilities to manage.)

Provision of Trusted-Source and Screened Media. To provide assurance to the facility, ESI media
and devices may have to be prepared (although not necessarily purchased) by the Government,
and delivered by the Government to the facility. The Government should also screen out or redact
material that may be disruptive to the institution (e.g., victim information, PII, CI information,
obscene images, trade secrets, etc.) before production of the material to the pretrial detainee.
(Screening out images such as cellphone pictures from an initial production of ESI to detainees
may also substantially reduce the volume of data that needs to be produced.)

    B. Special Responsibilities of the Defense

In keeping with the ESI Protocol, we anticipate that the defense will be a knowledgeable and
constructive participant in discussions and meet-and-confers on this subject. In cases where
difficulties derive from the volume of or unusual technical issues concerning ESI, the defense will
prioritize what materials (whether select portions or all of the discovery) it provides to its client.
Given software tools that can search and review voluminous discovery, the defense may be able
to identify key documentation for the defendant's review.

In cases where the defense has selected key documentation for the defendant to review, it may be
necessary for the defense to deliver the selected e-discovery to the facility and facility staff directly,
without going through the government, in order to avoid revealing its work-product selection to
the Government. The same may be true where the defense investigation has generated its own ESL
Some BOP facilities allow a defense attorney to mail in ESI directly to inmates via the special mail
process upon submission of a form certification that the material on the media is in fact discovery
related to the federal criminal proceeding and has not been altered in any way. Similar
arrangements, perhaps endorsed by a court order, or involving a mutually trusted vendor, may be
possible to satisfy security concerns at other facilities.

    C. Special Responsibilities of the Court

The Court will consider the need of counsel and detainees to have adequate opportunity to review
discovery in setting a trial schedule. Recognizing that the detention facility is not a party to the
criminal litigation, and that both facility management and ESI discovery involve inherent
limitations, the Court should generally afford the Government attorney an adequate opportunity to
investigate and respond to asserted discovery review problems (including an opportunity to confer
with facility and USMS representatives) before entering an order imposing specific procedures to
govern the delivery and review of detainee ESI discovery. In cases presenting unusual technical
or logistical issues, the court may also need to mediate the practical difficulties in providing
discovery and the defendant's need to adequately assist counsel. Judicial participation in the
Working Group referenced above will help judges stay abreast of developments in this area.



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    D. Special Responsibilities of the Facility

The facility must recognize its obligation to provide a reasonable opportunity for detainees to
review ESI discovery. The need to provide ESI to detainees should be emphasized in USMS
contracts with state, local and private facilities. Because laptops are inexpensive, have substantial
storage, and can be configured to permit review of a wide variety of file formats, all USMS contract
facilities should undertake to allow laptops as a routine method of providing ESI to detainees.
(Many BOP facilities have standalone computers for inmate use that have been specially
configured to handle most forms of e-discovery which should make consideration of laptops at
BOP facilities unnecessary except in the most unusual of cases. Other BOP facilities have allowed
the use of portable hard drives depending on the type of case and the volume of discovery.)

    E. Special Responsibilities of the U.S. Marshals Service

At a national level, and with a view to eventually developing standards, the U.S. Marshals Service
should begin to consider inmate e-discovery access in selecting and contracting with detention
providers. At the local level the U.S. Marshals Service should, consistent with its resources and
primary duties, assist in proposing solutions to e-discovery challenges.

V. Technical Considerations for the Non-Specialist

Obviously, most of those involved      in the provision of ESI to detainees are not technology
specialists. But following are some    of the more technical points that non-technical personnel
involved in the process will need to   understand. The Technical Appendices contain other more
detailed infonnation gathered during   preparation of these Guidelines that may also be useful for
those approaching the subject.

    A. Devices and Device Configuration

When a facility is willing to acquire, or to accept a laptop from the Government and/or the defense,
either as part of its inventory, 5 or for a particular defendant in a particular case, the laptop wil1
need to be configured to meet security concerns as well as to serve as an effective ESI review
platfonn. The appendix contains suggested hardware specifications and application configurations
that may provide a starting point in this regard. Facilities interested in obtaining their own ESI
review devices may explore kiosks (housing for a publicly-used computer) designed specifically
for the prison environment. (In 2016, kiosks priced at about $2200.)

MP3 players, iPods, DVD players, etc., can be inexpensive, Internet-free devices for reviewing
common audio, video, and some document formats. However, smart phones and tablets (with Wif i
and Internet capabilities) are largely pushing such media out of the market place. Note that it is
not easy to modify devices to eliminate wireless capabilities, which may be required by a facility.
Where iPads or other tablets do seem advisable, secure mounting of such devices may be an option
to consider. See, e.g., http://www.imageholders.com/collections/ipad-kiosks-tablet-enclosures-


5
  Note that the BOP, because of the anti-supplementation principle of federal appropriations,
cannot itself take ownership of a device from an outside source.

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 wall-mounted; http://www.lilitab.com/blogs/news/13361673-the-ultimate-guide-to-configuring-
 your-ipad-for-kiosk-use.

As frequently discussed herein, portable hard drives are inexpensive and may be an excellent
choice for producing ESI to facilities where detainees have access to computers.

    B. Common File Types and Review Possibilities

General Viewers and Players. ESI discovery can involve an almost overwhelming nwnber of
potential file formats. The list of file formats (see the appendix) compiled by the BOP for its July
2014 RFI for inmate electronic discovery support services, hardware, and software is daunting. On
the positive side, it is encouraging how many file formats commercial viewers and players can
support. By way of example, the files supported by Quick View Plus 13 Professional, and
Windows Media Player 12, are also listed in the appendix.

Forensic Image Viewers. Seized media is often forensically imaged via AccessData 's Forensic
Toolkit® (FTK®) or Guidance Software's EnCase Forensic, both of which provide viewers that
can be loaded onto a laptop to view forensic images contained in an attached hard drive. These
viewers are not very simple to use, and it may be most effective to provide extracted user files.
Extracted files may also be necessary where the underlying forensic image contains inappropriate
material, such as pornography or hacker tools.

Native or Proprietary Formats. The extent to which user files must be viewable via native software;
the existence of files in proprietary format; the significance of hyperlinks; and other matters not
here imagined, will create additional issues. Application of this Guidance and of the 2012 JET-
WG Recommendations will assist in bringing things down to manageable elements.

Litigation Support Databases. Databases such as Concordance, iPRO Eclipse SE, and Relativity
(all commonly used by the Government) as well as CaseMap and Summation (commonly used by
the Defense) may present a greater level of complexity. Concordance and iPRO Eclipse SE are
desktop-based and can (subject to volume) be loaded onto a laptop. Relativity can export data for
use on standalone devices. If an Internet (remote access)-based platform is used, the ability to
export relevant portions to a laptop- or iPad-viewable format will have to be considered.

Read-Write Access. Some review platforms and programs, such as video players, require read-
write access to the computer to function, for example to write .tmp files. This may require
workarounds when write access to devices available to detainees is restricted.

Note-Taking by Detainees. Because many facilities, including BOP facilities, will not allow users
write-access to discovery review devices for security and device-maintenance reasons, detainees
will not be able to flag or tag documents electronically. Counsel should anticipate developing
paper-based charts or forms that will facilitate flagging items of interest.

Remote (Web- or Cloud-Based) Data. Although data and electronic devices are increasingly
configured to store and access data and software remotely-in the cloud-limitations or
prohibitions on Internet access within facilities will largely preclude their use in providing e-
discovery to detainees, at least in the foreseeable future. Accordingly, in selecting platforms for
                                                 9



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attorney review, the ability to download data to standalone devices in a useable format for detainee
review will remain key.

   C. Encryption

In all instances a determination must be made whether the ESI can be produced in encrypted format
(the Government default) and still be effectively reviewed; whether encrypted hard drives ( e.g.
Addonics) will be suitable; or whether data must be produced in unencrypted format, and any
additional security measures that may entail.




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                                       Technical Appendices

I. Identification of Installed Software

A useful tool for the identification of software (and version) installed on a facility computer may
be the Windows Management Instrumentation Command, e.g., running wmic product                 l.ist
brief at the command line.

II. E-Discovery Review Laptop Configuration Suggestions

   A. General Suggestions

Where laptops are available for ESI review, following are some configuration suggestions:

   •    Hardware modifications--remove or disable
           o RJ-45 network jack for standard network cable
           o Wi-Fi cards/antennas. (Even if there is no WiFi in the facility, someone could
              possibly smuggle in a WiFi hotspot.
           o Phone modems (usually found only on older equipment).

   •    Processing and storage specifications
            o Processor: 1 gigahertz (GHz) or faster.
            o RAM: 1 gigabyte (GB) (32-bit) or 2 GB (64-bit)
            o Minimum Hard Drive Size: 250+GB, or even a partitioned drive with 500 GB D:
               drive.
           o Graphics card: Microsoft DirectX 9 graphics device with WDDM driver

   •    Operating System
           o Windows 10, which will soon be the standard in many federal agencies, and will
               not soon need to be upgraded.
                   • Contains Windows Media Player (verify)

   •    Security Software, to reduce the possibilities for unauthorized use and to reset the laptop
        during reboot to its previous-state configuration, as set by the administrator.

            o Lockdown software, to inhibit users from making changes. For example,
              -Mirabyte http://www.mirabyte.com/en/products/frontface-lockdown-
              tool/features.html
              -Inteset Systems http://shop.inteset.com/lock-down-windows-with-inteset-secure-
              lockdown

        •   Restore software, to reset the laptop during reboot to its previous-state configuration.
            For example:
               -Deep Freeze, http://www.faronics.com/products/deep-freeze/enterprise/
               -Reboot Restore RX (free, but additional testing required):
               http://www.horizondatasys.com/en/products and solutions.aspx?Productld= I 8#B
               enefits
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        •   Reviewing Software
               o Eclipse SE Data format. Where the Government has ESI in Eclipse SE format,
                  the Government is licensed to use Eclipse Publish to create a stand-alone
                  version of selected data to load onto a laptop. Commencing in summer 2016,
                  the Government has been licensed to make Oracle's Outside In Viewer (which
                  is used in Eclipse) available for viewing databases created via Eclipse Publish.
                  The Outside In Viewer can handle hundreds of file formats, similar to Quick
                  View Plus, whose supported file formats are listed below.
               o Custom video surveillance software, where it is easier to install a custom
                  program, rather than to convert non-standard video files into a format viewable
                  by standard Windows Media Player.
               o (This list is expected to change and grow.)


    B. BOP July 2015 Specifications

For information only, to help guide thinking, the following is taken from BOP's February 2015
specifications for detainee discovery viewing devices inside BOP facilities:

        1. Operating System and Software Security Features

            a. Operating system

Windows 7 Professional

            b. Third-Party Software

Romaco Timer (Free Commercial) is a utility used to set a time limit on the user usage. It is
currently set to logoff the current user in two hours. Prior to being logged out the user will receive
a prompt indicating that they have five minutes remaining before the system automatically logs
them off. This mechanism was put in place to ensure that the needs of a large inmate population;
needing the use of discovery workstations with a limited supply, are met. If no other inmate needs
to use the workstation, a given inmate can log back in and use it. A new Timer created in Visual
Basic (VB) may replace the Romaco Timer and help support future operating systems.

Reboot RX Free takes a snapshot of the pc environment.

Quick View Plus 12 (BOP Licensed) is a file viewer for a variety of different file formats.

VLC Player (Free Commercial) is a media player for playing a variety of different media formats
not supported by Windows Media Player.

For The Record (FTR) software to support proprietary video.




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            2. Security Features

    The security/Jockdown of thee-discovery pc comes from Group Policies built into Windows 7. A
    Local Group Policy was created that is assigned to the "Users" group. 6 The policy is located in in
    the C:\Windows\system32\GroupPolicyUsers\ folder. Security features configured in the LGPO
    (Local Group Policy Object) for the inmate environment are:

       •    The C:\ drive is not visible to the user under Windows Explorer

       •    Disabled the use of programs that could be used to generate scripts and environment
            configuration changes such as Control Panel, cmd.exe, powershell.exe, notepad.exe,
            taskmanager. exe etc.

       •    Disabled writing to USB drives

       •    Disabled writing to CDR's

       •    Desktop right click disabled

       •    CTRL+ALT+DEL does not display any options such as Task Manager.

       •    Start Menu only shows "Log Off' option. "Log Off' option is tied to a batch file that forces
            the system to restart. This forces the system back to the original snapshot of the system in
            Reboot Restore RX.

       •    Profile folders such as My Documents, Picture, and Video etc. are accessible to the user.
            They can write to these locations. This helps support encrypted files that need to be
            extracted and written to the local drive.

       •   Desktop icons available are the My Computer, VLC Player, Windows Media Player, Quick
           View Plus 12 icons

       •   Drives available in the user environment are the local CD ROM drive and any USB external
           drives plugged into the system.

       •   Added a visual security feature. Two distinct wallpapers were created to specify whether
           the current environment is a "Users" or an "Administrator". This will ensure the inmate is
           logged into the appropriate locked down environment




6
    BO P's detailed list of Windows GPO settings is not reproduced here.

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III. Common File Types and Review Applications

    A. File Types Listed in the BOP July 2014 Electronic Discovery RFI

The following is taken from the July 7, 2014, BOP RFI for support services, hardware and
software for inmate electronic discovery.,
bttps://www.tbo.gov/index?s=opportunity&mode=fonn&id=fa   I f5 7c3 8041cf65Jel297 aeb33f29 5c&tab9:orc&   cvicw= I


The following introduction to the BOP RFI is a useful presentation of BOP thought and restrictions
in this area.

        The Federal Bureau of Prisons (BOP), Information Technology Planning and
        Development Branch has created a Request for Information to seek information
        related to support services, hardware, and software for inmate electronic discovery
        (eDiscovery). The goal of this RFI is to obtain detailed information for a secure
        computing device which can be used by inmates to view discovery materials related
        to their criminal defense against federal prosecution or their civil litigation against
        a federal entity. The BOP seeks information on available solutions for an
        eDiscovery system that incorporates actual hardware, any necessary software to
        view litigation material, and support services for BOP IT staff to troubleshoot issues
        or seek repair of equipment. Interested parties shall not be reimbursed for any costs
        related to the development and submission of information in response to this RFI.

        These will be stand-alone read-only devices used to view as many different types
        of data as possible. The device should have the ability to receive updates to read
        additional types of data as needed. The task ofupdating the devices to include more
        capabilities could be done by the vendor or the vendor could provide a simple
        update for local staff to perform. These devices WILL NOT have internet
        connectivity.

Word Processing Formats                                        Microsoft Rich Text Format (RTF)
Adobe FrameMaker (MIF) 6.0, text only                          Unicode Text all
Corel WordPerfect for Windows through X4                       WML 1.2
Lotus WordPro 96-Millennium Edition 9.6,                       XML
text only                                                      MacWrite II 1.1
Lotus Symphony Documents 1.2                                   DOS Word Processors
Microsoft Windows Works through 4.0                            DisplayWrite 2 & 3 (TXT) all
Microsoft Word for Windows and Mac                             DisplayWrite 4 & 5 through Release 2.0
through 2010                                                   Professional Write through 2.1
Microsoft WordPad
Open Office Writer 2.0, 3.0                                    Spreadsheet Formats
StarOffice Writer 5.2 - 9                                      Corel QuattroPro for Windows through X4
ANSI Text 7 & 8 bit                                            Lotus l-2-3 (DOS & Windows) through 5.0
ASCII Text 7 & 8 bit                                           Lotus 1-2-3 (OS/2) through 2.0
EBCDIC all                                                     Lotus 1-2-3 for SmartSuite 97 - Millennium
HTML through 3.0                                               Edition 9.6
IDM Revisable Form Text all                                    Lotus Symphony 1.0, 1.1 and 2.0

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Microsoft Excel for Windows         or Mac
through 2010
Microsoft Works through 4.0                       Video Formats
OpenOffice Cale 2.0 and 3                         MPEG-1/2
StarOffice Cale 5.2, 6.x, 7.x - 9                 DIVX (l/2/3)
                                                  MPEG-4 ASP, DivX 4/5/6, XviD, 3ivX D4
Database Formats                                  H.263 / H.263i
Access through 2010                               H.264 I MPEG-4 A VC
dBASE through 5.0                                 Cinepak
Microsoft Works through 4.0                       Theora
                                                  MJPEG (A/B)
Presentation Formats                              WMV-9 / VC-1 1
Corel Presentations 3.0 -X4                       Quicktime
Harvard Graphics for Windows                      DV (Digital Video)
Lotus Symphony Presentations 1.2                  Indeo Video 4/5 (IV41, IV51)
Microsoft PowerPoint through 2010                 Real Video¾
OpenOffice Impress 1.1 - 3
StarOffice Impress 6 - 9                          Audio Formats
                                                  MPEG Layer 1/2
Graphic Formats                                   MP3 ( MPEG Layer 3)
Adobe Acrobat (PDF) 6.0 - 10.0                    AAC - MPEG-4 part3
Adobe Illustrator 7.0, 9.0                        Vorbis
AutoCad Interchange & Native Drawing              WMA 1/2
Formats (DXF & DWG) 2.5-2.6, 9.0-14.0,            WMA3 l
2000i, 2002, 2005 - 2010                          FLAC
Bitmap (BMP, RLE, ICO, CUR, OS/2 DIB &            ATRAC3
WARP) all                                         Wavpack
Corel Clipart (CMX) 5 - 6                         APE (Monkey Audio)
Corel Draw (CDR) 6.0 - 8.0                        Real Audio 2
Corel Draw (CDR with TIFF header) 2.0 -           AMR(3GPP)
9.0                                               MIDl3
DCX (multipage PCX) Microsoft Fax                 DV Audio
Encapsulated PostScript (EPS) TIFF header         QDM2/QDMC (QuickTime)
only
Graphics Interchange Format (GIF)
Hewlett Packard Graphics Language (HPGL)
2
JPEG all
MacPaint (PNTG)
OpenOffice Draw 3
Portable Network Graphics (PNG) 1.0
Star Office Draw 9
TIFF through 6
TIFF CCITT Group 3 & 4 through 6
WordPerfect Graphics 7 and 10 (WPG &
WPG2)


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    B. Quick View Plus 13 Professional, Supported File Formats

This gives an idea of the variety of file formats one commercially available viewing platform can
present. See Quick View Plus 13 Professional, Fact Sheet and Supported File Formats, available
at http://avantstar.com/metro/reference?path=A I x478ex I y I x4794x I x66y Ix4a6fx l x65y8x656bx8x 1.

WORD PROCESSING VERSIONS                               Volkswriter 3 & 4-through 1.0
                                                       Wang PC (IWP)--through 2.6
GENERIC TEXT                                           WordMARC--through Composer Plus
ANSI Text-7 & 8 bit                                    WordPerfect-through 6.1
ASCII Text-7 & 8 bit                                   WordStar-through 7.0
EBCDIC-all                                             WordStar 2000-through 3.0
HTML-through 3.0 (with limitations)                    XyWrite-through III Plus
IBMFFT-all                                             WINDOWS WORD PROCESSORS
IBM Revisable Form Text-all                            Adobe FrameMaker (MIF)-6.0, text only
Microsoft Rich Text Format (RTF)-all                   AMI/AMIProfessional-through 3. l
Trillian text                                          Corel/Novell WordPerfect
Unicode Text-all                                       for Windows-through XS
WML-1.2                                                Hangul-97, 2002, 20 I 0
XML                                                   JustSystems Ichitaro
DOS WORD PROCESSORS                                   -5.0, 6.0, 8.0- 13.0, 2004, 2010
DEC WPS Plus (DX)-through 4.0                         JustWrite -through 3.0
DEC WPS Plus (WPL)-through 4.1                        Kingsoft WPS Office Writer-2010
DisplayWrite 2 & 3 (TXT)-all                          Legacy -through 1. 1
DisplayWrite 4 & 5-through Release 2.0                Lotus WordPro
Enable-3.0, 4.0 and 4.5                               -96 - Millennium Edition 9.6, 9.8 (text
First Choice-through 3.0                              only)
Framework-3.0                                         Lotus Symphony Documents-1.2
IBM Writing Assistant-1.0 I                           Microsoft Windows Works-through 4.0
Lotus Manuscript-2.0                                  Microsoft Windows Write-through 3.0
MASS 11-through 8.0                                   Microsoft Word for Windows-through
Microsoft Word-through 6.0                            2013
Microsoft W arks-through 2.0                          Microsoft WordPad-all
MultiMate-through 4.0                                 Novell Perfect Works-2.0
Navy DIF-all                                          OpenOffice Writer-I. I - 3.0
Nota Bene-3.0                                         Oracle Open Office Writer-3.0
Office Writer-4.0 - 6.0                               Professional Write Plus-1.0
PC-File Letter-through 5.0                            Q&A Write forWindows-3.0
PC-File+ Letter-through 3.0                           StarOffice Writer-5.2 - 9.0
PFS:Write-A, B and C                                  WordStar for Windows-LO
Professional Write-through 2.1                        MACINTOSH WORD PROCESSORS
Q&A-2.0                                               MacWrite II-1.1
Samna Word-through Samoa Word IV+                     Microsoft Word
SmartWare II-1.02                                     -3.0, 4.0, 98, 2001, v.X, 2004, 2008
Sprint-through 1.0                                    Microsoft Warks-through 2.0
Total Word-1.2                                        Novell WordPerfect-1.02 -3.0
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 SPREADSHEETS VERSIONS                            Microsoft Works (Mac)-through 2.0
 Corel QuattroPro for Windows                     Paradox (DOS)-through 4.0
 -through XS                                      Paradox (Windows)-through 1.0
 Enable-3.0, 4.0 and 4.5
 First Choice-through 3.0                          Personal R:BASE-1.0
 Framework-3.0                                     Q & A-through 2.0
 KingSoft WPS Office Spreadsheet-20 l 0           R:BASE 5000-through 3.1
 Lotus 1-2-3 (DOS & Windows)-through               R:BASE System V-1.0
 5.0                                              Reflex-2.0
 Lotus 1-2-3 Charts (DOS & Windows)                SmartWare 11-1.02
 -through 5.0                                     PRESENTATIONS VERSIONS
 Lotus 1-2-3 (OS/2) -through 2.0                  Corel/Novell Presentations-3.0 - XS
 Lotus 1-2-3 Charts (OS/2)-through 2.0            Freelance for Windows
 Lotus 1-2-3 for SmartSuite                       -through Millennium Edition 9.6, 9.8
-97-MillenniumEdition       9.6, 9.8              Freelance for OS/2-through 2.0
Lotus Symphony-1.0 - 1.2 & 2.0                    Harvard Graphics for DOS-2.x & 3.x
Microsoft Excel Charts-2.x -7.0                   Harvard Graphics for Windows
Microsoft Excel for Macintosh                     K.ingSoftWPS Office Presentation-2010
-3.0 - 4.0, 98, 2001, v.X, 2004, 2008             Lotus Symphony Prescntations-1.2
Microsoft Excel for Windows                       Microsoft PowerPoint for Macintosh
-2.2 through 2013                                 -3.0-4.0,   98, 2001, v.X, 2004, 2008
Microsoft Multiplan-4.0                           Microsoft PowerPoint for Windows
Microsoft Windows Works-through 4.0               -3.0 through 2013
Microsoft Works (DOS)-through 2.0                 OpenOffice Impress-I.I - 3.0
Microsoft Works (Mac)--through 2.0                Oracle Open Office Impress-3.0
Mosaic Twin-2.5                                   StarOffice Impress -5.2 (text only), 6.0-
Novell Perfect Works-2.0                          9.0
OpenOffice Cale-I .I, 2.0 (text only), 3.0        COMPRESSED VERSIONS
Oracle Open Office Calc-3.0                       7z
Quattro Pro for DOS-through 5.0                   GZIP
PFS:Professional Plan-1.0                         JAR
SmartWare Il-1.02                                 LZA Self Extracting Compress
StarOffice Calc-5.2, 6.x, 7.x, - 9.0              LZH Compress
SuperCalc 5-4.0                                   Microsoft Binder-7. 0 - 97
VP Planner 30---1.0                               MIME (Text Mail)
DAT ABASES VERSIONS                               RAR
Access-through 2.0, 95-2000                       UNIX Compress
dBASE--through 5.0                                UNIX TAR
DataEase--4.x                                     UUEncode
dBXL-1.3                                          ZIP-PKW are through 2.04g
Enable-3.0, 4.0 and 4.5                           OTHER VERSIONS
First Choice-through 3.0                          Apple iWork 09 Keynote
FoxBase--2.1                                      Apple iWork 09 Numbers
Framework-3.0                                     Apple iWork 09 Pages
Microsoft Windows Works-through 4.0               Executable (EXE, DLL)
Microsoft Works (DOS)-through 2.0                 Executable for Windows NT

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 Lotus Notes DXL                                 JFIF (JPEG not in TIFF format }-all
 Microsoft Outlook                               JPEG-all
 Express (EML}-97 - 2003                         Kodak Flash Pix (FPX}-all
 MBOX                                            Kodak Photo CD (PCD)--1.0
 Microsoft Cabinet                               Lotus 1-2-3 Picture File Format (PIC}-all
 Microsoft Live Messenger-IO                     Lotus Snapshot-all
 Microsoft Office 2003 XML (text only)           Macintosh PICTl & 2-Bitmap only
 Microsoft OneNote 2007-2010 (text only)         MacPaint (PNTG)
 Microsoft Outlook Folder (PST)-97 - 2003        Micrografx Draw (DRW)-through 4
 Microsoft Outlook Forms Template (OFT)          Micrografx Designer (DSF)-Windows 95,
 Microsoft Outlook Offline Folder (OST)          6.0
 -97     2003                                    Novell PerfectWorks (Draw}-2.0
 Microsoft Outlook Message (MSG)                 OpenOffice Draw-3.0
 Microsoft Project-98, 2000, 2002,               Oracle Open Office Draw-3.0
 2003, 2007, 2010 (Gantt chart view)             Paint Shop Pro (PSP}-5.0 - 7.04
 vCard-2.1                                       PC Paintbrush (PCX & DCX)-all
 GRAPHIC VERSIONS                                Portable Bitmap (PBM)
 Adobe Acrobat (PDF}-2.1, 3.0- X                 Portable Graymap (PGM)
 Adobe PDF Package                               Portable Network Graphics (PNG}-l.0
 Adobe PDF Portfolio                             Portable Pixmap (PPM)
 Apple Mail Message-2.0                          Progressive JPEG
Adobe Jllustrator-7.0, 9.0, CS5, CS6             Star Office Draw-9.0
Adobe Photoshop (PSD)-4.0, CSS, CS6              Sun Raster (SRS)
AmiDraw (SDW}-all                                SVG (XML display only. Content will be
AutoCad Interchange & Native                     rendered as an XML file, not a multimedia
Drawing Formats (DXF & DWG)                      file.)
-2.5 -2.6, 9.0-14.0, 2000i,                      TIFF-through 6
2002, 2005 - 2012                                TIFF CCITT Group 3 & 4-through 6
Autoshade Rendering (RND}-2.0                    Truevision TGA (TARGA}-2
Binary Group 3 Fax                               Visio-4 (preview only), 5, 2000, 2002,
-'2005 - 2007 (with limitations)                 2003
Bitmap (BMP, RLE, ICO,                           WBMP
CUR, OS/2 DIB & W ARP}-all                       Windows Enhanced Metafile (EMF)
CALS Raster-Type I and Type II                   Windows Metafile (WMF)
Computer Graphics Metafile (CGM)                 WordPerfect Graphics
-ANSI, CALS NIST 3.0                             -through 2.0, 7 and 10 (WPG & WPG2)
Corel Clipart (CMX)-5 - 6                        X-Windows Bitmap (XBM}-xl0
Corel Draw (CDR)--6.0 - 8.0                      compatible
Corel Draw (CDR with TIFF header)                X-Windows Dump (XDM}-xl0
-2.0-9.0                                         compatible
DCX (multipage PCX)--Microsoft Fax               X-Windows        Pixmap     (XPM)-xlO
GEM Paint (IMG)                                  compatible
Graphics Interchange Format (GIP)
Hewlett Packard
Graphics Language (HPGL)--2



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    C. Windows Media Player 12

Following is a list of audio and video files supported by Windows Media Player 12. See
https://support.microsoft.com/en-us/kb/316992

Windows Media formats (.asf, .wma, .wmv, .wm)
Windows Media Metafiles (.asx, .wax, .wvx, .wrnx)
Windows Media Metafiles (.wpl)
Microsoft Digital Video Recording (.dvr-ms)
Windows Media Download Package (.wmd)
Audio Visual Interleave (.avi)
Moving Pictures Experts Group (.mpg, .mpeg, .mlv, .mp2, .mp3, .mpa, .rope, .m3u)
Musical Instrument Digital Interface (.mid, .midi, .nni)
Audio Interchange File Format (.aif, .aifc, .aiff)
Sun Microsystems and NeXT (au, .snd)
Audio for Windows (.wav)
CD Audio Track (.cda)
Indeo Video Technology (.ivt)
Windows Media Player Skins (.wmz, .wms)
QuickTime Movie file (.mov)
MP4 Audio file (.m4a)
MP4 Video file (.mp4, .m4v, .mp4v, .3g2, .3gp2, .3gp, .3gpp)
Windows audio file (.aac, .adt, .adts)
MPEG-2 TS Video file (.m2ts)

   D. Litigation Support Database Applications


Concordance                                    Nuix
iPRO                                           Epiq
iPRO Eclipse SE                                CaseLogistics
Relativity                                     Masterfile
Access Data - Summation                        iConnect
Intella                                        Lateral Data




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  METCALF & METCALF, P.C.
ATTORNEYS•AT•LAW




                            Metcalf & Metcalf, P.C.
                                99 Park Avenue, 6" Floor
                                  New York, NY 10016
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                                                                         Ma 19 2015
                                                    OPI:                 DOC GENERAL COUNSEL
            POLICY
                 AND                                REVIEW DATE:         June   20, 2018
            PROCEDURE
                                                    Approving            Quincy L. Booth
                                                    Authorlt             Director
            SUBJECT:             ACCESS TO LEGAL COUNSEL (Attorney Visits)
            NUMBER:              4160.3J
            Attachments:       Attachment A- Inmate Consent Form
                               Attachment B - Request for Legal Visit
                               Attachment C -Attorney Acknowledgement        and Waiver of Liability Form
                               of the D.C. Department of Corrections Recorded Audio and Video
                               Surveillance and Voluminous Documents Review Procedures Form
                               Attachment D - Inmate Acknowledgment and Release
                               Attachment E - Attorney Visitation Entrance Checkfist



SUMMARY OF CHANGES:

Section                       Change
Changes                       Minor changes made throughoutpolicy.




APPROVED:




                                                                 6120117
Quincy L Booth, Director                                       Date Signed




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1.    PURPOSE AND SCOPE. To establish procedures for inmate attorney/legal visits
      at the Central Detention Facility (CDF) and Correctional Treatment Facility (CTF).

2.    POLICY. It is the policy of the District of Columbia Department of Corrections
      (DOC) to ensure inmates' rights to have access to counsel and the courts.

3.    APPLICABILITY. This procedure applies to attorneys, inmates' attorney of
      record, their agents, embassy and consular officers, DOC employees, contract
      staff, volunteers and inmates.

4.    PROGRAM OBJECTIVES. The expected results of this program are:
      a.   Inmates shall have access to courts, counsel and/or their authorized
           representatives via telephone communications, uncensored correspondence
           and visits. Legal telephone calls and correspondence are addressed in other
           policies (see directives referenced).
      b.   Inmates' constitutional right to access counsel shall be protected while
           maintaining facility safety, security and order.

5.    NOTICE OF NON-DISCRIMINATION

      a.    In accordance with the D.C. Human Rights Act of 1977, as amended, D.C.
           Official Code§§ 2-1401.01 et seq., (Act) the District of Columbia does not
           discriminate on the basis of race, color, religion, national origin, sex, age,
           marital status, personal appearance, sexual orientation, gender identity or
           expression, familial status, family responsibilities, matriculation, political
           affiliation, genetic information, disability, source of income, status as a victim
           or an intrafamily offense, or place of residence or business. Sexual
           harassment is a form of sex discrimination that is also prohibited by the Act.
           Discrimination in violation of the Act will not be tolerated. Violators will be
           subject to disciplinary action.

6.    AUTHORITY. D.C. Code§ 24-211.02, Powers; Promulgation of Rules;

     The Vienna Convention on Consular Relations (1963), Article 36 "Communication
     and Contact with Nationals of the Sending State"




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      D.C. Code§§ 22-2603.01, et seq., "Introduction of Contraband into Penal
      Institution"


7.    DIRECTIVES AFFECTED

      a.   Directives Rescinded

           pp 4160.31                Access to Legal Counsel (5/19/15)

      b.   Directives Referenced

           1)   pp 1280.2            Reporting and Notification Procedures for Significant
                                     Incidents and Extraordinary Occurrences

           2)   pp 1282.1            Duty Administrative Officer

           3)   pp 4070.1            Inmate Telephone Access

           4)   pp 4070.4            Inmate Correspondence and Incoming Publications

           5)   PP 5009.2         Searches of Inmates, Inmate Housing Units, Work
                and Program Areas

           6)   PP 5010.2           Accountability for Inmates

           7)   pp 5010.3           Contraband Control

           8)   pp 5020.1           Entrance and Exit Procedures

           9)   PM 5300.1           Inmate Disciplinary and Administrative Housing
                                    Hearing Procedures

           10) PM 5300.2            Juvenile Disciplinary and Administrative Housing
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8.    STANDARDS REFERENCED

      a.   American Correctional Association 4 th Edition, Performance-Based Standards
           for Adult Local Detention Facilities: 4-ALDF-6A-01, 4-ALDF-6A-02, and
           4-ALDF-6A-03.
      b.   National Standards to Prevent, Detect, and Respond to Prison Rape Under
           the Prison Rape Elimination Act (PREA), 28 C.F.R. 115.

9.    ATTORNEY VISIT REQUESTS

      a.   Attorney Visits. An Attorney shall be allowed to visit their inmate client without
           advance approval when they are the attorney of record and a member of the
           District of Columbia Bar and present a D.C. Bar Card and a photo
           identification at entrance. CJA and PDS attorneys may show their valid work
           ID to access the facility. They do not need to present a bar card and
           additional photo identification.

      b.   Advance Approvals For Attorney Visits. Advance approval from the Warden's
           Office is required If the attorney seeking a legal visit is not a member of the
           DC Bar, and the attorney must provide a Bar Card or credentials from
           another jurisdiction and a valid photo identification (State ID, Driver's
           License). In obtaining approval from the Warden's Office, an attorney that is
           not licensed in any of the United States but licensed in a foreign country must
           present a letter from his/her country's embassy on embassy letterhead
           confirming he/she is a licensed attorney in his/her native country and a valid
           form of identification such as a passport.


      c.   Attorneys Who Are Not Attorneys of Record in Criminal Matters

            1) Any attorney who is not the attorney of record in an inmate's criminal
               case(s) and/or represents an inmate in a matter other than their criminal
               case(s) must request their attorney visit(s) through the Warden's Office in
               advance.
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               The attorney shall fax to (202) 698-4877 Attn: Warden a request for an
               attorney visit at least three (3) business days in advance including the
               following:

               a)   The attorney letterhead including a current address and phone
                    number.

               b)   The attorney's state and bar license number. If the attorney is not
                    licensed in the District of Columbia, they shall provide a copy of their
                    bar card or other license credentials.

               c)   The name and DCDC number of the inmate with whom they are
                    seeking to visit.

               d)   The jurisdiction, case name and case number of the matter in which
                    they represent the inmate or a brief description of the nature of the
                    legal matter. For example, if the representation does not involve an
                    open case, the letter should provide a general reference as to what it
                    relates to such as child custody, divorce, bankruptcy, property
                    transfer, etc.

               e)   The general purpose of the attorney visit.

               f)   The number and duration of attorney visits being requested.

               g)   Proposed dates for the visits.

               h)   The attorney shall indicate in the letter whether the attorney has a
                    personal relationship with the inmate such as friend, relative, spouse,
                    co-parent, romantic partner, or other relationship. Individuals who
                    are attorneys or attorney agents shall not conduct personal visits in
                    attorney visitation.

    d.     Attorney Visit Approvals/Disapprovals. Warden shall advise the attorney in
           writing whether or not the request is approved. If approved, the attorney is
           required to follow all procedures contained herein. The inmate must consent
           to the visit(s) approved by the Warden.
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10. GENERAL PROCEDURE

     a.    Attorney Decorum. Attorneys and their agents shall not display over-familiarity
           with inmates, they shall not give inmates any items other than printed legal
           materials to be reviewed during visitation and/or taken back to their cells, and
           they shall, at all times, maintain a professional decorum and adhere to
           protocols consistent with a correctional environment. Attorneys shall not give
           their clients cds/dvds, tapes or other audio/visual recordings of legal materials
           to keep after visitation.


     b.    Visiting Hours. Attorneys and their agents (i.e., investigators, law clerks, law
           students, and interpreters) shall have twenty-four (24) hour access to their
           clients, seven (7) days a week.

     c.    Point of Entry. Attorneys and their agents shall enter the facility via the
           Visitors Control entrance.

    d.     Visiting Areas

          1)   12:00 noon to 8:00 p.m. Legal visits shall be conducted in the Visiting
               Hall on the same floor as the inmate's assigned housing unit, except as
               stated below:

               a)   In the event that all legal booths are occupied on the respective floor,
                    the Visiting Hall Officer shall contact Visiting Hall Officers on other
                    floors to arrange for a booth and inform the attorney or agent of the
                    change. The Administrative Module Officer shall inform the inmate of
                    the change and record the change on the inmate's pass accordingly.

               b)   Attorneys and their agents shall be moved to other floors as needed
                    if booths on a particular level are unavailable. If an attorney or agent
                    requests to use the visiting phone instead of waiting for a booth, this
                    request shall be granted and documented in the Visiting Hall
                    logbook.

          2)   8:00 p.m. and 11:30 p.m. All legal visits shall be conducted in Visiting
               Hall Two on the second floor.
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          3)   11:30 p.m. and 8:00    a.m. All legal visits shall be conducted in front of the
               Command Center.

         4)    8:00 a.m. and 12:00 noon. All legal visits shall be conducted in Visiting
               Hall Two on the second floor.

         5)    Saturday and Sunday. All legal visits shall be conducted in Visiting Hall
               Two on the second floor.

         6)    Overflow Visiting Hall. An alternate Visiting Hall shall be designated for
               overflow legal visits.
    e.    Visiting Multiple Inmates

         1)    The Attorney of record or their agents requesting to successively or
               simultaneously meet with more than one inmate during a visit to the
               facility shall fax their request to the Deputy Warden for Programs and
               Case Management not less than twenty-four (24) hours in advance of the
               interview date. This will ensure that separations are checked, and to the
               extent possible, that accommodations are made consistent with the safety
               and security of the facility.

         2)    With twenty-four (24) hour notice, and agency approval, the attorney of
               record and their agents may arrange to visit all of his/her clients at one
               location regardless of their housing unit. Otherwise attorneys and agents
               may have to go to each floor where his/her clients are housed.

    f.    Inmate Hospital Visits

          1) The attorney or agent should go to the D.C. Jail and advise the staff that
             their client is in the hospital.

          2) The officers at the Jail will provide the attorney with the hospital and room
             number of the inmate and the paperwork necessary to present to the
             correctional officers at the medical outpost.

          3) DOC staff will contact the officers at the hospital and notify them that the
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               attorney or agent is coming over directly for a visit.

           4) Officers on medical outposts cannot tenninate sight supervision of the
              inmate during the attorney visit in the hospital room, but efforts will be
              made to allow as much sound privacy as possible under the
              circumstances.

      g.   Arrestee Visits at Central Cell Block and the Hospital

           1) The attorney should go to the Central Cell Block at MPD Headquarters at
              300 Indiana Ave. NW, Washington, DC. If the arrestee is in the CCB, the
              visit will take place in the attorney visitation room on site. If the arrestee
              is in the hospital. The officers at the Jail will provide the attorney with the
              hospital and room number of the inmate and the paperwork necessary to
              present to the correctional officers at the medical outpost.


           2) DOC staff will contact the officers at the hospital and notify them that the
              attorney or agent is coming over directly for a visit.

           3) Officers on medical outposts cannot terminate sight supervision of the
              arrestee during the attorney visit in the hospital room, but efforts will be
              made to allow as much sound privacy as possible under the
              circumstances.

11.    TITLE 16 JUVENILES

      a.   Attorneys and their agents shall fax a request to visit Title 16 Juveniles held in
           the Juvenile Unit of the CTF to (202)-698-4877 Attn: Deputy Warden for
           Programs and Case Management.

      b.   The CTF will contact the D.C. Jail staff to ensure advance notice for escort to
           visitation.

      c.   Failure to provide one day notice in advance of visitation may result in delays.
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12. ENTRY OF SUBPOENAED CHILD WITNESSES, AGES 14 TO 17, FOR PAROLE
    HEARINGS

           a. Witnesses for parole hearings will not be permitted to bring non-witness
              children under 18 years of age into the facility. The United States Parole
              Commission (USPC) shall formally notify witnesses in advance to make
              appropriate child care arrangements because children under 18 are not
              permitted entry.

           b. Witnesses subpoenaed by the USPC who are 14 to 17 years old will be
              allowed entry into the facility provided that: (a) the witness is accompanied
              by a guardian, (b) under the direct supervision and control of a Victim
              Witness Services representative the entire time they are in the facility, (c)
              their testimony is expedited in the proceedings to the greatest degree
              practicable by calling them as soon as possible to limit their time in the
              facility, and (d) they are escorted out as soon as their testimony is
              completed and their presence is no longer necessary for testimony. Non-
              witness siblings or other children will not be allowed entry with them.

13. PRE-APPROVAL OF AGENTS

    a.    Investigators and Practicing Law Students

          1)   Law firms, agencies, and attorneys shall submit a list of the names of
               their agents in each case to the Wardens Office for the Central Detention
               Facility, at 1901 D Street, SE, Washington, D.C. 20003. This list shall be
               submitted on the law firm's official letterhead stationery.

          2)   Attorney letters on behalf of their agents that conform with 10(a)(1) above
               are valid for one (1) year or until rescinded in writing by the attorney,
               whichever comes first.

          3)   If an attorney wishes to submit a request for entry of agents w;thout
               specifying the cases, the attorney must submit a request every thirty (30)
               days.
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           4)   Criminal Justice Act (CJA) and Public Defenders Service (PDS) or other
                government investigators do not require advance approval to enter the
                facility but must show their valid work ID to access the facility. All other
                agents must show a copy of the letter on letterhead and present a valid
                photo ID.

     b.    Experts

           1)   Law firms, agencies and experts shall fax their request for an expert to
                visit an inmate not less than twenty-four (24) hours in advance of the
                interview date to (202)-698-4877 Attn: Deputy Warden for Programs and
                Case Management.

           2)   The request shall be submitted on the law firm's official letterhead
                stationery and include the name of the expert, the inmate(s) he/she
                wishes to visit and any electronic or other equipment the expert will bring
                into the facility.

           3)   If visiting more than one inmate, the request shall include the order in
                which he/she wishes to visit the inmates.

    c.     Notaries

           1)   Notaries will be permitted to access attorney visitation with any equipment
                needed to notarize documents so long as they are accompanied by the
                inmate's otherwise authorized attorney or agent.

           2)   Notaries are required to present photo identification as listed in 1{20(a}(1-
                3) herein.

           3)   All notary equipment will be inspected and searched pursuant to 1{22(d)
                herein.

    d. Diplomatic Representation

 Individuals from foreign embassies who seek to visit an inmate must submit a request
on embassy letterhead containing the name and DCDC number of the inmate that they
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wish to visit, the date and time they wish to visit, the legal authority for the visit, and the
name and a copy of the embassy photo identification for each visiting official.


14. EX-OFFENDERS AS AGENTS

     a.    Law firms, agencies, and attorneys shall submit a written request to the
           Warden in advance of a legal visit seeking approval before an agent with a
           felony or misdemeanor conviction in any jurisdiction can be permitted entry
           into the facility and have contact visits with inmates.

15. LIST OF APPROVED AGENTS

    a.     The Deputy Warden for Programs and Case Management shall ensure that a
           current list of approved agents is forwarded to the Visitors Control and Staff
           Entrance.

    b.    A list of approved agents and contacts shall be maintained in the Office of the
          Deputy Warden for Programs and Case Management, should questions arise
          regarding the validity of the identification card.

    c.    Law firms, agencies, and attorneys are responsible for updating the lists of
          approved agents in conformity with 10(a) above, or earlier if necessary.

    d.    The Deputy Warden for Operations (or after hours the Shift Major or Duty
          Administrative Officer (DAO) on duty) shall be contacted for further disposition
          when the attorney or agent is not on the approved list.

16. REQUESTS FOR USE OF ELECTRONIC EQUIPMENT IN ATTORNEY
    VISITATION

    a.    TVNCR/DVD Player Availability

          1)   Upon receipt of a written request from an attorney, agency or law firm,
               DOC will provide a TVNCR/DVD player in Attorney Visitation to allow an
               inmate to review official videotapes/discs.
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          2)   The attorney, agency or law firm shall fax notice requesting such
               equipment to the Deputy Warden for Programs and Case Management at
               least two (2) business days in advance.

          3)   TVNCR/DVD player usage shall be restricted to between 8:00 a.m. and
               9:00 p.m. including Saturday and Sunday.

          4)   The Warden's written permission shall be faxed to the attorney, agency or
               law firm with a copy to the Visitors and the Staff Entrance at least one (1)
               working day in advance of the requested visit date.

17. REQUESTS TO PHOTOGRAPH/AUDIO RECORD INMATE CLIENTS OR
    SPECIFIC AREAS OF THE FACILITY

     a.    The following procedures shall be followed when an attorney or agent
           requests to photograph, videotape, tape record or use other forms of
           electronic devices, i.e., other audio equipment to record the likeness of an
           inmate or photograph specific areas of a DOC facility:

          1)   Request Process for Photographing, Videotaping, or Tape Recording an
               Inmate:

               a) The law firm, agency or attorney shall fax a copy of a court order to
                   photograph, videotape, tape record or use other electronic
                   equipment to photograph or record an inmate at least twenty-four
                   (24) hours in advance of the interview date to the Deputy Warden for
                   Programs and Case Management.

               b) Absent a court order, a law firm, agency or attorney may photograph,
                  videotape or tape record an inmate so long as the inmate is their
                  own client and consents. The law firm, agency or attorney shall fax a
                  request to photograph, videotape, tape record or use other electronic
                  equipment at least two (2) business days in advance of the interview
                  date to the Deputy Warden for Programs and Case Management.
                  The request shall include:

                    (1) The inmate's name and DCDC number along with a statement
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                         as to why the photographs, videotaping, or recordings are
                         needed;

                    (2) The requested date for the photographing or recording;

                    (3) A complete list of equipment the requester is seeking to bring
                        into the facility. Phones (e.g., smart phones) may not be used
                        or brought in to take the photograph or recording; and

                    (4) The name, title, address and contact information of the
                        photographer or recorder.


                    (5) No other photographs or recordings may be taken while on the
                        premises.

               c)   The Deputy Warden for Programs and Case Management shall notify
                    the law firm, agency or attorney in writing via fax that the request has
                    been approved or disapproved within one (1) working day prior to the
                    requested interview date. Written correspondence shall include an
                    explanation when the request is disapproved.

               d)   The Deputy Warden for Programs and Case Management shall
                    ensure that the approval and a list of the approved equipment is
                    forwarded to Visitors Control and Staff Entrance.

               e)   Inmate Consent. Absent a court order, an inmate to be
                    photographed and/or tape recorded shall first sign a written Inmate
                    Consent Form (Attachment A). The original consent form shall be
                    placed in the inmate's official institutional record. A copy of this
                    consent form shall be provided to the inmate and the attorney or
                    agent.

    b.    Nothing and no one else in the facility shall be photographed or recorded
          other than the subject approved by the Court Order or Deputy Warden for
          Programs and Case Management. Violation of this requirement may result in




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          immediate removal of the attorney or agent and may result in a temporary or
          permanent ban from the facility.


                a. Attorney or Agent Using the Equipment When Recording Client

           1) Transporting the Equipment. The Shift Supervisor or designee shall
              escort the attorney or agent who shall carry his/her own equipment to and
              from the designated area.

           2) Attorneys and agents shall only be permitted to use the photographic,
              video or electronic equipment once at the designated area. Inmates and
              DOC employees are prohibited from operating the equipment.

           3) The Shift Supervisor or designee shall be present with the attorney or
              Agent from the time the individual is escorted into the facility until the
              attorney or agent exits the facility.

18. DISCONTINUED USE OF EQUIPMENT


    a.    The Shift Supervisor or designee may at any time discontinue the use of
          photographic, video or electronic equipment for security purposes.

    b.    Attorneys and agents shall be permitted to resume the use of equipment
          when the Shift Supervisor determines that there is no longer a safety or
          security concern.

    c.    Attorneys or agents may reschedule the recording or photographing with the
          Deputy Warden for Programs and Case Management if he/she cannot
          complete it during the visit because of safety or security concerns.

    d.    If an attorney or agent believes the Shift Supervisor or designee stopped
          his/her use of photographic, video, or other electronic equipment for reasons
          other than safety or security concerns, the attorney or agent should contact
          the Shift Major or designee for a decision on whether the attorney can resume
          the photographing or recording of the inmate or area.




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19. REQUEST PROCESS FOR PHOTOGRAPHING AREAS OF THE CENTRAL
    DETENTION FACILITY

    a.    Attorneys and their agents are prohibited from taking facility photos at
          any time. Upon approval by the Office of General Counsel, A DOC staff
          member will take all requested photographs and provide them to the
          requesting attorney after they have been approved for release.


    b.    b) Any attorney who requests that photographs of a DOC Facility be taken in
          relation to an ongoing case involving an incident that occurred at the facility
          shall submit a request on letterhead to the DOC Office of the General
          Counsel at least seventy-two (72) hours in advance of the date on which they
          request to enter. The request must include the following:

                1) The Court that is hearing the case, the case name, and case
                   number;

                2) The attorney's client's name and DCDC number;

                3) The location within the CDF where the attorney is requesting to
                   take photographs along with a statement explaining why the
                   photographs are needed;

                4)   The date and time the attorney is requesting to enter the facility to
                     have photographs taken, and

                5)   The name, title, address and contact information of the individual
                     who will be entering the facility.

    c.    The DOC Office of the General Counsel will provide written approval or
          disapproval to the requester at least one (1) day prior to the requested entry
          date.

    d.   The DOC Office of General Counsel will coordinate with CDF and CTF staff to
         ensure that a list of individuals approved to enter the facility is forwarded to
         Visitors Control and Staff Entrance.
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     e.    Photos shall not reveal sensitive security information, or contain images of
           staff or inmates. Photos shall not include reenactments or staged scenes.
           Attorneys and agents shall not conduct interviews of staff or inmates while
           visiting to photograph areas of the facility. Their clients may not accompany
           them on the visit.

20. REQUESTS TO TAKE AN INMATE'S DEPOSITION

     a.    A request by an attorney to take the deposition of an inmate shall be
           accompanied by an order of the court in the underlying legal matter consistent
           with Fed.R.Civ.P.30, Fed.R.Crim.P.15, and their local counterparts.

21. REQUESTS TO COLLECT BUCCAL (CHEEK) SWAB SAMPLES FROM
    INMATES

    a.     The following procedures shall be followed when an attorney or agent
           requests to collect a buccal swab sample from a client:


           1)   The law firm, agency or attorney shall fax a copy of a court order to
                collect a buccal swab twenty-four (24) hours in advance of the visit date
                to the Deputy Warden for Programs and Case Management.

           2)   Absent a court order, the law firm, agency or attorney shall fax a request
                on letterhead to collect a buccal swab of their client at least two (2)
                business days in advance of the visit date to the Deputy Warden for
                Programs and Case Management. The request shall include:


                   (1)   The name title, address and contact information of the
                         request or;

                   (2) A statement asserting that the requestor is the legal
                       representative of the inmate;

                   (3)   The inmate's name and DCDC number along with the related
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                          case name and number, and

                    (4) The requested date for the collection of the buccal swab.

           3)   The Deputy Warden for Programs and Case Management shall notify
                the law firm, agency or attorney in writing via fax that the request has
                been approved or denied within one (1) working day prior to the
                requested visit date. Written correspondence shall include an
                explanation when the request is denied.

           4)   The Deputy Warden for Programs and Case Management shall ensure
                that a list of the approved equipment is forwarded to Visitors Control and
                Staff Entrance.

           5)   Inmate Consent. Absent a court order, an inmate from whom a buccal
                swab is to be collected shall first sign a written consent form (Attachment
                A). The original consent form shall be placed in the inmate's official
                institutional record. A copy of this consent form shall be provided to the
                inmate and the attorney or agent.

22. REQUESTS TO SERVE INMATES


     a.   Requests to deliver personal service of legal documents by a process server
          such as a summons shall be accommodated by a request to the Office of
          General Counsel, which shall facilitate the process server's escort in the
          facility to hand deliver the service to the inmate. The Department of
          Corrections shall not deliver the document on behalf of the requestor.


23. DRESS CODE. Attorneys and agents are to adhere to the agency's dress policy
    governing visitation to the facility by the public and shall not wear prohibited attire
    during legal visits. Prohibited attire includes, but is not limited to:

     a.   Revealing (sheer and see through) clothing;

     b.   Form fitting, clinging or skintight clothing of any type, e.g., spandex/lycra




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           outfits, latex leggings and body stockings;

      c.   Multi-layer garments, e.g., two shirts, two pairs of pants, two dresses or skirts
           and shorts under pants. This does not preclude an attorney or agent from
           wearing an outer garment over a single layer of clothing and under garments;

     d.    Shorts and hot pants;

     e.    Dresses or skirts more than three (3) inches above the knee;

     f.    Dresses, skirts and pants with splits that exceed mid-thigh length;

     g.    Wrap around dresses and skirts that are not buttoned;

     h.    Halter tops, tank tops and other garments that expose the upper torso;

     i.    Flip-flops and shower shoes;

     j.    Sweat suits, warm up suits, gym suits or swimwear of any type;

     k.    Military camouflage clothing; and

     I.    Any other items that may compromise the safety and security of the facility.

     m. Questionable Attire. If attire is questionable, a Visitors Control or Staff
        Entrance Officer shall call for a Shift Supervisor. The Shift Supervisor shall
        respond and determine the appropriateness of the attorney's or agent's
        clothing.

            1) Attorneys and agents not adhering to the dress code shall not be
               permitted to enter the facility.

            2) In the event that a legal visit is denied due to prohibited attire, the Shift
               Supervisor shall immediately contact the Deputy Warden of Operations or
               the next highest ranking official prior to denying the visit and will prepare
               a written report to the Warden.




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24. AUTHORIZED ITEMS. Attorneys may bring in with them:

     a. Small purses and/or wallets sufficient in size to carry personal identification;

     b. Official identification cards, keys, and feminine hygiene items;


     c. Briefcases, attache cases, backpacks, satchels, portfolios, messenger bags,
        tote bags and laptop bags containing only work related material;

     d. Life-sustaining, condition-stabilizing medication on their person. All medication
        shall be in its original pharmacy container with the patient's name indicated on
        the pharmacy label;

     e. Legal books, legal papers such as case law, correspondence and pleadings,
        and

     f.   Electronic Equipment. Without prior approval from the Warden or designee,
          only attorneys are authorized to enter a DOC facility with laptop computers,
          kindles, iPads, calculators, cds/dvds, videotapes, pagers and any legal
          documentary materials to include, but not be limited to, photographs and
          diagrams.

25. PROHIBITED ITEMS. Any other items not listed in Section 17 are prohibited.
    Attorneys may not bring in any of the following (without limitation):

    a.     Cellular phones and/or their accessories, Personal Digital Assistants (PDAs),
           blackberries and other communication devices;

    b.     iPods, MP3 players, Walkmans, and other such devices;

    c.     Walkie-talkies, audio and video recorders, cameras, radios and televisions,
           batteries, cords or plugs;

    d.     Any item that is unlawful to possess under local or federal law;




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    e.    Any unauthorized, non-legal letter or message intended to be received by an
    inmate;

    f.     Alcohol or tobacco;

    g.     Firearms, ammunition, flammable liquid or explosive powder;

    h.     Knife, screwdriver, needle, razor or other item that can be used for stabbing
           or cutting;

    i.     Hypodermic needle or syringe;

    j.     Tear gas or pepper spray;

    k.     Layered civilian clothing, officer, medical or other staff uniforms;

    I.     Gang related personal property such as clothing;

    m.     Magazines and newspapers;

    n.     Items which may facilitate escape, such as hacksaws, files, wire cutters;

    o.     Rope, handcuffs, handcuff keys, security restraints;

    p.     Picks, gum, paste or other materials that can interfere with locking devices;

    q.     Food, or

    r.     More than $20.00 in cash.

26. SIGN-IN/REGISTRATION. All attorneys and agents shall sign in the designated
    logbook indicating:

    a.    Name;

    b.    Agency or organization representing;




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     c.    Destination;

     d.    Purpose of Visit , and

     e.    Time In and Time Out.

27. IDENTIFICATION. Staff shall follow the guidance of the Attorney Visitation
    Entrance Checklist (Attachment E) when processing individuals into the GDF for
    legal visits in order to ensure that only authorized and approved legal visits occur.
    The attorney of record and the attorney's agents shall present approved
    identification which he/she shall surrender at the entrance to be held until he/she
    exits the facility.

    a.    Attorneys. The attorney of record shall present approved photo identification
          and a current DC Bar card or authorized government attorney ID to enter into
          the facility. The following documents are approved photo identifications:

          1)   A valid DC or state issued driver's license;

          2)   A valid DC or state issued non-driver's ID card with picture and address,
               or

          3)   A picture ID card issued by a federal, state or local government agency.

    b.    CJA and PDS attorneys may show their valid work ID to access the facility.
          They do not need to present a bar card and additional photo identification.

    c.    Practicing Law Students. Practicing Law Students shall present photo
          identification as listed above in section 20(a)(1-3) and their law school
          identification card to enter into the facility.

    d.    Investigators. Investigators shall present photo identification as listed above in
          section 20(a)(1-3) and an ID card issued by the respective law firm, agency or
          attorney.

          1)   Photo Identification. Law firms, agencies or attorneys can furnish their
               investigators with a photo identification card. The ID cards must bear the




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               name of the attorney of record, agency or law firm, investigator's
               signature, full name, height, weight, the attorney's bar number, attorney
               signature, telephone number and date card was issued.

          2)   Attorney Letters. An approved letter on the law firm's letterhead
               stationery containing the social security number and date of birth of the
               investigator, name of the inmate, time and date of the visit, may be
               substituted for a photo identification card issued by the respective firm.
               The letter shall be faxed to the Deputy Warden for Programs and Case
               Management and shall include the attorney's bar number and signature.
               The fax must be submitted at least twenty-four (24) hours in advance of
               visits and by 12:00 p.m. on Friday for all weekend visits.

          3)   Investigators may accompany attorneys during all legal visits. The
               investigator must present the required identification as stated in this
               section of this directive.

    e.    Experts. Experts shall present proper photo identification as listed above in
          section 20(a)(1-3) and an approved letter from the respective law firm, agency
          or attorney.

28. REQUEST FOR LEGAL VISIT FORM

    a.   Attorneys and agents requesting to visit with an inmate shall complete a
         Request for Legal Visit Form (Attachment B) and submit it to the Visitor
         Control or Staff Entrance Officer.

    b.   The Visitors Control or Staff Entrance Officer shall then enter the information
         from the legal visit form into the Jail and Community Corrections System
         (JACCS).

    c.   The Visitors Control or Staff Entrance Officer shall be responsible for informing
         an attorney or agent of the inmate's special status.




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29. SEARCH PROCEDURES

     a.   Search of Person

          1)   Attorneys and agents that enter the facility shall remove outer layers of
               clothing such as jackets, coats, hats, large jewelry items, belts and shoes
               and place them in a container for x-raying screening. Additionally,
               attorneys and agents must remove all items located in their pockets and
               on their person and place those items in the same container for x-raying.

          2)   Attorneys and agents will proceed to be screened by walking through a
               body scanner.

          3)   If the body scanner does not give an "OK", Staff Entrance staff will inform
               the attorney or agent of the alarmed area and will allow that person to
               remove any missed item(s). If there is no item to be removed from the
               alarmed area, a same gender pat search will be required. Staff Entrance
               staff will decide if a person requires an additional body scan for
               clearance.

          4)   All personal property shall be subject to search. Items not permitted in
               the institution may be stored in lockers at the visitor's own expense.

          5)   The facility shall not be responsible for the loss or theft of personal items
               left in lockers.

    b.    Inconclusive Searches. When a pat or visual search does not eliminate staff
          suspicions that an attorney or agent may be introducing contraband, a Shift
          Supervisor shall be notified. The Shift Supervisor shall:

          1)   Determine whether to allow or deny the visit;

          2)   Prior to denying the visit, immediately contact the Deputy Warden of
               Operations or the next highest ranking official, and

          3)   Prepare a written report to the Warden if the visit was denied.




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               4)    All persons entering the DOC staff entrance area are required to comply
                     with this directive and instructions given by Staff Entrance staff. Any
                     individual that is unwilling to comply with instructions shall be denied entry
                     into the facility.

     c.        Refusal to be Searched. Attorneys or agents who refuse to be searched shall
               be denied entry and referred to the Shift Supervisor on duty who shall prepare
               a written report to the Warden.

     d.        Searching Approved Equipment

               1)    The Visitors Control or Staff Entrance Officer shall inspect and search any
                     approved equipment.

               2)    It is advisable that film should not be loaded into any approved equipment
                     until after the search is completed.

               3)    The attorney or agent shall be responsible for opening the electronic
                     device, including storage areas and cover, and removing all batteries for
                     a security inspection.

               4)    Refusal to disassemble equipment shall be grounds for denial of
                     equipment access.

30. CONTRABAND. If an item of contraband that is prohibited by law as set forth in
    D.C. Code§§ 22-2603.01 and 22-2603.02, or threatens the safety, security and
    order of the facility is found in the possession of an attorney or his/her agent or
    representative, staff shall notify the Shift Supervisor.

          a.    Items prohibited by D.C. Code §§ 22-2603.01 and 22-2603.02 include:

                1)    Cellular telephones or other portable communication devices and
                      accessories thereto that are carried, worn, or stored that are designed,
                      intended, or readily converted to create, receive or transmit oral or
                      written messages or visual images, access or store data, or connect
                      electronically with the Internet, or any other electronic device that
                      enables communication in any form. These devices include 2-way




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                pagers, hand-held radios, cellular telephones, Blackberry-type devices,
                personal digital assistants or PDAs, computers, cameras, and any
                components of these devices. This also includes any new technology
                that is developed for communication purposes and includes accessories
                that enable or facilitate the use of the cellular telephone or other
                portable communication device;

           2)    Any item it is illegal to possess under District of Columbia or federal
                law;

           3)    Any controlled substance prohibited under District of Columbia law or
                scheduled by the Mayor;

           4)    Any dangerous weapon or object which is capable of such use as may
                endanger the safety or security of a penal institution or any person
                therein;

           5)   A firearm or imitation firearm, or any component of a firearm;

           6)   Ammunition or ammunition clip;

           7)   A stun gun, taser, or other device capable of disrupting a person's
                nervous system;

          8)    Flammable liquid or explosive powder;

          9)     A knife, screwdriver, ice pick, box cutter, needle, or any other object or
                tool that can be used for cutting, slicing, stabbing, or puncturing a
                person;

           10) A shank or homemade knife;

           11) Tear gas, pepper spray, or other substance that can be used to cause
               temporary blindness or incapacitation;

          12) Any object designed or intended to facilitate an escape;




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            13) Handcuffs, security restraints, handcuff keys, or any other object
                designed or intended to lock, unlock, or release handcuffs or security
                restraints;

            14) A hacksaw, hacksaw blade, wire cutter, file, or any other object or tool
                that can be used to cut through metal, concrete, or plastic;

            15) Rope;

            16) When possessed by, given to, or intended to be given to an inmate, a
                correctional officer's uniform, law enforcement officer's uniform, medical
                staff clothing, any other uniform, or civilian clothing;

            17) Any alcoholic beverage or liquor;

            18) A hypodermic needle or syringe or other item that can be used for the
                administration of unlawful controlled substances; or

            19) Any article or thing which a person confined to a penal institution is
                prohibited from obtaining or possessing by rule.

       b.   Items that are not prohibited by law but threaten the safety, security and
            order of the facility include anything other than printed legal materials given
            to inmates to take back to their cell during Attorney Visitation. This includes
            but is not limited to eds, dvds, zip drives or other information storage
            materials, eyeglasses, felt markers, butterfly clamps and binder clips. Also
            Items such as non-legal reading and photographic materials, non-legal
            notes and mail brought in on behalf of others to pass to the inmate,
            prescription and over the counter medications, food and beverage items,
            cash, cigarettes, gum, matches and lighters.

       c.   If an item of contraband as described in a. orb. above is found in the
            possession of an attorney or agent, the Shift Supervisor shall be contacted
            and he/she shall:

               1)   Immediately contact the Deputy Warden of Operations or the next
                    highest ranking official prior to denying the legal visit;




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                2)   Prepare a written report to the Warden detailing the denial of the visit;
                     and

                3)   Notify the Office of Investigative Services and the appropriate law
                     enforcement agency, if applicable.

        d.     As to any other items that are not prohibited by law as set forth in D.C.
               Code§§ 22-2603.01 and 22-2603.02, and do not threaten the safety,
               security and order of the facility, but are not permitted within a DOC facility,
               such as more than $20 cash in their wallet, etc., the individual will be
               permitted to return the item(s) to their personal vehicle or store them in a
               locker at Visitors Control or Staff Entrance.

        e.     Attorneys or their agents who introduce or attempt to introduce into the
               institution an item of contraband that is prohibited by law as set forth in D.C.
               Code§§ 22-2603.01 and 22-2603.02, or threatens the safety, security and
               order of the facility, or who engage in inappropriate, overly familiar, unsafe
               or threatening conduct, may be subject to immediate suspension of the visit,
               suspension from entering any DOC facility for a specified period of time or
               indefinitely, a permanent ban from entering any DOC facility in the future,
               and/or referral for possible criminal prosecution.

                 1) In the event that the DOC determines that an attorney or their
                      agent(s) should be suspended or banned from DOC facilities, the
                      DOC Warden shall issue a written notification to the suspended or
                      banned individual. The notification shall contain:

                          a) Notice that the individual is being suspended for a definite
                             period of time, is being suspended indefinitely, or is
                             permanently banned from DOC facilities,

                          b) A brief statement that informs the individual of the general
                             underlying facts that gave rise to the suspension or ban, and

                          c) A statement informing the individual that they can appeal the
                             suspension or ban, in writing, to the DOC Warden within




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                            fifteen (15) days of the postmark date on the written
                            notification.

               2) Attorneys and agents shall have fifteen (15) business days from the
                  postmark date of the written notification to submit a written appeal of
                  their suspension or ban.

                3) The DOC Warden shall prepare a written response within thirty (30)
                   days of receipt of any appeal. The response shall include the facts
                   upon which the suspension or ban of visitation privileges is based
                   and the duration of the suspension. The Warden's decision will be
                   final.

31. VISITOR'S IDENTIFICATION CARD. Following proper identification, registration,
    and search, attorneys and agents shall surrender their photo identification card to
    the Visitor Control or Staff Entrance Officer and shall be issued a visitor's pass to
    be displayed in plain view on their person at all times while inside the facility.

32. ESCORTING ATTORNEYS AND AGENTS. Attorneys and agents who enter the
    facility through Visitors Control shall proceed to the visiting area without an escort.

33. COUNTS

    a.   Authorized Persons. Attorneys or agents shall not be held at Visitors Control
         or Staff Entrance pending the count. They shall be allowed entrance to the
         interview area to await their client.

    b.   Inmates. Inmate movement shall cease in accordance with PP 5010.2,
         Accountability for Inmates, except upon approval of the Count Supervisor.

    c.   Exception: When an attorney or agent is present in the legal visiting area prior
         to the start of the actual count, the Count Supervisor may authorize the
         inmate's escort. The following procedures shall be followed:

          1)   The Visiting Hall Officer shall call the cellblock and advise the officer that
               a legal visit is authorized.




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         2)    The inmate shall be escorted to the visiting area once the unit count is
               conducted.

         3)    The Visiting Hall Officer shall submit the required out-count sheet.


         4)    If the Count Supervisor denies the inmate's movement, the attorney or
               agent shall be notified and informed of the reason it was denied.

    d.   Official Count Times. Counts are conducted daily at the following times: 12:00
         midnight, 1:00am, 2:00am, 3:00am, 4:00am, 8:00am, 3:00pm, and 10:00pm.
         Emergency counts are conducted as needed.

34. NOTIFICATION OF LEGAL VISITS

    a.   The Visitors Hall Officer (or Command Center for after-hour visits) shall call
         the cellblock and inform the Cellblock Officer that a legal visit is authorized.

    b.   The Cellblock Officer shall:

         1)    Immediately inform the inmate that he/she has a legal visit;

         2)    Verify each inmate's identity before the inmate exits the unit, and

         3)    Pat search all inmates having legal visits prior to their leaving the
               cell block.

35. INMATE REFUSAL OF LEGAL VISITS

    a.   If an inmate refuses a legal visit, the Cellblock Officer shall:

         1)    Document the refusal in the cellblock logbook;

         2)    Notify the appropriate Visiting Hall Officer;

         3)    Notify the Shift Supervisor, and




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          4)   Prepare a DCDC Form 1.

     b.   The Visiting Hall Officer shall:

          1)   Document the refusal in the cellblock logbook, and

          2)   Notify the attorney or agent that the inmate has refused the legal visit.

36. ESCORTS

     a.   Female, juvenile/youth and inmates on the mental health unit. These inmates
          shall be escorted to the visiting area at all times.

     b.   Status Inmates. Status inmates, (i.e., inmates in a restrictive housing unit)
          shall be escorted to the visiting area in handcuffs and leg irons. The escorting
          officer shall remain with the inmate until the visitor arrives.

    c.    If an inmate is not escorted to the Visiting Hall within fifteen (15) minutes from
          the initial call to the housing unit, the Visiting Hall Officer shall call the housing
          unit officer to determine the cause of the delay.

    d.    If the inmate is not in the Visiting Hall after ten (10) more minutes, the Visiting
          Hall Officer shall notify the Shift Supervisor and enter the same in the logbook.

    e.    The Shift Supervisor shall personally contact the inmate's housing unit to
          determine the reason for the delay and promptly notify the legal visitor of the
          approximate time the inmate will be escorted to the Visiting Hall.


37. VISITING HALL PROCEDURES

    a.    Inmate Identification. The Administrative Module Officer shall verifythe
          inmate's identity before allowing the inmate to enter into the visiting area.

    b.    Inmate Search

          1)   The Administrative Module Officer shall pat search the inmate prior to




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               him/her entering the visiting area.

         2)    An inmate who refuses to be searched, either before or after a visit, shall
               be placed on Administrative Restriction pending disciplinary procedures in
               accordance with PM 5300.1, Inmate Disciplinary and Administrative
               Housing Hearing Procedures or PM 5300.2, Juvenile Disciplinary and
               Administrative Housing Hearing Procedures.

         3)    Documents related to legal representation are the only items which
               inmates may take to the visiting area.

    c.    Restraints. The restraints on status inmates shall only be removed and
          removed from only one (1) hand when the inmate has to write or sign a
          document. Otherwise the inmate shall remain in full restraints.

    d.    Visiting Hall Officers

         1)    Officers assigned to the Visiting Hall shall monitor and coordinate all
               social and legal visits. Officers shall record the names of attorneys,
               agents and inmates and their time of arrival and departure into the
               computer-based Inmate Visitation program. In addition to the information
               listed, officers can also enter miscellaneous information pertaining to
               inmate refusals, tardiness, attorney/inmate conduct, etc.

         2)    Attorneys and agents may give inmates printed legal materials to be
               reviewed in visitation or taken back to the inmate's cell, but are prohibited
               from giving an inmate any other items.

         3)    The attorney or agent shall inform the Visiting Hall Officer when there is a
               need to give the inmate printed legal materials and shall surrender them
               to the Officer. The Officer shall inspect the materials but shall not read
               them before giving them to the inmate.

38. INMATE DISCOVERY REVIEW

    a.    Defense attorneys are responsible for providing their clients with the printed
          discovery materials associated with their cases. Attorneys who do not wish to




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           print voluminous discovery on paper may review the printed discovery with
           their clients on discs they bring with them into attorney visitation on their own
           laptops.

           1) If an inmate has discovery documents that contain sensitive information
              or documents that are sealed by order of the Court, it is the defense
              attorney's responsibility to protect the information by reviewing it with their
              client in attorney visitation. The Department of Corrections cannot take
              responsibility for documents provided to an inmate to take back to his or
              her cell and cannot protect them from dissemination.

     b.   The Department of Corrections cannot accept printed discovery on discs or
          laptops; only audio and video surveillances subject to the conditions below
          except where the defense attorney certifies that the printed discovery is
          voluminous and unduly burdensome to produce in a hard copy format and
          requests the accommodation of electronic discovery review as set forth in
          section Ill below. Otherwise, documentary discovery must be provided in hard
          copy format. In cases where the printed discovery will not fit in "legal mail"
          envelopes, defense counsel may make advance arrangements with the Office
          of the General Counsel for delivery to the D.C. Jail or CTF of up to 2 boxes of
          printed material at a time. When counsel for the inmate indicates the review of
          documents is complete, the inmate's counsel may, through advance
          arrangements with the Office of the General Counsel, exchange the two
          boxes for two more for that inmate. This courtesy is not an obligation by the
          DOC or the General Counsel to the inmate or counsel, but a professional
          courtesy and accommodation subject to the availability of staff and resources.
          Copies of original materials shall be submitted for inmate use, the originals
          maintained by defense counsel.




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39. INMATE REVIEW OF Law Enforcement Recorded AudloNideo Surveillance
    and Unduly Burdensome Voluminous Printed Discovery Review

The procedure for inmates to review law enforcement video and audio surveillance and
unduly burdensome voluminous printed discovery in their underlying criminal cases in
Attorney Client Visitation is as follows:

A. Review in Attorney Visitation

    1) The inmate's defense attorney, ( or the attorney's staff including investigators, law
       clerks, law students, and interpreters) shall enter the Jail and CTF in accordance
       with DOC rules and procedures with a laptop computer with the surveillance and
       printed discovery recordings downloaded on cds/dvds and/or the hard drive of
       the computer and review the surveillance/discovery with their client in attorney
       visitation.
    2) The visitor shall not give the cds/dvds to the inmates to bring back to their cells.
       The visitor must account for the cds/dvds at departure from the Jail. Cds/dvds
       are contraband in the Jail and if passed to an inmate by an attorney, the attorney
       may have their visiting rights suspended or revoked and may be reported to the
       bar and the court.


B. Review in the Central Detention Facility and Correctional Treatment Facility

The DOC has implemented an alternative procedure whereby defense attorneys may
request that inmates be allowed to review their audio/video surveillance or unduly
burdensome voluminous printed documentary evidence on cds/dvds on a laptop
computer provided by the DOC as a courtesy and accommodation. It does not transfer
to the D.C. Department of Corrections defense counsel's responsibility and burden to
their client relating to discovery. Pursuant to this courtesy, the inmate identified for
surveillance/voluminous document review shall be moved from his or her housing unit
and placed in administrative restrictive housing (lockdown). This protects the discs and
the laptop, which are contraband, from floating around, in order to protect the safety,
security and order of the facility. The inmate will be provided a laptop in his cell and his
discs full time. While on lockdown for the surveillance review, the inmate will receive the
same out of cell time as other inmates in administrative restrictive housing including




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recreation, canteen, social and legal visits and calls absent other security or disciplinary
limitations. When the inmate has completed his review, he shall notify the unit officer
and shall be returned to his original unit. Most inmates complete their review in one to
three days.

Under this procedure, the DOC Office of the General Counsel will accept custody of
audio and video surveillance cds/dvds for an inmate only after receiving from the
defense attorney of record:

   1) A duly executed Attorney Acknowledgement and Waiver of Liability Form of
   the D.C. Department of Corrections Recorded Audio and Video Surveillance
   and Voluminous Documents Review Procedures form (Attachment C) which
   certifies that:


       A)     The cds/dvds provided contain only audio and video surveillance and that
       the discs contain no contraband,


       B)    The cds/dvds contain documentary evidence that is voluminous and
       unduly burdensome to print and produce, thereby warranting electronic
       submission and review, and that the discscontain no contraband,


       C)   The defense attorney has marked each disc with the reviewing inmate's
       name and DCDC number,


       D)     The defense attorney acknowledges and abides by the terms of
       participation and waives liability for the use of the accommodation.


        E)   The inmate signs an acknowledgement and liability waiver form provided
       to him or her at the time of discovery review (Attachment D.)




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SUBJECT:               ACCESS TO LEGAL COUNSEL (AttomeyVislts
NUMBER:                4160.3J
Attachments:           Attachment A- Inmate Consent Form
                       Attachment B- Request for Legal Visit
                       Attachment C -Attorney Acknowledgement and Waiver of Liability Form of the D.C.
                       Department of Corrections Recorded Audio and Video Surveillance and Voluminous
                       Documents Review Procedures Form
                       Attachment D - Inmate Acknowledgment and Release
                       Attachment E - Attorney Visitation Entrance Checklist


2) lmbedded and formatting information contained in the video and audio surveillance
   supplied by the government shall not be deemed contraband and may remain in the
   cds/dvds. Only copies of cds/dvds shall be submitted to the Office of the General
   Counsel; defense counsel shall maintain the originals. By accepting the disks, the
   DOC and the General Counsel shall not be responsible for them as bailors in fact or
   law. Printed discovery material shall not be included on the discs and must be
   submitted in hard copy unless the attorney certifies that the printed discovery is
   voluminous and unduly burdensome to print and produce to the inmate. Any other
   printed material or otherwise unauthorized material concealed in the disks shall be
   deemed contraband and the attorney introducing it to the DOC may be banned from
   the facility or face disciplinary action by the Court and Bar.


3) The alternative review procedure does not guarantee that an inmate will review
    any/all cds/dvds provided. The alternative procedure is subject to the availability of
    DOC staff to facilitate the program, laptop computers and available cells. The
   alternative procedure is triaged on a first-come, first-served basis and the DOC
   cannot guarantee that any inmate will review his/her cds/dvds within any allotted
    period of time. Additionally, the inmate will be required to sign an acknowledgement
   and waiver of liability when presented with the opportunity for
   surveillance/voluminous document review. The inmate can refuse to review his/her
   surveillance when presented with this alternative review procedure. If an inmate
   refuses to sign the form or refuses the opportunity to review his/her surveillance in
   accordance with the alternative review procedures, all cds/dvds will be returned to
   the defense attorney who provided the discs.


4) An inmate shall be allowed to use this surveillance/voluminous document review
   program for up to two weeks at a time. If the inmate requires more than two weeks
   to review discovery and there is a wait list for the program, the review will be ended
   and s/he will be added to the waitlist to re-enter the program for another 2 week
   cycle. If there is no waitlist, s/he may continue in the program until such time a
   waitlist occurs, if any. This is to ensure that inmates are able to access the program
   on a revolving basis in order offirst come, first serve. Inmates are not limited to the
   number of times they may utilize this program. Inmates shall not check into and out
   of surveillance review on an intermittent or part time basis for the safety, security,
   order of the facilities, housing reasons and to maximize the availability of limited
   resources.




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                         Attachment C-Attorney Acknowledgement and Waiver of Liabi6ty Form of the D.C.
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                         Attachment E - AttorneyVisitation Entrance Checklist




  5) If the alternative surveillance review program is in any way delaying the inmate's
     ability to review the recorded audio and video surveillance, it is defense counsel's
     responsibility to review the cds/dvds with their client in attorney visitation. Defense
     counsel may contact the DOC Office of the General Counsel to have the inmate's
     cds/dvds returned to them.


  6) The inmate's defense counsel should advise the inmate of the surveillance review
     procedure in advance in order to reduce the likelihood that the inmate will refuse the
     procedure because of a misunderstanding regarding the lockdown procedures.


  7) Chargers for the laptops are located on the Unit and laptops shall be recharged by
     the staff when the battery runs low. It takes approximately 4-5 hours to recharge a
     battery in full and the computer should run for 4 to 12 hours. Some cells are wired
     with an electrical outlet subject to availability. It should be noted that some
     surveillance review will run down a charge must faster and will require more
     frequent charging. If an inmate or attorney is not satisfied with the time required for
     battery charging, this accommodation shall be terminated and they shall review the
     cds/dvds with their clients in attorney visitation.


40.    Extra Law Library Hours


 All inmates are accorded adequate weekly law library access by housing units and in
 accordance with custody level and separations. Inmates on protective custody and
 disciplinary segregation receive weekly law library services on the unit from the law
 library staff. Inmates at the D.C. Jail and CTF SHALL NOT be accorded additional time
 in the law library, which is limited as to availability and would infringe on other units'
 access to those services. However, if an inmate requires additional law library time, he
 may be allowed to access a laptop loaded with Lexis legal research software upon
 written request to the Office of the General Counsel. The inmate shall be placed in
 administrative restrictive housing in order to protect the equipment, and upon




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                         Attachment C - Attorney Acknowledgement and Waiver of Liablffty Form of the D.C.
                         Department of Corrections Recorded Audio and Video Surveillance and Voluminous
                         Documents Review Procedures Form
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completion and request, returned to his original cell. An inmate cannot check in and out
of restrictive housing on a part time or intermittent daily basis, but must instead remain
in lockdown until his project is completed. Nor can an inmate who is in lockdown
anyway receive a laptop for an unlimited or open ended period of time, due to the
limited availability of laptops and the resources required in providing extra time. Access
shall be triaged and provided on an as needed basis, to meet legal deadlines and
obligations and shall prioritize prose litigants over those represented by counsel. Court
Orders for extra law library time shall be immediately submitted to the General Counsel
to determine whether the order can be complied with through the laptop program or
requires the order to be lifted.

No inmate can be provided extra law library time to review surveillance or unduly
burdensome voluminous documentary evidence.

41. EXIT PROCEDURES

    a.     Attorneys and Agents

           1)   At the completion of the visit, attorneys and agents shall exit the facility
                through the same point in which they entered the facility unless
                correctional staff direct them otherwise.

           2)   Attorneys and agents shall tum in their visiting forms and numbered
                visitor's passes.

           3)   Under no circumstances shall an attorney or agent be allowed to exit the
                facility without positive identification by comparing the person to their
                photo identification card.

         4)     If there is any question regarding the identity of a person, a Shift
                Supervisor shall be contacted. The Shift Supervisor shall not approve an
                attorney or agent to exit the facility until all inmates are accounted for.

         5)     Attorneys and agents shall sign out in the designated logbook.

         6)     When the requirements listed in section (1) through (5) above have been




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Attachments:             AttachmentA- Inmate Consent Form
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                met, the Visitors Control or Staff Entrance Officer shall allow the attorney
                or agent to exit the facility.

     b.    Inmates

           1)   When the visit is completed, each inmate shall be escorted to the strip
                search room and strip-searched by the Administration Module Officer.

           2)   Strip searches shall be performed in accordance with PP 5009.2,
                "Searches of Inmates, Inmate Housing Units, Work and Program Areas,"
                the National Standards to Prevent, Detect, and Respond to Prison Rape
                Under the Prison Rape Elimination Act (PREA), 28 C.F.R. Part 115.
                Cross-Gender Strip Searches of female inmates shall only occur under
                circumstances specifically permitted by that policy.

           3)   If the inmate is on status and is in restraints, he/she shall remain in the
                strip search room until the Escort Officer arrives. At that time, the
                restraints shall be removed and the inmate shall be strip-searched. Both
                officers shall be present when the restraints are removed and during the
                search. The restraints shall be placed back on the inmate before leaving
                the strip search room for escort back to their housing unit.

42. CONTRABAND FOUND ON INMATES

    a.     Any contraband or unauthorized item(s) found in an inmate's possession shall
           be confiscated and processed in accordance with PS 5010.3, Contraband
           Control.

    b.     The inmate shall be subject to disciplinary action in accordance with PM
           5300.1, Inmate Disciplinary and Administrative Housing Hearing Procedures,
           or PM 5300.2, Juvenile Disciplinary Administrative Housing Hearing
           Procedures.

    c.     Attorneys and agents shall be subject to action as stated in Section 23 of this
           directive.




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NUMBER:                 4160.3J
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                        Attachment C -Attorney Acknowledgement and Waiver of Liability Form of the D.C.
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                        Attachment E - Attorney Visitation Entrance Checklist


43. ATTORNEY SUGGESTIONS/COMMENTS

     a.    Attorneys and agents should contact the Shift Major or designee when an
           incident occurs or a question needs to be addressed concerning this visiting
           procedure. The telephone number for the Major's office is (202) 523-7033.

     b.    Attorneys and agents may provide informal feedback on their visit by filling
           out a comment card found at the exit area of each visiting hall and submitting
           it in the secured suggestion box.

44. COMPLAINTS AND APPEAL PROCESS. If an attorney has a complaint having to
    do with a visit with his/her client, the attorney may bring their complaint to the
    attention of the DOC.

    a.    Complaints may initially be reported verbally, however, all complaints should
          be submitted in writing to the Warden.

    b.    The complaint should contain as much detail as possible, including but not
          limited to, the date, time, location of the incident, name of the staff involved
          and the badge number if uniform staff is involved.

    c.    The Shift Major shall contact the complainant within three (3) business days
          to acknowledge receipt of the complaint and/or to request additional
          information as needed.

    d.    The Shift Major shall notify the complainant in writing of the findings of the
          investigation within fourteen (14) business days of the filing of the complaint.

    e.    If legal visitation is restricted or prohibited, the complainant may appeal the
          Shift Major's decision to the Warden within fourteen (14) business days of
          receipt of the findings and conclusions.

    f.    The Warden shall review the basis for the decision including all
          documentation and notify the complainant in writing of his/her decision within
          three (3) business days of receipt of the appeal.




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Attachments:

Attachment A- Inmate Consent Form
Attachment B- Request for Legal Visit
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                                                                                                           pp 4160.3
                                                                                                       Attachment A




                                D.C. DEPARTMENT OF CORRECTIONS
                                      INMATE CONSENT FORM
                                                    (PleasePrint)

 Inmate Name: _____________                               _     Inmate DCDC#: _____                _

 Attorney/Agent Name: ________________________                                                         _

 Name of Entity Represented by Attorney/Agent and Address: __________                              _



 Please initial. I, the above named inmate, authorize the above named attorney/agent to:

                Interview me on ______________                             _

            Make recordings of my voice during this interview and/or to take photographs of me
 (still, movie or video).

               Collect a buccal (cheek) swab from me for DNA testing.

I recognize that I have a right to consult with my attorney and should do so if any information I
release could have an impact on any civil or criminal litigation.



If the Attorney/Agent presents a Court Order or request and the inmate refuses, the inmate refusal MUST
be documented below:

Please Initial. I, the above named inmate, DO NOT authorize the above named attorney/agent to:

              Interview me.

              Make recordings of my voice, or take photographs of me (still, movie, or video).

             Collect a buccal (cheek) swab from me for DNA testing.


Inmate Name (Print): _____________                              _       DCDC#:______                   _

Inmate Signature: _______________                                   _   Date: _______                      _

Witness Name (Print): ____________                             Title: __________                       _

Witness Signature:_______________                               Date: ----.,..-----
                   0Attach the Request or Court Order to this document for the file**

Institutional File • Original
Inmate Copy
Warden/Designee Copy
Attorney/Agent Copy




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                                                                                                   pp 4160.3
                                                                                               Attachment B



                      GOVERNMENT OF THE DISTRICT OF COLUMBIA
                           DEPARTMENT OF CORRECTIONS
                              Central Detention Facility

                               REQUEST FOR LEGAL VISIT

                                                    DATE



               Inmate's Name                       DCDC Number                        Housing Unit



                    Attorney/Agent's Name                              Bar# (If an Attorney)


        1.      D    I am a member of the D.C. Bar. I represent the above named inmate in case number
                                                      m ________                   Court.


        2.      D I am an investigator/agent  for attorney/law firm/agency
                                                                             ----------
                    who represents the above named inmate in case number                               m
                                                         court.


        3.     D    I am an attorney. I am not counsel of record for the above named inmate in any
                    matter presently before the Court.


       4.       D I am investigator/agent   for attorney/law finn/agency ~-------                . The
                     attorney/law fmn/agency for whom I am employed is not counsel of record for the
                     above named inmate in any matter presently before the court.



The inmate must sign an Inmate Consent Form (Attachment A) prior to entering the Visiting Hall
if box 3 or 4 is checked.



               Inmate's Signature/DCDC No.                          Witness' Signature/Title



                          Date/Title                                           Witness Title




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      ATTORNEY ACKNOWLEDGEMENT AND WAIVER OF LIABILITY FORM
               OF THE D.C. DEPARTMENT OF CORRECTIONS
       RECORDED AUDIO AND VIDEO SURVEILLANCE AND VOLUMINOUS
                   DOCUMENTS REVIEW PROCEDURES


I understand that the procedure for an inmate in the custody of the D.C. Department of
Corrections (DOC) to review recorded audio and video surveillance and electronic documentary
evidence is for the inmate's attorney (or the attorney's agents including interns, investigators,
law clerks, law students and interpreters) to enter the Jail and/or CTF in accordance with DOC
rules and procedures with a laptop computer with the surveillance and/or the documentary
evidence recordings downloaded on cds/dvds and/or the bard drive of the computer and review
the surveillance and documents with their client in attorney visitation. Attorney visitation is
available twenty-four (24) hours per day, seven (7) days per week with no limitation on the
duration of visits. Documentary evidence may also be printed and submitted to the inmate to
keep in the cell and review.

I understand that, as a convenience, the DOC has implemented an alternative procedure whereby
attorneys may request that inmates be allowed to review their audio and video surveillance or
their voluminous documentary evidence on cds/dvds on a laptop computer provided by the DOC.
Under this procedure the DOC Office of the General Counsel will accept custody of audio and
video surveillance/voluminous documentary evidence cds/dvds for an inmate only after receiving
from the defense attorney:

    1) This certification that the cds/dvds provided contain only audio and video surveillance
       and that the discs contain no contraband,
    2) This certification that the cds/dvds contain documentary evidence that is voluminous and
       unduly burdensome to print and produce, thereby warranting electronic submission and
       review, and that the discs contain no contraband,
    3) This certification that the defense attorney has marked each disc with the reviewing
       inmate's name and DCDC number, and that
    4) The defense attorney has signed this acknowledgement and waiver of liability form.

Imbedded and formatting inf onnation contained in the video and audio surveillance supplied by
the government shall not be deemed contraband and may remain on the cds/dvds. Only copies of
cds/dvds shall be submitted to the Office of the General Counsel; I, as defense counsel, shall
maintain the originals. By accepting the discs, the DOC and the General Counsel shall not be
responsible for them as bailors in fact or law.

I understand that the alternative review procedure does not guarantee that an inmate will review
any/all cds/dvds that I provide. The alternative procedure is subject to the availability of DOC
staff to facilitate the program, laptop computers, and electronically outfitted cells. The alternative
procedure is triaged on a first-come, first-served basis and the DOC cannot guarantee that any
inmate will review his/her cds/dvds within any allotted period of time. Additionally, I understand
that an inmate will be required to sign an acknowledgement and waiver ofliability when
presented with the opportunity for surveillance/voluminous documents review. The inmate can


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                                                                                 PP 4160.3 Attachment C


refuse to review his/her surveillance/voluminous documents when presented with this alternative
review procedure. If an inmate refuses to sign the form or the opportunity to participate in
accordance with the review procedures, the inmate refusal will be documented and all cds/dvds
will be returned to the attorney who provided the discs.

I understand that if the alternative surveillance/voluminous documents review program is in any
way delaying the inmate's ability to review audio and video surveillance/voluminous document
evidence, it is my responsibility to review the cds/dvds with my client in attorney visitation. I
may contact the DOC Office of the General Counsel to have the inmate's cds/dvds returned to
me.

 I understand that as the inmate's defense counsel, I shall advise the inmate of the surveillance
 review procedure in advance in order to reduce the likelihood that the inmate will refuse the
 procedure because of misunderstanding. If an inmate refuses the procedure, s/he will be provided
 a waiver indicating it was offered to him and then declined. Ifs/he refuses to sign the waiver, it
 shall be noted by the staff on the document. The inmate identified for surveillance/voluminous
 document review shall be moved from his housing unit and placed in administrative restrictive
 housing. The inmate will be provided a laptop in his/her cell and his/her discs full time. While in
 surveillance/voluminous document review restrictive housing, the inmate will receive the same
 out of cell time as other inmates in administrative restrictive housing, including recreation,
 canteen, social and legal visits and calls, absent other security or disciplinary restrictions.
Inmates shall be placed in designated cells on South 1 that have been wired with electrical outlets
 for the use of the laptop equipment. If those cells are not available, they may use the laptop
battery. Charges for the laptops are located on the Unit and laptops shall be recharged by the
staff when the battery runs low. It takes approximately 4-5 hours to recharge a battery in full and
the computer should run for 4 to 12hours. It should be noted that some surveillance review will
run down a charge much faster and will require more frequent charging. When the inmate
indicates thats/he has completed his review, s/he will return to his previous housing unit. An
inmate shall be allowed to use this surveillance/voluminous document review program for up to
two weeks at a time. If the inmate requires more than two weeks to review discovery and there
is a wait list for the program, the review will be ended and s/he will be added to the waitlist to re-
enter the program for another 2 week cycle. If there is no waitlist, s/he may continue in the
program until such time a waitlist occurs, if any. This is to ensure that inmates are able to access
the program on a revolving basis in order of first come, first serve. Inmates are not limited to the
number of times they may utilize this program, but they may not check into and out of
surveillance review on an intermittent or part time basis for the safety, security, order of the
facilities, housing reasons and to maximize the availability of limited resources.




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                                                                               PP 4160.3 Attachment C


In order to maintain the safety, security and order of the DOC facilities, maintain separations and
classification requirements, and allow the general inmate population adequate access to the law
library, no inmate will be provided extra law library time to review surveillance/voluminous
documents evidence. I understand that I will not directly give my client eds or dvds to review
while incarcerated. Discs are contraband and may be converted into weapons, be used to pass or
distribute contraband by inmates and are prohibited to be maintained in inmate cells with the
exception of use as described in this program.


I hereby, for myself, my heirs, executors, administrators and assigns, do release and forever
discharge the District of Columbia, a municipal corporation, its officers, agents, servants and
employees officially and individually, of and from any and all actions, damages, claims and
demands whatsoever (including any claims for attorney's fees) which I have against the said
District of Columbia, its officers, agents, servants and employees, or which I or any person or
persons claiming by, through or under me now or hereafter can or may have against the
forenamed parties by reason of or in any way arising out of my election to utilize the D.C.
Department of Corrections alternative surveillance/voluminous document review process.

I hereby waive any claim that the District of Columbia or any of its officers, agents, servants and
employees are bailors in law or in fact of any cds/dvds provided by me and I acknowledge that
the District of Columbia, its officers, agents, servants and employees shall incur no liability if
cds/dvds provided by me become damaged or lost.




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I expressly warrant that I am legally competent to execute this release, and that I have fully
informed myself of its contents and meaning. This form must be executed by the inmate defense
counsel of record and will not be accepted if executed by counsel of records' agents,
representatives or employees.

I acknowledge that after reading and understanding the procedures explained herein, I am
electing to provide recorded audio and/or video surveillance/voluminous documentary
evidence cds/dvds for inmate review to the DOC Office of General Counsel in accordance
with the alternative review procedures. I hereby certify that I am providing a copy of audio
and/or video surveillance cds/dvds and that I retain the original recordings. I further
certify that the cds/dvds provided contain only audio and video surveillance and
documentary evidence that is voluminous and unduly burdensome to print and produce
and that the discs contain no contraband. I certify that I have indelibly marked each disc
with the reviewing inmate's name and DCDC number,

__ Check Here to certify that the discs contain audio and video surveillance review
evidence.
__ Check Here to certify that the discs contain _____       (insert number of documents)
printed discovery documents that are unduly burdensome to print and produce for the
in mate to review.

Number of cds/dvds being provided to DOC Office of the General Counsel:



Name and DCDC# of inmate(s) receiving cds/dvds:




Case Caption and Number: _______________________                                                   _

Attorney Name: -----'-----------                                   Attorney Bar No.______              _
Attorney Signature: ______________                                 Date: __________                _




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                     D.C. DEPARTMENT OF CORRECTIONS
                I1''MATE ACKNOWLEDGEMENT AND RELEASE
        RECORDED AUDIO AND VIDEO SURVEILLANCE AND VOLUMINOUS
                     DOCUMENTS REVIEW PROCEDURES

I understand that it is the responsibility of my defense attorney to review all recorded
audio/video surveillance and discs containing voluminous documentary evidence with me in
attorney visitation. Attorney visitation is available twenty-four (24) hours per day, seven (7) days
per week with no limitation on the duration of visits. I widerstand that documents may be printed
by my attorney and provided to me to review and keep in my cell. I understand that
alternatively, I may be offered the opportunity to participate in the D.C. Department of
Corrections (DOC) Surveillance and Voluminous Documents Evidence Review Program
whereby I can review on a laptop computer provided by the DOC cds/dvds of recorded audio/
video surveillance and documents that are voluminous and unduly burdensome to print and
produce. I understand that this is not an obligation of the Department of Corrections and does
not shift my responsibility or my attorney's professional responsibility to me to review discovery
to the Department of Corrections but is a program that is provided as a convenience,
accommodation and courtesy.

I understand that ifl elect to participate in the alternative SurveillanceNoluminous Documents
Review Program, I will be moved from my current housing location to a restrictive housing cell
until I complete review of all cds/dvds and ask to return to my regular housing location. When I
complete review, I understand that I will be moved back to my regular housing location and all
discs will be returned to my attorney. I shall be allowed to use this surveillance/voluminous
document review program for up to two weeks at a time. If I require more than two weeks to
review discovery and there is a wait list for the program, the review will be ended and I will be
added to the waitlist to re-enter the program for another 2 week cycle. If there is no waitlist, I
shall continue in the program until such time a waitlist occurs, if any or I complete my review.
This is to ensure that inmates are able to access the program on a revolving basis in order of first
come, first serve. I am not limited to the number of times I may utilize this program, but I may
not check into and out of surveillance review on an intermittent or part time basis for the safety,
security, order of the facility, housing reasons and to maximize the availability of limited
resources.

I understand that I must return all discs to correctional staff upon completion of review and
cannot bring any discs back to my cell and the discs are contraband in the facility with the
exception of use as described in this program. I am responsible for the proper care, safe and
appropriate use of the equipment and discs while in my possession and responsible for any
damage to the equipment I incur therein.


I hereby, for myself, my heirs, executors, administrators and assigns, do release and forever
discharge the District of Columbia, a municipal corporation, its officers, agents servants and
employees officially or individually, of and from any and all actions ,damages, claims and


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                                 Exhibits   - J - Edward Jacob      Bond                               30
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demands whatsoever(including any claims for attorney's fees) which I have against the said the
District of Columbia ,its, officers, agents, servants and employees or which I or any person or
persons claiming by, through or under me now or hereafter can or may have against the
forenamed parties by reason of or in any way arising out of my election to utilize the D.C.
Department of Corrections alternative surveillance/voluminous document review process.

I hereby waive any claim that the District of Columbia or any of its officers, agents servants and
employees are bailors in law or in fact of any cds/dvds provided by me and I acknowledge that
the District of Columbia, its officers, agents, servants, and employees shall incur no liability if
cds/dvds provided to me become damaged or lost.

I expressly warrant that I am legally competent to execute this release, and that I have fully
informed myself of its contents and meaning.

I acknowledge that after reading and understanding the procedures and release explained
herein, I am:

___     Accepting participation in the Alternative Surveillance Review Program

___     Refusing Participation in the Alternative Surveillance Review Program

Print Name:                                                      DCDC: _____                  _
              --------------
Signature: ______________                          _             Date: ____         _

Witness Name: _______________                               _           Title:,____       _

Witness Signature: ___________                         Date: _____         _

Unit/Cell NO: ___       Laptop :(__}     CDs/DVDs :(-____             .....
                                                                       ) Ref:____         _




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                                                                                          Attachment   E




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                    GOVERNMENTOF THE DISTRICT OF COLUMBIA
                         DEPARTMENTOF CORRECTIONS

                               Attorney/Agent Entrance Checklist
For Attorneys:

_    Attorney is a member of the DC Bar* and has shown a DC Bar card,**

_    Attorney is the attorney of record for the inmate he/she is seeking to visit,

_    Attorney has confirmed that they are not a family member or friend of the inmate they are
     seeking to visit,*** and

_   Photo ID checked (State ID or Driver's License)

For Investigators/Agents:

_   PDS and CJA Investigator/agent - has shown a Public Defender Service (PDS) or
    Criminal Justice Act (CJA) photo ID
                                               OR

_   Law firm Investigator/agent - Law Firm has submitted a letter to the Warden's Office for
    approval of named investigator/agent to enter the facility and they have shown photo ID
    (State ID or Driver's License)

For Other Legal Visits:

_   Legal visit (ex. embassy visit, expert visit, DC agency employee, attorney-not-of-record,
    lawyer who is a family member) has received advance Warden's Office approval and the
    individual has shown photo ID (State ID, Diver's License)

*If the attorney seeking a legal visit is not a member of the DC Bar, they must be granted
advance clearance from the Warden's Office to have legal visits with the inmate.
**If an attorney forgets their DC Bar card, a supervisor may be contacted to check the
attorney's status online:
           1) Go to https://www.dcbar.org/
           2) Click on "Find a Member" in the red box on the upper right hand side
           3) Enter the attorney's first and last name as indicated
           4) If the attorney is licensed with the DC Bar, the website will show you their name,
               contact information and whether or not their membership is active
***If the attorney is related to, or is a friend or family member of the inmate, they must be
granted advance clearance from the Warden's Office to have legal visits with the inmate.




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